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                          FOR PUBLICATION

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

          MI FAMILIA VOTA; VOTO                  No. 24-3188
          LATINO; LIVING UNITED FOR
                                                   D.C. No.
          CHANGE IN ARIZONA; LEAGUE
                                                2:22-cv-00509-
          OF UNITED LATIN AMERICAN
                                                     SRB
          CITIZENS ARIZONA; ARIZONA
          STUDENTS' ASSOCIATION;
          ADRC ACTION; INTER TRIBAL
          COUNCIL OF ARIZONA, INC.;               OPINION
          SAN CARLOS APACHE TRIBE;
          ARIZONA COALITION FOR
          CHANGE; UNITED STATES OF
          AMERICA; PODER LATINX;
          CHICANOS POR LA CAUSA;
          CHICANOS POR LA CAUSA
          ACTION FUND; DEMOCRATIC
          NATIONAL COMMITTEE;
          ARIZONA DEMOCRATIC PARTY;
          ARIZONA ASIAN AMERICAN
          NATIVE HAWAIIAN AND
          PACIFIC ISLANDER FOR EQUITY
          COALITION; PROMISE
          ARIZONA; SOUTHWEST VOTER
          REGISTRATION EDUCATION
          PROJECT; TOHONO O'ODHAM
          NATION; GILA RIVER INDIAN
          COMMUNITY; KEANU STEVENS;
          ALANNA SIQUIEROS; LADONNA
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          2                 MI FAMILIA VOTA V. PETERSEN


          JACKET,

                   Plaintiffs - Appellees,

              v.

          ADRIAN FONTES, in his official
          capacity as Arizona Secretary of
          State; KRIS MAYES, in her official
          capacity as Arizona Attorney
          General; STATE OF ARIZONA;
          LARRY NOBLE, Apache County
          Recorder, in his official capacity;
          DAVID W. STEVENS, Cochise
          County Recorder, in his official
          capacity; PATTY HANSEN,
          Coconino County Recorder, in her
          official capacity; SADIE JO
          BINGHAM, Gila County Recorder,
          in her official capacity; SHARIE
          MILHEIRO, Greenlee County
          Recorder, in her official capacity;
          RICHARD GARCIA, La Paz County
          Recorder, in his official capacity;
          STEPHEN RICHER, Maricopa
          County Recorder, in his official
          capacity; KRISTI BLAIR, Mohave
          County Recorder, in her official
          capacity; MICHAEL SAMPLE,
          Navajo County Recorder, in his
          official capacity; GABRIELLA
          CAZARES-KELLY, Pima County
          Recorder, in her official capacity;
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          RICHARD COLWELL, Yuma
          County Recorder, in official
          capacity; DANA LEWIS, Pinal
          County Recorder, in official
          capacity; POLLY MERRIMAN,
          Graham County Recorder, in her
          official capacity; JENNIFER TOTH,
          in her official capacity as Director of
          the Arizona Department of
          Transportation; MICHELLE
          BURCHILL, Yavapai County
          Recorder, in official capacity;
          ANITA MORENO, Santa Cruz
          County Recorder, in her official
          capacity,

                 Defendants - Appellees,

          WARREN PETERSEN, President of
          the Arizona Senate; BEN TOMA,
          Speaker of the Arizona House of
          Representatives; REPUBLICAN
          NATIONAL COMMITTEE,

                 Intervenor-Defendants -
                 Appellants.


          MI FAMILIA VOTA; VOTO                       No. 24-3559
          LATINO; LIVING UNITED FOR                     D.C. No.
          CHANGE IN ARIZONA; LEAGUE                  2:22-cv-00509-
          OF UNITED LATIN AMERICAN                        SRB
          CITIZENS ARIZONA; ARIZONA
          STUDENTS' ASSOCIATION;
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          COUNCIL OF ARIZONA, INC.;
          SAN CARLOS APACHE TRIBE;
          ARIZONA COALITION FOR
          CHANGE; UNITED STATES OF
          AMERICA; PODER LATINX;
          CHICANOS POR LA CAUSA;
          CHICANOS POR LA CAUSA
          ACTION FUND; DEMOCRATIC
          NATIONAL COMMITTEE;
          ARIZONA DEMOCRATIC PARTY;
          ARIZONA ASIAN AMERICAN
          NATIVE HAWAIIAN AND
          PACIFIC ISLANDER FOR EQUITY
          COALITION; PROMISE
          ARIZONA; SOUTHWEST VOTER
          REGISTRATION EDUCATION
          PROJECT; TOHONO O'ODHAM
          NATION; GILA RIVER INDIAN
          COMMUNITY; KEANU STEVENS;
          ALANNA SIQUIEROS; LADONNA
          JACKET,

                   Plaintiffs - Appellees,

              v.

          KRIS MAYES; STATE OF
          ARIZONA,

                   Defendants - Appellants.
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          PROMISE ARIZONA;
          SOUTHWEST VOTER                           No. 24-4029
          REGISTRATION EDUCATION                      D.C. No.
          PROJECT,                                 2:22-cv-00509-
                                                        SRB
                Plaintiffs - Appellants,

          and

          MI FAMILIA VOTA, VOTO
          LATINO, LIVING UNITED FOR
          CHANGE IN ARIZONA, LEAGUE
          OF UNITED LATIN AMERICAN
          CITIZENS ARIZONA, ARIZONA
          STUDENTS' ASSOCIATION,
          ADRC ACTION, INTER TRIBAL
          COUNCIL OF ARIZONA, INC.,
          SAN CARLOS APACHE TRIBE,
          ARIZONA COALITION FOR
          CHANGE, UNITED STATES OF
          AMERICA, PODER LATINX,
          CHICANOS POR LA CAUSA,
          CHICANOS POR LA CAUSA
          ACTION FUND, DEMOCRATIC
          NATIONAL COMMITTEE,
          ARIZONA DEMOCRATIC
          PARTY, ARIZONA ASIAN
          AMERICAN NATIVE HAWAIIAN
          AND PACIFIC ISLANDER FOR
          EQUITY COALITION, TOHONO
          O'ODHAM NATION, GILA RIVER
          INDIAN COMMUNITY, KEANU
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          STEVENS, ALANNA SIQUIEROS,
          LADONNA JACKET,

                   Plaintiffs,

              v.

          ADRIAN FONTES, LARRY
          NOBLE, DAVID W. STEVENS,
          PATTY HANSEN, SADIE JO
          BINGHAM, SHARIE MILHEIRO,
          RICHARD GARCIA, STEPHEN
          RICHER, KRISTI BLAIR,
          MICHAEL SAMPLE, GABRIELLA
          CAZARES-KELLY, SUZANNE
          SAINZ, RICHARD COLWELL,
          DANA LEWIS, POLLY
          MERRIMAN, JENNIFER
          TOTH, MICHELLE BURCHILL,

                   Defendants,

          and

          KRIS MAYES; STATE OF
          ARIZONA,

                   Defendants - Appellees,

          WARREN PETERSEN; BEN
          TOMA; REPUBLICAN NATIONAL
          COMMITTEE,
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                  Intervenor-Defendants -
                  Appellees.

                  Appeal from the United States District Court
                           for the District of Arizona
                   Susan R. Bolton, District Judge, Presiding

                   Argued and Submitted September 10, 2024
                           San Francisco, California

                              Filed February 25, 2025

              Before: Kim McLane Wardlaw, Ronald M. Gould, and
                       Patrick J. Bumatay, Circuit Judges.

                             Opinion by Judge Gould;
                             Dissent by Judge Bumatay


                                    SUMMARY *


                                   Voting Rights

              The panel affirmed in part the district court’s rulings on
          summary judgment and following a bench trial, vacated in
          part a portion of its factual findings, and remanded, in an
          action brought by the United States, several nonprofits, the
          Democratic National Committee, the Arizona Democratic
          Party, and three federally recognized Tribes who challenged

          *
           This summary constitutes no part of the opinion of the court. It has
          been prepared by court staff for the convenience of the reader.
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          two Arizona laws regulating voter registration, H.B. 2492
          and H.B. 2243 (together the “Voting Laws”), on the grounds
          that they were preempted or in violation of the National
          Voter Registration Act (“NVRA”), the consent decree in
          League of United Latin Am. Citizens of Ariz. v. Reagan (the
          “LULAC Consent Decree”), the Civil Rights Act, and the
          Equal Protection Clause of the United States Constitution.
              To register to vote in Arizona, an applicant may use the
          federal form created by the United States Election
          Assistance Commission or a state form prescribed by
          Arizona law. The federal form requires applicants to check
          a box under penalty of perjury indicating they are United
          States citizens but does not require applicants to disclose
          their birthplace. The Voting Laws amended provisions
          regulating voter registration and enabled government
          officials to require heightened proof of citizenship from
          federal-form and state-form applications. Specifically,
          pursuant to H.B. 2492, federal-form applicants without
          documentary proof of citizenship (“DPOC”) may be
          registered as federal-only voters but are not eligible to vote
          for president or to vote by mail. State-form applicants must
          check a box confirming their citizenship, disclose their
          birthplace and provide documentary proof of residency
          (“DPOR”). State-form applications without DPOC must be
          rejected. Pursuant to H.B. 2243, county recorders must
          periodically conduct citizenship checks of registered
          federal-only voters or registered voters who county
          recorders have “reason to believe” are not citizens and
          cancel registrations if citizenship is not confirmed.
             The panel held that the Republican National Committee,
          the Arizona House Speaker and Senate President
          (Republican Appellants), and two nonprofit organizations
          had standing to pursue their appeals.
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                           MI FAMILIA VOTA V. PETERSEN                 9


              The panel affirmed the district court’s rulings on the
          NVRA claims, the LULAC Consent Decree claim, the Civil
          Rights Act claims, and the Equal Protection claim. The
          panel held that although some provisions of the Voting Laws
          are legitimate and lawful prerequisites to voting, many of the
          challenged provisions are unlawful measures of voter
          suppression. Specifically, (1) the requirement that federal
          form applicants must provide DPOC to vote by mail is
          preempted by Section 6 of the NVRA and obstacle
          preemption; (2) the requirement of DPOC to vote in
          presidential elections is preempted by Section 6 of the
          NVRA; (3) the requirement that state-form applicants
          registering for federal elections must provide DPOR violates
          Sections 6 and 7 of the NRVA; (4) the requirement that
          county recorders conduct citizen checks of voters that they
          have “reason to believe” are not citizens violates Section
          8(b) of the NVRA; and (5) the periodic cancellation of
          registrations violates the 90-day Provision of the NVRA to
          the extent that H.B. 2243 authorizes systematic cancellation
          of registrations within 90 days before a federal election.
              The panel held that the requirement that county recorders
          reject state-form applications without DPOC violates the
          LULAC Consent Decree. Alternatively, the NVRA does not
          let states require DPOC from state-form applicants
          registering for only federal elections. The citizen checkbox
          requirement relating to Arizona’s state form violates the
          Civil Rights Act when enforced on a person who has
          provided DPOC and is otherwise eligible to vote in
          Arizona. The birthplace disclosure requirement and the
          requirement that county recorders conduct citizen checks of
          voters they have reason to believe are not citizens violate the
          Civil Rights Act. The requirements of DPOC and DPOR for
          state-form applicants, however, do not violate the Equal
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          Protection Clause under the arbitrary and disparate treatment
          standard.
              The panel held that the district court imposed a higher
          evidentiary standard than required in finding that Arizona
          enacted H.B. 2243 without intent to discriminate. The panel,
          therefore, vacated the district court’s factual finding on this
          issue and remanded with instructions for the district court to
          apply the proper totality of the circumstances analysis.
             The panel held that the Republican Appellants’ appeal of
          the district court’s holding that the Legislative Parties
          waived legislative privilege was moot.
              Dissenting, Judge Bumatay stated that while some parts
          of H.B. 2492 and H.B. 2243 may violate federal law, in no
          way must they be completely invalidated. Most of the voter-
          verification laws are consistent with the Constitution and
          federal law, and the panel should have vacated and
          substantially narrowed the injunction.
              Judge Bumatay would reverse the district court’s
          preliminary injunction enjoining the Voting Law
          requirements for proof of citizenship to vote for president
          and to vote by mail and for state voter registration forms. He
          would also reverse the order enjoining requirements for
          proof of residence, for the disclosure of birthplace, and for
          the removal of noncitizens from the voter rolls. Neither the
          NVRA nor the LULAC consent decree barred enforcement
          of these requirements.
              Judge Bumatay disagreed with the majority that the
          nonprofit organizations had standing to appeal the equal
          protection claim against H.B. 2243. He also disagreed with
          the majority’s discriminatory purpose analysis. Given the
          strong presumption of good faith to legislative enactments,
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          there was no basis to overturn the district court’s factual
          determination.
               Judge Bumatay joined the majority on three issues. First,
          he agreed with enjoining the “reason to believe” and the
          citizenship-checkbox     requirements      because      these
          requirements violated the Civil Rights Act. He also agreed
          that the appeal of the district court’s holding that the
          Legislative Parties waived their legislative privilege was
          moot.


                                  COUNSEL

          Jonathan L. Backer (argued), Bonnie Robin-Vergeer,
          Matthew N. Drecun, and Margaret Turner, Attorneys, Civil
          Rights Division, Appellate Section; Kristin Clarke, Assistant
          Attorney General; United States Department of Justice,
          Washington, D.C.; Danielle M. Lang (argued), R. Brent
          Ferguson, Kathryn L. Huddleston, and Jonathan Diaz,
          Campaign Legal Center, Washington, D.C.; James E. Barton
          II, Barton Mendez Soto PLLC, Tempe, Arizona; Alexander
          B. Ritchie, Attorney; Chase A. Velasquez, Assistant
          Attorney General; Department of Justice San Carlos Apache
          Tribe, Office of the Attorney General, San Carlos, Arizona;
          Courtney Hostetler, Free Speech For People, Sharon,
          Massachusetts; John C. Bonifaz, Free Speech For People,
          Amherst, Massachusetts; Lee H. Rubin, Mayer Brown LLP,
          Palo Alto, California; Rachel J. Lamorte, Mayer Brown
          LLP, Washington, D.C.; Gary A. Isaac, Daniel T. Fenske,
          Anastasiya K. Lobacheva, and William J. McElhaney III,
          Mayer Brown LLP, Chicago, Illinois; Ernest I. Herrera
          (argued), Denise Hulett, and Erika Cervantes, Mexican
          American Legal Defense and Educational Fund, Los
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          Angeles, California; Daniel R. Ortega Jr., Ortega Law Firm
          PC, Phoenix, Arizona; Daniel A. Arellano, Roy Herrara, and
          Jillian L. Andrews, Herrera Arellano LLP, Phoenix,
          Arizona; Marc E. Elias, Elisabeth C. Frost, Christopher D.
          Dodge, Daniela Lorenzo, and Qizhou Ge, Elias Law Group
          LLP, Washington, D.C.; Daniel J. Adelman, Arizona Center
          For Law In The Public Interest, Phoenix, Arizona; John A.
          Freedman, Jeremy Karpatkin, Erica McCabe, and Leah
          Motzkin, Arnold & Porter Kaye Scholer LLP, Washington,
          D.C.; Leah R. Novak and Andrew Hirschel, Arnold & Porter
          Kaye Scholer LLP New York, New York; Nina G. Beck,
          Emily Davis, Jonathan Sherman, Beauregard Patterson, and
          Michelle K. Cohen, Fair Elections Center, Washington,
          D.C.; Christopher E. Babbitt, Daniel S. Volchok, Seth P.
          Waxman, Britany Riley-Swanbeck, and Joseph M. Meyer,
          Wilmer Cutler Pickering Hale and Dorr LLP, Washington,
          D.C.; Bruce Samuels, Jennifer Lee-Cota, Papetti Samuels
          Weiss McKirgan LLP, Scottsdale, Arizona; Sadik H.
          Huseny, Amit Makker, Evan Omi, and Catherine A. Rizzoni,
          Latham & Watkins LLP, San Francisco, California; Niyati
          Shah, Terry A. Minnis, and Noah Baron, Asian Americans
          Advancing Justice, Washington, D.C.; Andrew M. Federhar,
          Spencer Fane LLP, Phoenix, Arizona; David B. Rosenbaum,
          Joshua J. Messer, Osborn Maledon PA, Phoenix, Arizona;
          Ezra D. Rosenberg, American Civil Liberties Union of New
          Jersey, Newark, New Jersey; Matthew L. Campbell, Michael
          S. Carter, Allison A. Neswood, and Jacqueline D. DeLeon,
          Native American Rights Fund, Boulder, Colorado;
          Samantha B. Kelty, Native American Rights Fund,
          Washington D.C.; Marissa L. Sites, Assistant Attorney
          General; Howard M. Shanker, Attorney General, Tohono
          O'Odham Nation, Office of the Attorney General, Sells,
          Arizona; Javier G. Ramos, Senior Counsel, Gila River
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          Indian Community, Prima Maricopa Tribe Law Office,
          Sacaton, Arizona; for Plaintiffs-Appellees.
          Kory A. Langhofer (argued) and Thomas J. Basile, Statecraft
          PLLC, Phoenix, Arizona; Tyler R. Green, Gilbert C. Dickey,
          and Conor D. Woodfin, Consovoy McCarthy PLLC,
          Arlington, Virginia; for Intervenor-Defendants-Appellants.
          Joshua M. Whitaker (argued) Joshua D. Bendor, Hayleigh S.
          Crawford, Attorneys; Kathryn E. Boughton and Timothy E.
          Durkin Horley, Assistant Attorneys General; Kristin K.
          Mayes, Arizona Attorney General; Office of the Arizona
          Attorney General, Phoenix, Arizona; Craig Morgan, Taft
          Stettinius & Hollister LLP, Phoenix, Arizona; Celeste
          Robertson, Attorney, Apache County Attorney's Office, St.
          Johns, Arizona; Christine J. Roberts, Deputy Chief Counsel,
          Pinal County Attorney's Office, Florence, Arizona; Rose M.
          Winkeler, Deputy County Attorney, Flagstaff Law Group
          PLLC, Flagstaff, Arizona; Jefferson R. Dalton, Counsel,
          Gila County Attorney's Office, Globe, Arizona; Gary
          Griffith, County Attorney, Greenlee County Attorney’s
          Office, Clifton, Arizona; Jason W. Mitchell, Trial Attorney,
          La Paz County Attorney’s Office, Parker, Arizona; Ryan N.
          Dooley, Attorney, City of St. George, St. George, Utah; Sean
          M. Moore, Joseph E. La Rue, Jack L. O'Connor III, and
          Anna Griffin Critz, Deputy County Attorneys; Maricopa
          County Attorney's Office, Civil Services Division, Phoenix,
          Arizona; Ryan H. Esplin, Attorney, Mohave County
          Attorney's Office, Kingman, Arizona; Jason S. Moore,
          Deputy Assistant Attorney General, Navajo County
          Attorney's Office, Holbrook, Arizona; Daniel S. Jurkowitz,
          Pima County Attorney's Office, Tucson, Arizona; William J.
          Kerekes and Jessica L. Holzer, Deputy County Attorney’s,
          Office of the Yuma County Attorney, Yuma, Arizona; Craig
          Cameron, Deputy County Attorney, Pinal County Attorney's
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          Office, Florence, Arizona; Jean A. Roof, Graham County
          Attorney's Office, Safford, Arizona; Thomas M. Stoxen,
          Attorney, Yavapai County Attorney's Office, Prescott,
          Arizona; Christina E. Werther and Justin S. Pierce, Pierce
          Coleman PLLC, Scottsdale, Arizona; for Defendants-
          Appellees.
          Dominic E. Draye, Greenberg Traurig LLP, Phoenix,
          Arizona; Nick Peterson, Greenberg Traurig LLP, Salt Lake
          City, Utah; for Amicus Curiae Arizona Free Enterprise Club.
          Christopher J. Hajec, Immigration Reform Law Institute,
          Washington, D.C.; Lawrence J. Joseph, Law Office of
          Lawrence J. Joseph, Washington, D.C.; for Amicus Curiae
          Immigration Reform Law Institute.
          Jonathon P. Hauenschild, Center for Election Confidence,
          Arlington, Virginia, for Amicus Curiae Center for Election
          Confidence.
          Michael A. Columbo, Mark P. Meuser, and Harmeet
          Dhillon, Dhillon Law Group Inc., San Francisco, California;
          Andrew Gould, Holtzman Vogel Baran Torchinsky &
          Josefiak PLLC, Phoenix Arizona; for Amicus Curiae
          Republican Party of Arizona.
          Elizabeth B. Wydra, Brianne J. Gorod, David H. Gans, and
          Anna K. Jessurun, Constitutional Accountability Center,
          Washington, D.C, for Amicus Curiae Constitutional
          Accountability Center.
          Justin Levitt, LMU Loyola Law School, Los Angeles,
          California, for Amicus Curiae Professor Justin Levitt.
          Patricia J. Yan and Sarah E. Brannon, American Civil
          Liberties Union Foundation, Washington, D.C.; Sophia L.
          Lakin, American Civil Liberties Union Foundation, New
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          York, New York; R. Adam Lauridsen, Ian Kanig, Imara
          McMillan, Sara R. Fitzpatrick, and Courtney J. Liss, Keker
          Van Nest & Peters LLP, San Francisco, California; Jasleen
          Singh and Sara Carter, Brennan Center for Justice at NYU
          School of Law, New York, New York; Phi Nguyen and Roni
          Druks, Demos, New York, New York; for Amici Curiae
          League of Women Voters, League of Women Voters of
          Arizona, Secure Families Initiative, and Modern Military
          Association of America..
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                                   OPINION

          GOULD, Circuit Judge:

              The United States, several nonprofits, the Democratic
          National Committee, the Arizona Democratic Party, and
          three federally recognized Tribes (collectively, the
          “Plaintiff-Appellees”) challenge two Arizona laws
          regulating voter registration, H.B. 2492 and H.B. 2243
          (together the “Voting Laws”), contending these are
          preempted or in violation of the National Voter Registration
          Act (“NVRA”), the LULAC consent decree, the Civil Rights
          Act, and the Equal Protection Clause of the United States
          Constitution. Consolidating the eight lawsuits challenging
          the Voting Laws, the district court held that certain
          provisions of the Voting Laws are preempted by the NVRA,
          that certain provisions of the Voting Laws violate the
          NVRA, and that Sections 6 and 9 of the NVRA require
          county recorders to register state-form applicants without
          documentary proof of location of residency (“DPOR”) as
          “federal-only” voters. The district court also held that state-
          form applicants without documentary proof of citizenship
          (“DPOC”) must be processed in accordance with the consent
          decree in League of United Latin Am. Citizens of Ariz. v.
          Reagan, No. 2:17-cv-4102 (D. Ariz. 2018) (the “LULAC
          Consent Decree”) or, in the alternative, that the NVRA does
          not let states require DPOC from state-form applicants
          registering for only federal elections.
              Regarding the Civil Rights Act claims, the district court
          held that two requirements imposed by the Voting Laws
          violate the “Materiality Provision” of the Civil Rights Act,
          52 U.S.C. § 10101(a)(2)(B), and that the requirement that
          county recorders verify the citizenship status (“citizenship
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          checks”) of voters that they have “reason to believe” are not
          citizens violates the different standards, practices, or
          procedures provision (“DSPP Provision”) of the Civil Rights
          Act, 52 U.S.C. § 10101(a)(2)(A). Regarding the Equal
          Protection claims, the district court held that the
          requirements of DPOC and DPOR do not violate the Equal
          Protection Clause of the United States Constitution and
          found that neither of the Voting Laws was enacted with
          intent to discriminate. In adjudicating these claims, the
          district court held that Arizona House Speaker Ben Toma
          and Arizona Senate President Warren Petersen (together the
          “Legislative Parties”) waived legislative privilege.
              The Republican National Committee, Toma, and
          Petersen (collectively, the “Republican Appellants”) appeal
          the district court’s holdings about claimed violations of the
          NVRA, the LULAC Consent Decree, and the Civil Rights
          Act. The Republican Appellants also appeal the holding that
          the Legislative Parties waived legislative privilege.
              Two of the nonprofit Plaintiff-Appellees, Promise
          Arizona and Southwest Voter Registration Education
          Project (together the “Promise Cross-Appellants”), cross-
          appeal the factual finding that H.B. 2243 was not enacted
          with intent to discriminate. The State of Arizona and the
          Arizona Attorney General Kris Mayes (in her official
          capacity) (together “the State”) appeal, contending that the
          state-form requirement that applicants disclose their
          birthplace does not violate the Materiality Provision of the
          Civil Rights Act and that the Promise Cross-Appellants do
          not have standing to pursue their cross-appeal. Another
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          group of nonprofit entities 1 (collectively, “LUCHA
          Appellees”) contend that the Republican Appellants do not
          have standing to appeal and that the DPOC and DPOR
          requirements violate Equal Protection.
              The challenges raised in the briefing can be grouped into
          six general categories: (1) whether certain parties have
          standing, (2) whether the NVRA preempts provisions of the
          Voting Laws, (3) whether the Voting Laws violate the
          LULAC Consent Decree, (4) whether the Voting Laws
          violate the Civil Rights Act, (5) whether the Voting Laws
          violate the Equal Protection Clause of the United States
          Constitution, and (6) whether there was waiver of legislative
          privilege.
              There are fourteen specific issues raised in the briefing,
          namely (1) whether the Republican Appellants have
          standing to appeal, (2) whether the Promise-Cross
          Appellants have standing to cross-appeal, (3) whether the
          DPOC requirement to vote by mail is preempted by the
          NVRA, (4) whether the DPOC requirement to vote in
          presidential elections is preempted by the NVRA,
          (5) whether the DPOR requirement for state-form applicants
          registering for federal elections is preempted by the NVRA,
          (6) whether citizenship checks of voters who county
          recorders have “reason to believe” are not citizens violates
          the NVRA, (7) whether the periodic cancellation of
          registrations violates the NVRA, (8) whether the
          requirement that county recorders reject state-form
          applications without DPOC violates the LULAC Consent

          1
            Living United for Change in Arizona; League of United Latina
          American Citizens; Arizona Students’ Association; ADRC Action; Inter
          Tribal Council of Arizona, Inc.; San Carlos Apache Tribe, a federally
          recognized tribe; and Arizona Coalition for Change
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          Decree, (9) whether the checkbox requirement violates the
          Materiality Provision of the Civil Rights Act, (10) whether
          the birthplace requirement violates the Materiality Provision
          of the Civil Rights Act, (11) whether the “reason to believe”
          provision violates the DSPP Provision, (12) whether the
          district court erred in finding Arizona enacted H.B. 2243
          without intent to discriminate, (13) whether the
          requirements of DPOC and DPOR cause “arbitrary and
          disparate treatment” violating the Equal Protection Clause,
          and (14) whether the Legislative Parties waived legislative
          privilege.
              We address each issue in turn. Although some
          provisions of the Voting Laws are legitimate and lawful
          prerequisites to voting, many of the challenged provisions
          are unlawful measures of voter suppression.
              We have jurisdiction under 28 U.S.C. § 1291. We hold
          that the Republican Appellants and Promise Cross-
          Appellants have standing to pursue their appeals. We affirm
          the district court’s rulings on the NVRA claims, the LULAC
          Consent Decree claim, the Civil Rights Act claims, and the
          Equal Protection claim. We also vacate the district court’s
          factual finding that H.B. 2243 was not enacted with intent to
          discriminate, and we remand for further proceedings
          consistent with this opinion. We hold that the Republican
          Appellants’ appeal of the district court’s holding that there
          was a waiver of legislative privilege is moot.
              I.   FACTS AND PROCEDURAL HISTORY
             A. Voting and Voter Registration System in Arizona
             Arizona has a history of discrimination against
          minorities and of voting discrimination. For example, the
          Arizona territorial government in 1909 imposed a literacy
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          test prerequisite to voting, with the explicit aim to limit the
          “ignorant Mexican vote.” After obtaining statehood,
          Arizona renewed this literacy test in 1912. Next, in the
          1970s and 1980s, Arizona conducted voter roll purges of
          previously-registered voters, which required all previously-
          registered individuals to re-register to vote and resulted in
          fewer minority voters re-registering compared to white
          voters. There is also an example of a Maricopa County
          election official requesting DPOC around this time, even
          though it was not yet required by law.
              To qualify to vote in Arizona, a person must be a United
          States citizen, a resident of Arizona, at least eighteen years
          old, and not adjudicated, incapacitated, or convicted of a
          felony. Ariz. Const. art. VII, § 2. An eligible person can
          register to vote in Arizona using the “federal form” created
          by the United States Election Assistance Commission or can
          register with the state form prescribed by Arizona law.
          Public assistance agencies in Arizona typically use the state
          form to register individuals to vote.
              The NVRA requires states to “accept and use” the
          federal form to register voters for federal elections, 52
          U.S.C. § 20505(a)(1); Arizona v. Inter Tribal Council of
          Ariz., Inc., 570 U.S. 1, 9 (2013), and the federal form
          contains:

                 only such identifying information (including
                 the signature of the applicant) and other
                 information (including data relating to
                 previous registration by the applicant), as is
                 necessary to enable the appropriate State
                 election official to assess the eligibility of the
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                   applicant and to administer voter registration
                   and other parts of the election process.

          52 U.S.C. § 20508(b)(1). The federal form requires
          applicants to check a box under penalty of perjury indicating
          that they are citizens of the United States. The federal form
          does not require applicants to disclose their birthplace.
          Although Arizona in previous times did not require
          applicants to disclose their birthplace, Arizona has long
          collected birthplace information from state-form
          applicants—including an optional field on the state form for
          applicants to include their “state or country of birth.” See
          1913 Ariz. Rev. Stat. § 2855.
              Subject to limitations, 2 states may require additional
          information from applicants seeking to vote in both state and
          federal elections. See Inter Tribal Council, 570 U.S. at 12.
          Since 2004, Arizona has required DPOC in its state form for
          applicants who want to vote in state elections.
          “[S]atisfactory evidence of citizenship” includes an
          applicant’s driver’s license, birth certificate, U.S passport,
          U.S. naturalization documents, the number of the certificate
          of naturalization, or Bureau of Indian Affairs card number.
          See Ariz. Rev. Stat. § 16-166(F).



          2
            Sections 6 and 9 read together permit states to develop “a mail voter
          registration form” that requires “only such identifying information
          (including the signature of the applicant) and other information
          (including data relating to previous registration by the applicant), as is
          necessary to enable the appropriate State election official to assess the
          eligibility of the applicant and to administer voter registration and other
          parts of the election process.” 52 U.S.C. §§ 20505, 20508(b). These
          state forms “may not include any requirement for notarization or other
          formal authentication.” 52 U.S.C. § 20508(b)(3).
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              Before the Supreme Court decided Inter Tribal Council,
          Arizona required DPOC from all applicants regardless of the
          form used, but we held and the Supreme Court affirmed that
          the NVRA, 52 U.S.C. § 20505, preempted Arizona’s
          requirement of DPOC as applied to federal-form applicants.
          See Gonzalez v. Arizona, 677 F.3d 383, 398–402 (9th Cir.
          2012) [hereinafter Gonzalez II] (en banc), aff’d sub nom.
          Inter Tribal Council, 570 U.S. at 15. Arizona continued to
          reject state-form applications without DPOC until 2018
          when the then-Arizona Secretary of State entered into the
          LULAC Consent Decree. League of United Latin Am.
          Citizens of Ariz. v. Reagan, Doc. 37, No. 2:17-cv-4102 (D.
          Ariz. 2018) [hereinafter LULAC Consent Decree].
               The LULAC Consent Decree requires county recorders
          to register otherwise eligible voters for federal elections
          regardless whether they provide DPOC. See id. at 8–10, 13.
          The LULAC Consent Decree mandates that for state-form
          and federal-form applicants without DPOC, county
          recorders must search Arizona Department of
          Transportation (“ADOT”) records to verify citizenship. See
          id. at 8-10, 13–14. If citizenship is confirmed by the search,
          the applicant is registered as a full-ballot voter; but if
          citizenship cannot be confirmed, the applicant is registered
          as a federal-only voter. See id.
              Since the LULAC Consent Decree was filed and until the
          Supreme Court’s order in RNC v. Mi Familia Vota, No.
          24A164, 603 U.S. ___, slip. op. (Aug. 22, 2024), Arizona
          registered both federal-form and state-form applicants
          without DPOC as federal-only voters eligible to vote in only
          federal races. As of July 2023, there were 19,439 active
          federal-only voters in Arizona who were registered without
          DPOC. These federal-only voters represent less than half a
          percent of Arizona’s registered voters. About 0.76% of all
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          minority voters in Arizona are registered as federal-only
          voters and 0.35% of white voters are registered as federal-
          only voters.
             B. The Voting Laws
             1. Legislative History
              Arizona’s November 2020 presidential election was
          decided in favor of President Biden by a margin of 10,457
          votes. The Arizona Senate established a committee to audit
          the 2020 election in response to a claim that non-citizens had
          illegally cast more than 36,000 ballots in the election. This
          committee found no evidence of voter fraud.
              Before passing the Voting Laws, the Arizona Legislature
          (the “Legislature”) did not establish that any non-citizens
          were registered to vote in Arizona. Neither House Speaker
          Toma nor Senate President Petersen recalled the Legislature
          being presented with or considering evidence of non-citizen
          voter fraud in Arizona. The allegation that persons who
          were not citizens swayed the election results was apparently
          fanciful.
              Nonetheless, the Voting Laws were introduced to the
          Arizona House of Representatives in 2022. The Arizona
          Free Enterprise Club (the “Free Enterprise Club”) drafted the
          Voting Laws. In its initial advocacy for the Voting Laws,
          the Free Enterprise Club sent lobbying materials to Arizona
          legislators with the heading “how more illegals started
          voting in AZ.”
              In support of H.B. 2492, a state representative asserted
          during a House Government and Elections Committee
          meeting that after the LULAC Consent Decree, more than
          11,600 individuals had registered without DPOC as federal-
          only voters. A majority of the House Rules Committee
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          voted in favor of H.B. 2492 despite concerns voiced by the
          Committee’s legal counsel that the NVRA likely preempted
          the bill’s DPOC requirement for federal-form applicants.
          The Legislature persisted in passing the bill, and it was
          signed into law by the then-Arizona Governor Ducey.
               As originally drafted, H.B. 2243 amended Ariz. Rev.
          Stat. § 16-152 to only require a notice on the state form
          telling voters that their registrations would be cancelled if
          they moved permanently to a different state. Another bill,
          H.B. 2617, was introduced the same month and passed by
          the Legislature in May 2022. Former-Governor Ducey
          vetoed the bill, however. After this veto, House Speaker
          Toma decided to include an amended version of H.B. 2617
          in H.B. 2243. Senate President Petersen sponsored the
          amendment in the Arizona Senate and proposed a floor
          amendment to incorporate H.B. 2617 into H.B. 2243. Senate
          President Petersen said that the amendments to H.B. 2243
          are essentially “identical to” H.B. 2617, except for some
          “additional notice requirements.” The explanation for these
          changes in the legislative record is that H.B. 2243 was
          amended to “address the [Governor’s] veto letter.” In his
          deposition, House Speaker Toma said that he could not recall
          another time when a vetoed voting bill was pushed through
          to passage in this manner. The Legislature passed H.B.
          2243, and it was signed into law by former-Governor Ducey.
               2. Changes to Arizona Voter Registration Laws
              The Voting Laws amend provisions regulating voter
          registration and enable government officials to require
          heightened proof of citizenship from federal-form and state-
          form applicants, prescribing consequences if an applicant
          does not provide such proof. The Voting Laws also provide
          for monthly comparisons of some registered voters to several
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          databases and cancellation of certain registrations after those
          database comparisons are made.
              H.B. 2492 made the following specific changes. First,
          federal-form applicants without DPOC may still be
          registered as federal-only voters but are not eligible to vote
          for president or to vote by mail. Ariz. Rev. Stat. §§ 16-
          121.01(D)–(E), 16-127(A). Second, state-form applications
          without DPOC must be rejected, and it is a felony for a
          county recorder to fail to reject a state-form application
          without DPOC. Ariz. Rev. Stat. § 16-121.01(C). Finally,
          state-form applicants must check a box confirming their
          citizenship (“checkbox requirement”), disclose their
          birthplace (“birthplace requirement”), and provide DPOR.
          Ariz. Rev. Stat. §§ 16-121.01(A), 16-123.
               H.B. 2243 made the following changes. First, county
          recorders must periodically check available databases to
          compare the citizenship status of registered federal-only
          voters and, if they are not confirmed to be citizens, cancel
          their registrations (“periodic cancellation of registrations”).
          Ariz. Rev. Stat. §§ 16-165(A)(10), 16-165(G)–(K). The
          terms of Arizona Revised Statutes §§ 16-165(G)–(K)
          provide that the county recorder shall research the
          citizenship status of registered voters by periodically
          checking available databases including the ADOT, Social
          Security Administration, Systematic Alien Verification for
          Entitlements (“SAVE”), National Association for Public
          Health Statistics and Information Systems (“NAPHSIS”),
          and city, town, county, state, and federal databases and, if
          the registrants are not confirmed to be citizens, cancel their
          registrations. But there is a problem of voter suppression
          because these provisions may result in actual citizens having
          their valid voter registrations cancelled if the databases have
          not been kept up to date. For example, SAVE may not
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          immediately return updated naturalization records if an
          individual is naturalized before a weekend or a federal
          holiday.
              One provision of H.B. 2243 specifically directs that
          county recorders must each month, or to the extent
          practicable, conduct citizenship checks of registered federal-
          only voters or registered voters who county recorders have
          “reason to believe” are not citizens. Ariz. Rev. Stat. § 16-
          165(I). These citizenship checks are to be done through the
          SAVE program maintained by the U.S. Citizenship and
          Immigration Services. Ariz. Rev. Stat. § 16-165(I).
               C. Procedural History
              The district court consolidated eight lawsuits
          challenging provisions of the Voting Laws. The district
          court resolved some claims at summary judgment and others
          after a 10-day bench trial.
             Regarding the NVRA claims, the district court
          specifically held that:

                  •   Section 6 of the NVRA, 52 U.S.C.
                      § 20505(a)(1), preempted H.B. 2492’s
                      provisions     prohibiting federal-only
                      voters from voting by mail and in
                      presidential elections;
                  •   Sections 6 and 9 of the NVRA require
                      county recorders to register state-form
                      applicants without DPOR as federal-only
                      voters;
                  •   The DPOR requirement violates Section
                      7 of the NVRA, 52 U.S.C.
                      § 20506(a)(6)(A)(ii);
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                 •   Citizenship checks of voters who county
                     recorders have “reason to believe” are not
                     citizens violate Section 8(b) of the
                     NVRA, 52 U.S.C. § 20507(b); and
                 •    The periodic cancellation of registrations
                     violates Section 8(c) of the NVRA (the
                     “90-day     Provision”),     52     U.S.C.
                     § 20507(c)(2).

              The district court also held that state-form applicants
          without DPOC must be processed in accordance with the
          LULAC Consent Decree. Alternatively, the district court
          held that the NVRA does not let states require DPOC from
          state-form applicants registering for only federal elections.
              Regarding the Civil Rights Act claims, the district court
          held that:

                 •   The checkbox requirement violates the
                     Materiality Provision of the Civil Rights
                     Act, 52 U.S.C. § 10101(a)(2)(B), when
                     applicants provide DPOC;
                 •   The birthplace requirement violates the
                     Materiality Provision of the Civil Rights
                     Act; and
                 •   The “reason to believe” provision of
                     Arizona Revised Statute § 16-165(I)
                     violates the DSPP Provision of the Civil
                     Rights Act, 52 U.S.C. § 10101(a)(2)(A).

              Regarding the Equal Protection claims, the district court
          held that the requirements of DPOC and DPOR do not
          violate the Equal Protection Clause of the United States
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          Constitution and found that neither of the Voting Laws was
          enacted with intent to discriminate. In adjudicating these
          claims, the district court held that the Legislative Parties
          waived legislative privilege regarding their motives for the
          Voting Laws. The Legislative Parties complied with the
          discovery order that they claim violated their legislative
          privilege.
              The district court issued its final judgment on May 2,
          2024 and permanently enjoined enforcement of the
          provisions of the Voting Laws inconsistent with its
          foregoing holdings.
                      II. STANDARD OF REVIEW
              Summary judgment is reviewed de novo, and we may
          affirm summary judgment on any ground supported by the
          record. Campidoglio LLC v. Wells Fargo & Co., 870 F.3d
          963, 973 (9th Cir. 2017). After a bench trial, the district
          court’s legal conclusions are reviewed de novo, and findings
          of fact are reviewed for clear error. Yu v. Idaho State Univ.,
          15 F.4th 1236, 1241–42 (9th Cir. 2021); Fed. R. Civ. P.
          52(a)(6).
                             III. DISCUSSION
               A. Standing
              Because a “question of appellate jurisdiction must
          always be resolved before the merits of an appeal are
          examined or addressed,” we first examine the standing
          issues. In re Application for Exemption from Elec. Pub.
          Access Fees by Jennifer Gollan & Shane Shifflett, 728 F.3d
          1033, 1036 (9th Cir. 2013) (internal quotation marks and
          citation omitted).
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              “[S]tanding must be met by persons seeking appellate
          review, just as it must be met by persons appearing in courts
          of first instance.” Hollingsworth v. Perry, 570 U.S. 693, 705
          (2013) (internal quotation marks and citation omitted). “All
          that is needed to entertain an appeal” on an issue, however,
          “is one party with standing.” Brnovich v. DNC, 594 U.S.
          647, 665 (2021).
              Under Article III of the United States Constitution, a
          plaintiff has standing if the plaintiff can show (1) an “injury
          in fact” that is concrete and particularized and actual or
          imminent, not hypothetical; (2) that the injury is fairly
          traceable to the challenged action of the defendant; and
          (3) that it is likely, as opposed to merely speculative, that the
          injury will be redressed by a favorable decision. Lujan v.
          Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). Under this
          general rule, standing requires a showing of injury,
          causation, and redressability. See id.
              1. The Republican Appellants
              A federal court’s injunction of a state statute’s
          implementation injures the state. See Abbott v. Perez, 585
          U.S. 579, 602 & n.17 (2018) (“[T]he inability to enforce [the
          State’s] duly enacted plans clearly inflicts irreparable harm
          on the State.”). “[A] State must be able to designate agents
          to represent it in federal court.” Hollingsworth, 570 U.S. at
          710. “Respect for state sovereignty” considers, however,
          “the authority of a State to structure its executive branch in
          a way that empowers multiple officials to defend its
          sovereign interests in federal court.” Cameron v. EMW
          Women’s Surgical Ctr., 595 U.S. 267, 277 (2022). The
          executive branch does not “hold[] a constitutional monopoly
          on representing [a State’s] practical interests in court.”
          Berger v. N.C. State Conf. of the NAACP, 597 U.S. 179, 194
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          (2022) (recognizing the authority of the legislative branch to
          defend state law on behalf of the State because North
          Carolina has a statute authorizing the House Speaker and
          Senate President to do so in certain circumstances); see N.C.
          Gen. Stat. § 120-32.6(b).
              No party disputes that the district court’s permanent
          injunction of parts of the Voting Laws causes a clear and
          obvious injury to the State. See Abbott, 585 U.S. at 602 &
          n.17. Although Arizona has designated the Attorney
          General to represent it in federal court, Arizona Revised
          Statute § 12-1841(A) states that “[i]n any proceeding in
          which a state statute . . . is alleged to be unconstitutional, the
          attorney general and the speaker of the house of the
          representatives and the president of the senate shall be
          served with” notice “and shall be entitled to be heard.” Like
          the North Carolina statute in Berger that authorized the
          North Carolina House Speaker and Senate President to
          defend North Carolina’s state laws on behalf of the State,
          Arizona Revised Statute § 12-1841(A) authorizes the
          Legislative Parties to defend Arizona’s state laws on behalf
          of the State. Berger, 597 U.S. at 194. A plain reading of the
          statute’s literal terms shows that the Legislature intended to
          “reserve[] to itself some authority to defend state law on
          behalf of the State” and “empowers” the Legislative Parties
          here to defend Arizona’s sovereign interests in federal court.
          See id; EMW Women’s Surgical Ctr., 595 U.S. at 277.
              We hold that the Legislative Parties have standing to
          bring their appeal. Given that “[a]ll that is needed to
          entertain” the Republican Appellants’ appeal “is one party
          with standing,” the Legislative Parties satisfy the standing
          requirement for Republican Appellants’ appeal.           See
          Brnovich, 594 U.S. at 665.
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              2.   Promise Cross-Appellants
              To invoke representational standing, an organization
          must show that “(a) its members would otherwise have
          standing to sue in their own right; (b) the interests it seeks to
          protect are germane to the organization’s purpose; and
          (c) neither the claim asserted nor the relief requested
          requires the participation of individual members in the
          lawsuit.” Students for Fair Admissions, Inc. v. President of
          Harvard Coll., 600 U.S. 181, 199 (2023). As a general rule
          of representational standing, when it is clear and not
          speculative that a member of a group will be adversely
          affected by a challenged action and a defendant does not
          need to know the identity of a particular member to defend
          against an organization’s claims, the organization does not
          have to identify particular injured members by name. See
          Nat’l Council of La Raza v. Cegavske, 800 F.3d 1032, 1041
          (9th Cir. 2015), overruled on other grounds by Ariz. All. for
          Retired Americans v. Mayes, 117 F.4th 1165 (9th Cir. 2024).
          When we analyze injury in fact, “we consider whether the
          [parties] face a realistic danger of sustaining a direct injury
          as a result of the statute’s operation or enforcement.”
          Protectmarriage.com-Yes on 8 v. Bowen, 752 F.3d 827, 839
          (9th Cir. 2014).
              Promise Arizona is a membership organization with
          1,043 dues-paying members as of November 2023, and its
          members include voters who are naturalized citizens.
          Absent the district court’s injunction, the enforcement of the
          Voting Laws and H.B. 2243’s citizenship checks would
          proceed and apply to any registered voter in Arizona if any
          county recorder has “reason to believe” that the registered
          voter is not in fact a citizen; from this, Promise Arizona
          members face an imminent and “realistic danger of
          sustaining a direct injury.” Bowen, 752 F.3d at 839. Any of
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          Promise Arizona’s members may be subject to a citizenship
          check if a county recorder has “reason to believe” they are
          not a citizen. The danger to voting rights here is that
          properly registered voters, who in fact are citizens, may have
          their voter registrations cancelled upon mere and potentially
          arbitrary suspicion of a county recorder, losing their
          constitutional right to vote. 3 Improper voter suppression
          here threatens the public because it appears that Promise
          Arizona’s members include naturalized citizens and “SAVE
          may not immediately return updated naturalization records
          if an individual is naturalized prior to a weekend or a federal
          holiday.” This threat of future injury is traceable to H.B.
          2243 and redressable by maintaining the district court’s


          3
            The right to vote is a precious constitutional right. As explained in
          Reynolds v. Sims, “[u]ndeniably the Constitution of the United States
          protects the right of all qualified citizens to vote, in state as well as in
          federal elections. A consistent line of decisions by this Court in cases
          involving attempts to deny or restrict the right of suffrage has made this
          indelibly clear.” 377 U.S. 533, 554 (1964) (collecting Supreme Court
          cases restraining acts of voter suppression). Because the right to vote is
          fundamental, any deprivation of that right caused by voter suppression
          measures is of grave concern to the public. Federal circuit judges and
          district judges have consistently restrained acts of voter suppression.
          See, e.g., Perkins v. City of West Helena, 675 F.2d 201, 216-17 (8th Cir.
          1982); Garza v. Cnty. of Los Angeles, 918 F.2d 763, 774-75 (9th Cir.
          1990); Price v. N.Y. State Bd. of Elections, 540 F.3d 101, 110-12 (2d
          Cir. 2008); Obama for Am. v. Husted, 697 F.3d 423, 428-36 (6th Cir.
          2012); Veasey v. Abbott, 830 F.3d 216, 235-43 (5th Cir. 2016);
          Democratic Exec. Comm. of Fla. v. Detzner, 347 F. Supp. 3d. 1017,
          1029-31 (N.D. Fla. 2018); McConchie v. Scholz, 567 F. Supp. 3d 861,
          885-89 (N.D. Ill. 2021).
             Stated another way, the exercise of the fundamental right to vote is a
          cornerstone premise of democracy; suppression of that right to vote is
          not only hostile to the right to vote but should also be firmly and
          unequivocally rejected by the courts that guard that right.
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          injunction currently preventing enforcement of H.B. 2243.
          See Lujan, 504 U.S. at 560. Because the Promise Arizona
          members satisfy the three prongs for standing required by
          Lujan, Promise Arizona’s members have standing to sue.
          See id. at 560–61.
              Because one or more members of Promise Arizona may
          be adversely affected by H.B. 2243 and the State does not
          need to know the identity of a particular member to respond
          to Promise Arizona’s claim of injury, Promise Arizona need
          not identify by name its members who would be injured by
          H.B. 2243 absent the injunction. See Nat’l Council of La
          Raza, 800 F.3d at 1041.
              Because Promise Arizona’s “core activities include
          registering voters, educating voters, and turning out the
          vote,” protecting the voting rights of its members is germane
          to Promise Arizona’s purpose. See Students for Fair
          Admissions, 600 U.S. at 199. Promise Arizona’s cross-
          appeal and requested relief do not require the participation
          of its members in this litigation, and the State does not
          contend otherwise.
              We hold that Promise Arizona has representational
          standing, and the Promise Cross-Appellants have standing to
          pursue their cross-appeal. See Brnovich, 594 U.S. at 665
          (“All that is needed to entertain an appeal” on an issue “is
          one party with standing.”).
             B. The NVRA
               “Because the power the Elections Clause confers is none
          other than the power to pre-empt, the reasonable assumption
          is that the statutory text accurately communicates the scope
          of Congress’s preemptive intent . . . . Unlike the States’
          historic police powers, the States’ role in regulating
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          congressional elections . . . has always existed subject to the
          express qualification that it terminates according to federal
          law.” Inter Tribal Council, 570 U.S. at 14–15 (internal
          quotation marks and citations omitted); see also Gonzalez II,
          677 F.3d at 392 (“[T]he ‘presumption against preemption’
          and ‘plain statement rule’ that guide Supremacy Clause
          analysis are not transferable to the Elections Clause
          context.” (citation omitted)).
               State law is preempted when a federal statute expressly
          preempts state law. Chamber of Com. v. Bonta, 62 F.4th
          473, 482 (9th Cir. 2023). State law is also preempted “where
          it is impossible for a private party to comply with both state
          and federal requirements, or where state law stands as an
          obstacle to the accomplishment and execution of the full
          purposes and objectives of Congress.” English v. Gen. Elec.
          Co., 496 U.S. 72, 79 (1990) (internal quotation marks and
          citations omitted).
               1. Sections 6, 7, and 9 of the NVRA
              Under Section 6 of the NVRA, states must “accept and
          use” the federal form. 52 U.S.C. § 20505(a)(1). The
          Supreme Court has held that this means that the federal form
          must “be accepted as sufficient for the requirement it is
          meant to satisfy.” Inter Tribal Council, 570 U.S. at 10
          (emphasis in original). Section 6 of the NVRA permits
          states to use their own state forms for federal elections. See
          52 U.S.C. § 20505(a)(2). But those forms must comply with
          Section 9 and “require only such identifying information . .
          . and other information . . . as is necessary to enable the
          appropriate State election official to assess the eligibility of
          the applicant and to administer voter registration.” 52
          U.S.C. § 20508(b)(1).
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              Section 7 of the NVRA provides that any voter
          registration agency that “provides service or assistance in
          addition to conducting voter registration shall . . . distribute
          with each application for such service or assistance” the
          federal form or an “equivalent” form.              52 U.S.C.
          § 20506(a)(6)(A)(ii).
             a. Requirement of DPOC to Vote by Mail
              The Arizona statutory requirement of DPOC to vote by
          mail means Arizona’s statute conflicts with its need to “use”
          the federal form to register federal-form applicants to vote in
          federal elections by mail, because Arizona would not
          “accept” the federal form as sufficient without DPOC.
          Arizona’s statute would require federal-only voters seeking
          to cast their ballots by mail to provide more information than
          what the federal form requires. See English, 496 U.S. at 79;
          Inter Tribal Council, 570 U.S. at 10. Arizona’s statute
          thereby conflicts with Section 6’s mandate that states
          “accept and use” the federal form. See Inter Tribal Council,
          570 U.S. at 15 (“[A] state-imposed requirement of evidence
          of citizenship not required by the Federal Form is
          ‘inconsistent with’ the NVRA’s mandate that States ‘accept
          and use’ the Federal Form.” (citation omitted)). We
          conclude that the requirement of DPOC to vote by mail
          conflicts with Section 6 of the NVRA and so that provision
          of H.B. 2492 is preempted and cannot stand.
              The requirement of DPOC to vote by mail is also an
          obstacle to the NVRA’s purpose and preempted by obstacle
          preemption as well. The NVRA’s findings state:

                 the right of citizens of the United States to
                 vote is a fundamental right; it is the duty of
                 the Federal, State, and local governments to
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                 promote the exercise of that right; and
                 discriminatory and unfair registration laws
                 and procedures can have a direct and
                 damaging effect on voter participation in
                 elections    for   Federal    office    and
                 disproportionately harm voter participation
                 by various groups, including racial
                 minorities.

          52 U.S.C. § 20501(a). The NVRA aims to “enhance[] the
          participation of eligible citizens as voters in elections for
          Federal office.” 52 U.S.C. § 20501(b)(2).
               “What is a sufficient obstacle is a matter of judgment, to
          be informed by examining the federal statute as a whole and
          identifying its purpose and intended effects.” Crosby v.
          Nat’l Foreign Trade Council, 530 U.S. 363, 373 (2000). “If
          the purpose of the act cannot otherwise be accomplished—
          if its operation within its chosen field else must be frustrated
          and its provisions be refused their natural effect—the state
          law must yield to the regulation of Congress within the
          sphere of its delegated power.” Id.
              Because the NVRA seeks to “enhance[] the participation
          of eligible citizens as voters in [federal] elections,” 52
          U.S.C. § 20501(b)(2), the requirement of DPOC to vote by
          mail is a “sufficient obstacle” to the “accomplishment and
          execution of the [NVRA’s] full purposes” and “must yield
          to the regulation of Congress” within federal elections. See
          Crosby, 530 U.S. at 373; see also English, 496 U.S. at 79.
          By restricting federal-only voters without DPOC to only in-
          person voting, the DPOC requirement limits federal-only
          voters’ “fundamental right” to vote, impedes the “duty of the
          Federal, State, and local governments to promote the
          exercise of that right,” and frustrates the purpose of the
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          NVRA to “enhance[] the participation of . . . voters in
          [federal] elections.”      See 52 U.S.C. §§ 20501(a),
          20501(b)(2). Our conclusion is reinforced by the fact that
          about 89% of Arizona voters cast ballots by mail in 2020.
          Congress explicitly noted in its findings for the NVRA that
          “discriminatory and unfair registration laws and procedures
          can have a direct and damaging effect on voter participation
          in [federal] elections.” 52 U.S.C. § 20501(a)(3). That
          finding demonstrates beyond doubt Congress’s intent to
          increase voter turnout through diminishing barriers to
          registration laws and procedures.
              The Republican Appellants contend that the NVRA
          “governs voter registration—not rules for casting a ballot by
          mail.” If the NVRA is read, as the Republican Appellants
          contend, to regulate only “registration” in isolation from the
          rest of the voting process such as casting a ballot by mail,
          then states could “accept” the federal form solely to place
          individuals’ names on the voting rolls but then preclude
          those who do not provide DPOC from casting vote-by-mail
          ballots in federal elections. Under such a reading, the federal
          form would “cease[] to perform any meaningful function,
          and would be a feeble means of” accomplishing the purpose
          of “enhanc[ing] the participation of eligible citizens as voters
          in [federal] elections.” See Inter Tribal Council, 570 U.S. at
          13; 52 U.S.C. § 20501(b)(2). Such a narrow view of the
          NVRA’s purpose is contrary to the text of the NVRA which
          declares the right “to vote” is a fundamental right and
          establishes purposes beyond registration. See 52 U.S.C.
          § 20501. The Republican Appellants’ view also narrows the
          NVRA’s ability to preempt, contrary to the Supreme Court’s
          view of Congress’s power to preempt through Elections
          Clause litigation. Inter Tribal Council, 570 U.S. at 14
          (“Because the power the Elections Clause confers is none
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          other than the power to pre-empt, the reasonable assumption
          is that the statutory text accurately communicates the scope
          of Congress’s preemptive intent.”)
             We hold that H.B. 2492’s requirement of DPOC to vote
          by mail is preempted by Section 6 of the NVRA and by
          obstacle preemption.
               b. Requirement of DPOC to vote in presidential
                  elections
               Requiring DPOC to vote in presidential elections is
          expressly preempted by the NVRA, which requires states to
          “accept and use” the federal form “for the registration of
          voters in elections for Federal office.” See Bonta, 62 F.4th
          at 482; 52 U.S.C. § 20505(a)(1) (Section 6 of the NVRA);
          Inter Tribal Council, 570 U.S. at 10. Republican Appellants
          contend, however, that the NVRA does not apply to
          presidential elections. They contend that Congress enacted
          the NVRA under the authority granted to it in U.S. Const.
          art. I, § 4 (the “Elections Clause”), empowering Congress to
          preempt only “Manner” regulations for congressional
          elections. By contrast, U.S. Const. art. II § 1 permits
          Congress to preempt only “the Time of chusing the Electors,
          and the Day on which they shall give their Votes” for
          presidential elections.
              When analyzing express preemption, we focus on the
          “plain meaning” of the statute. See Cal. Rest. Ass’n v. City
          of Berkeley, 89 F.4th 1094, 1101 (9th Cir. 2024). Here, the
          plain language of the NVRA shows an intent to regulate
          “voter registration for elections for Federal office” defined
          to include the “office of President or Vice President.” 52
          U.S.C. §§ 20507(a), 30101(3). The NVRA provides that the
          scope of preemption includes all federal elections, including
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          presidential elections. See Inter Tribal Council, 570 U.S. at
          14; 52 U.S.C. §§ 20507(a), 30101(3).
              Aside from the NVRA’s plain language, our precedent
          also requires us to hold that Congress has the power to
          control registration for presidential elections. In 1934, the
          Supreme Court rejected a narrow framing of Congress’s
          power over presidential elections, like the view argued here
          by Republican Appellants. The Supreme Court reasoned:

                 The only point of the constitutional objection
                 necessary to be considered is that the power
                 of appointment of presidential electors and
                 the manner of their appointment are
                 expressly committed by section 1, art. 2, of
                 the Constitution to the states, and that the
                 congressional authority is thereby limited to
                 determining ‘the Time of chusing the
                 Electors, and the Day on which they shall
                 give their Votes; which Day shall be the same
                 throughout the United States.’ So narrow a
                 view of the powers of Congress in respect of
                 the matter is without warrant.

          Burroughs v. United States, 290 U.S. 534, 544 (1934). The
          Court squarely held that Congress had the power to pass
          legislation to protect the integrity of the federal election
          process in the presidential election. Id. at 545; see also
          Buckley v. Valeo, 424 U.S. 1, 13 n.16 (1976) (citing to
          Burroughs as more generally “recogniz[ing] broad
          congressional power to legislate in connection with the
          elections of the President and Vice President”).
               We have also recognized Congress’s power to regulate
          all federal elections under the NVRA. See Voting Rts. Coal.
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          v. Wilson, 60 F.3d 1411, 1413–14 (9th Cir. 1995) (rejecting
          a challenge to the constitutionality of the NVRA in part
          because “the Supreme Court has read the grant of power to
          Congress in Article I, section 4 [of the U.S. Constitution] as
          quite broad” and has endorsed that “[t]he broad power given
          to Congress over congressional elections has been extended
          to presidential elections” (citing Burroughs, 290 U.S. at
          545)).
              We hold that H.B. 2492’s requirement of DPOC to vote
          in presidential elections is preempted by Section 6 of the
          NVRA.
               c. Requirement of DPOR for state-form applicants
                  registering for federal elections
                 As former Chief Justice Rehnquist persuasively
          explained, statutory interpretation requires courts to
          “presume that the legislature says in a statute what it means
          . . . [t]hus, our inquiry begins with the statutory text, and ends
          there as well if the text is unambiguous.” BedRoc Ltd., LLC
          v. United States, 541 U.S. 176, 183 (2004). “We give the
          words of a statute their ‘ordinary, contemporary, common
          meaning,’” absent an indication to the contrary from
          Congress. Williams v. Taylor, 529 U.S. 420, 431 (2000)
          (citation omitted). The NVRA allows states to seek only the
          information “necessary” to assess an applicant’s eligibility,
          so whether the NVRA lets Arizona require DPOR from
          state-form applicants registering for only federal elections
          depends on whether DPOR is necessary for registration.
              We hold that DPOR is not “necessary” as required by
          Section 9 of the NVRA. Because Arizona limits voting to
          residents of the State, an applicant’s location of residence is
          “necessary to enable the appropriate State election official to
          assess the eligibility of the applicant” to vote in state
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          elections. See 52 U.S.C. § 20508(b)(1); Ariz. Const. art. VII,
          § 2(A); Ariz. Rev. Stat. § 16-101(A)(3). But DPOR is not
          “necessary” because voters who obtain an out-of-state
          license or identification and receive a notice from the county
          recorder requesting confirmation of residency must only
          attest “under penalty of perjury” that the voter is still a
          resident of Arizona. See Ariz. Rev. Stat. § 16-165(F). The
          ordinary meaning of “necessary” is “essential.” See
          Williams, 529 U.S. at 431; Necessary, Black’s Law
          Dictionary (12th ed. 2024); Necessary, Oxford English
          Dictionary (2d ed. 1989). The requirement of DPOR is not
          “necessary” for new applicants because attestation
          sufficiently confirms the eligibility of registered voters. See
          52 U.S.C. § 20508(b)(1); Ariz. Rev. Stat. § 16-165(F). Our
          inquiry ends here because the text of the NVRA is
          unambiguous. See BedRoc, 541 U.S. at 183. We hold that
          the DPOR requirement violates Section 6 of the NVRA for
          state-form applicants registering for federal elections.
              The district court held that “if the Secretary of State
          supplies the State Form to public assistance agencies, the
          State Form must be ‘equivalent’ or ‘virtually identical’ to the
          Federal Form.” The state form is not equivalent to the
          federal form because the state form has unnecessary
          additional requirements of DPOC, DPOR, and birthplace.
          Compare Ariz. Rev. Stat. §§ 16-121.01(A), 16-121.01(C),
          16-123, 16-166(F) with 52 U.S.C. § 20508(b)(1). Because
          public assistance agencies in Arizona typically use the state
          form to register individuals to vote, the state form must be
          “equivalent” to the federal form.           See 52 U.S.C.
          § 20506(a)(6)(A)(ii).
             The DPOR requirement renders the state form not
          “equivalent” to the federal form for applicants without
          DPOR. Applicants who do not include DPOR on the state
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          form will not be registered as federal-only voters, but if the
          same applicants use the federal form, they will be registered.
          That difference prevents the forms from being “virtually
          identical” for applicants without DPOR, and the requirement
          of DPOR for state-form applicants violates Section 7 of the
          NVRA.
              Republican Appellants contend that because Section 9 of
          the NVRA permits state forms to differ from the federal
          form, compliance with Section 9 makes a state form
          equivalent to the federal form for the purposes of Section 7.
          But “[w]e give the words of a statute their ‘ordinary,
          contemporary, common meaning,’” absent an indication to
          the contrary from Congress, and here the ordinary meaning
          of “equivalent” means “virtually identical.” See Williams,
          529 U.S. at 431 (citation omitted); Equivalent, Black’s Law
          Dictionary (12th ed. 2024); see also Equivalent, Oxford
          English Dictionary (2d ed. 1989) (defining equivalent as
          “virtually the same thing; identical in effect”).
              Also, “[w]hen interpreting the language of a statute, we
          do not look at individual subsections in isolation” but “read
          the words in their context and with a view to their place in
          the overall statutory scheme.” Tovar v. Sessions, 882 F.3d
          895, 901 (9th Cir. 2018) (quoting King v. Burwell, 576 U.S.
          473, 486 (2015)). While Sections 6 and 9 read together let
          states develop “a mail voter registration form” that meets the
          criteria stated in 52 U.S.C. § 20508(b) and let states include
          information necessary to determine voter eligibility that is
          not otherwise on the federal form, Section 7 does not do so.
          Section 7 permits use of only the federal form and “the
          office’s own form if it is equivalent” to the federal form.
          Compare 52 U.S.C. §§ 20505(a)(2) (Section 6 of the
          NVRA), 20508(b) (Section 9 of the NVRA) with 52 U.S.C.
          § 20506(a)(6)(A) (Section 7 of the NVRA).
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             We hold that H.B. 2492’s state-form requirement of
          DPOR to register for federal elections violates Sections 6
          and 7 of the NVRA.
             2. Section 8 of the NVRA
                Section 8(b) of the NVRA provides that “[a]ny State
          program or activity to protect the integrity of the electoral
          process by ensuring the maintenance of an accurate and
          current voter registration roll for elections for Federal office
          . . . shall be uniform, nondiscriminatory, and in compliance
          with the Voting Rights Act of 1965.”                52 U.S.C.
          § 20507(b)(1). In United States v. Florida, the district court
          held that the Secretary of State’s list maintenance program
          “probably ran afoul” of Section 8(b) of the NVRA because
          its “methodology made it likely that the properly registered
          citizens who would be required to respond and provide
          documentation would be primarily newly naturalized
          citizens.” 870 F. Supp. 2d 1346, 1350 (N.D. Fla. 2012).
          Thus, “[t]he program was likely to have a discriminatory
          impact on these new citizens.” Id.
              The 90-day Provision (Section 8(c) of the NVRA)
          mandates that states “shall complete, not later than 90 days
          prior to the date of a primary or general election for Federal
          office, any program the purpose of which is to systematically
          remove the names of ineligible voters from the official lists
          of eligible voters.” 52 U.S.C. § 20507(c)(2)(A). It also lists
          exceptions to the 90-day Provision. See 52 U.S.C.
          § 20507(c)(2)(B). These exceptions are removals “at the
          request of the registrant,” or “by reason of criminal
          conviction or mental incapacity,” “the death of the
          registrant,” “a change in the residence of the registrant,” or
          “correction of registration records pursuant to this chapter.”
          52 U.S.C. §§ 20507(a)(3)–(4), 20507(c)(2)(B)(ii).
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               a. Citizenship checks of voters who county recorders
                  have “reason to believe” are not citizens
               Under H.B. 2243, county recorders must conduct
          citizenship checks of registered federal-only voters or
          registered voters who county recorders have “reason to
          believe” are not citizens using the SAVE program
          maintained by the U.S. Citizenship and Immigration
          Services. Ariz. Rev. Stat. § 16-165(I). The citizenship
          checks are non-uniform and are discriminatory in effect
          because it is “likely that the properly registered citizens who
          would be required to respond and provide documentation
          would be” naturalized citizens. See Florida, 870 F. Supp. 2d
          at 1350. Although the Voting Laws are written as if they
          confirm the citizenship status of all voters, running a
          citizenship check through SAVE requires an immigration
          number. See Ariz. Rev. Stat. § 16-165(I). As a result,
          county recorders can only conduct SAVE checks on
          naturalized citizens and non-citizens. Absent injunction,
          naturalized citizens would be at risk of county recorders’
          subjective decisions to investigate their citizenship status
          because of the “reason to believe” provision, which will not
          apply to U.S.-born citizens. The citizenship checks are
          “likely to have a discriminatory impact on [naturalized]
          citizens,” and on its face, the “reason to believe” provision
          would have a non-uniform and discriminatory impact. See
          id; Florida, 870 F. Supp. 2d at 1350.
             We hold that H.B. 2243’s citizenship checks violate
          Section 8(b) of the NVRA.
               b. Periodic cancellation of registrations
             The Republican Appellants contend that because “[t]he
          NVRA does not discuss . . . a State’s authority to remove
          noncitizens from the voter rolls,” the NVRA does not
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          regulate the periodic cancellation of registrations and does
          not forbid removal of noncitizens from voter rolls. But that
          contention mischaracterizes the district court’s holding,
          which never said that the NVRA forbids removal of
          noncitizens from voter rolls. Rather, the district court held
          that the periodic cancellation of registrations violates the 90-
          day Provision of the NVRA to the extent it “allow[s]
          systematic cancellation of registrations within 90 days of a[]
          [federal] election.”
              The Republican Appellants also contend that the
          periodic cancellation of registrations is not subject to the 90-
          day Provision because the 90-day Provision is limited to
          “general program[s]” to remove ineligible voters who are no
          longer eligible because of conviction, death, or change in
          residence. See 52 U.S.C. §§ 20507(a)(3)–(4).
              “We give the words of a statute their ‘ordinary,
          contemporary, common meaning,’” absent an indication to
          the contrary from Congress. See Williams, 529 U.S. at 431
          (citation omitted). “Where Congress explicitly enumerates
          certain exceptions to a general prohibition, additional
          exceptions are not to be implied, in the absence of evidence
          of a contrary legislative intent.” Andrus v. Glover Constr.
          Co., 446 U.S. 608, 616–17 (1980).
                The 90-day Provision requires that states “shall
          complete, not later than 90 days prior to [a federal election]
          . . . any program” that “systematically remove[s] the names
          of ineligible voters from the official lists of eligible voters.”
          52 U.S.C. § 20507(c)(2)(A) (emphasis added). Based on the
          ordinary meaning of “any,” “program” should be construed
          to have an expansive meaning. Any, Oxford English
          Dictionary (rev. ed. 2024) (defining any “[w]ith singular
          noun in affirmative contexts” as being “used to refer to a
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          member of a particular group or class without distinction or
          limitation”),                available                    at
          https://doi.org/10.1093/OED/4481770737. The Supreme
          Court has commented that “the word ‘any’ has an expansive
          meaning,” namely, “one or some indiscriminately of
          whatever kind.” United States v. Gonzales, 520 U.S. 1, 5
          (1997).
              The prior provision, 52 U.S.C. § 20507(c)(1), limits the
          applicable program to 52 U.S.C. § 20507(a)(4) by saying
          that “[a] State may meet the requirement of subsection (a)(4)
          by establishing a program.” By contrast, the 90-day
          Provision does not limit the applicable programs to a specific
          provision and instead enumerates exceptions. See 52 U.S.C.
          §§ 20507(c)(2)(A)–(B). That the 90-day Provision does not
          contain a similar limiting provision to describe the programs
          to which it applies suggests that Congress intended “any
          program” in the 90-day Provision to have an expansive
          meaning. Similarly, Congress’s enumerated exceptions to
          the 90-day Provision suggest that Congress intended for
          “any program” to have a broad meaning absent an exception.
          See 52 U.S.C. § 20507(c)(2)(B). Holding that the 90-day
          Provision does not apply to the periodic cancellation of
          registrations would create a new exception, and “[w]here
          Congress explicitly enumerates certain exceptions . . .
          additional exceptions are not to be implied, in the absence of
          evidence of a contrary legislative intent.” See Andrus, 446
          U.S. at 616–17; Williams, 529 U.S. at 431. We conclude that
          the 90-day Provision applies to the periodic cancellation of
          registrations.
             The plain language of the 90-day Provision lets states
          continue any non-systematic cancellation of registrations
          within the 90-day window. 52 U.S.C. § 20507(c)(2)(A). A
          non-systematic or “individualized” removal program relies
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          on “individualized information or investigation” to
          determine removal of ineligible voters from voting rolls
          rather than cancelling batches of registrations based on a set
          procedure such as “us[ing] a mass computerized data-
          matching process to compare the voter rolls with other state
          and federal databases, followed by the mailing of notices.”
          See Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1344 (11th
          Cir. 2014).
              The periodic cancellation of registrations is required by
          H.B. 2243. But that statute’s language does not limit
          cancellation to at least 90 days before a federal election. See
          Ariz. Rev. Stat. §§ 16-165(A)(10), 16-165(G)–(K). And
          here, none of the NVRA’s enumerated exceptions to the 90-
          day Provision applies. Compare Ariz. Rev. Stat. §§ 16-
          165(A)(10), 16-165(G)–(K) with 52 U.S.C. §§ 20507(a)(3)–
          (4), 20507(c)(2)(B). Whether the periodic cancellation of
          registrations required by Arizona’s law violates the 90-day
          Provision depends on whether it is a “systematic” or an
          “individualized” removal program.
              Arizona Revised Statute § 16-165(A)(10) provides that
          “[t]he county recorder shall cancel a registration: . . . [w]hen
          the county recorder obtains information pursuant to this
          section and confirms that the person registered is not a
          United States citizen” and before cancelling the registration,
          the “county recorder shall send the person notice by
          forwardable mail that the person’s registration will be
          cancelled in thirty-five days unless the person provides
          satisfactory evidence within thirty-five days.” Arizona
          Revised Statutes §§ 16-165(G)–(K) provides that the county
          recorder shall obtain such information by periodically
          checking available databases including the ADOT, Social
          Security Administration, SAVE, NAPHSIS, and city, town,
          county, state, and federal databases to research the
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          citizenship status of registered voters 4 and, if they are not
          confirmed to be citizens, cancel their registrations.
              This periodic cancellation of registrations does not rely
          on “individualized information or investigation” but rather
          comparisons to databases. It is a systematic removal
          program and violates the 90-day Provision because it permits
          systematic cancellation of registrations within 90 days
          preceding a federal election. Like the program that violated
          the 90-day Provision in Arcia, H.B. 2243 uses “a mass
          computerized data-matching process to compare the voter
          rolls with other state and federal databases, followed by the
          mailing of notices.” 772 F.3d at 1344. Cancellation of
          batches of registered voters based on a set procedure is
          systematic as opposed to individualized, and like the
          program in Arcia, one database that H.B. 2243 uses is
          SAVE: the “Systematic Alien Verification for Entitlements.”
          See id. (emphasis in original).
              The Republican Appellants contend that such periodic
          cancellation is individualized because Arizona Revised
          Statute § 16-165(A)(10) provides a person with mail notice
          and opportunity to respond after information is obtained
          “pursuant to this section . . . that the person registered is not
          a United States citizen.” That argument does not persuade
          us because the statute details how such information is
          obtained: through the systematic comparison of all—or

          4
            Some provisions are limited to specific types of registered voters.
          While most provisions apply to all registered voters, Arizona Revised
          Statute § 16-165(I) specifies citizenship checks against SAVE will be for
          persons “who the county recorder has reason to believe are not United
          States citizens and persons who are registered to vote without
          satisfactory [DPOC].” Arizona Revised Statute § 16-165(J) similarly
          limits checks against NAPHSIS to persons registered to vote without
          DPOC.
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          groups of—registered voters to various databases. See Ariz.
          Rev. Stat. §§ 16-165(G)–(K). The mailing of notices is to
          individuals, but this is only after the systematic comparison
          prompts the mailing, as opposed to it being prompted by an
          individualized investigation.
              Our holding is consistent with the purposes of the 90-day
          Provision and of the NVRA generally. The NVRA’s
          purposes include “protect[ing] the integrity of the electoral
          process,” “ensur[ing] that accurate and current voter
          registration rolls are maintained,” and “establish[ing]
          procedures that will increase the number of eligible citizens
          who register to vote in elections for Federal office.” 52
          U.S.C. § 20501(b). As the Eleventh Circuit has recognized,
          the 90-day Provision is designed to balance with care the
          NVRA’s purposes by acting “cautious[ly]” with respect to
          systematic cancellation programs in the lead up to an
          election because such programs can cause inaccurate
          removal and “[e]ligible voters removed days or weeks before
          Election Day will likely not be able to correct the State’s
          errors in time to vote.” Arcia, 772 F.3d at 1346. In sharp
          contrast, individualized removals that are not prohibited by
          the 90-day Provision are based on more “rigorous
          individualized inquir[ies], leading to a smaller chance for
          mistakes.” Id.
              In light of the purposes of the 90-day Provision and the
          NVRA, the periodic cancellation of registrations required by
          Arizona’s law is precisely the type of systematic cancellation
          program that the 90-day Provision was meant to preclude.
          The periodic cancellation of registrations is based on the
          systematic comparison of registered voters to various
          databases, see Ariz. Rev. Stat. §§ 16-165(G)–(K), which will
          likely cause inaccurate removals. Mailing notices to
          individuals does not change that because if the affected voter
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          does not respond to the notice with “satisfactory evidence
          within thirty-five days,” their voter registration will still be
          cancelled. Ariz. Rev. Stat. § 16-165(A)(10). Because of that
          short period for response to be given, there is an unduly high
          risk that voter registrations will be inaccurately cancelled
          because of the systematic comparisons and eligible voters
          “will likely not be able to correct the State’s errors in time to
          vote,” depriving them of their fundamental right to vote. See
          Arcia, 772 F.3d at 1346. Such a voter suppression measure
          should not be tolerated by the law, which protects the
          constitutional right of citizens to vote.
              We hold that H.B. 2243’s periodic cancellation of
          registrations violates the 90-day Provision of the NVRA to
          the extent that H.B. 2243 authorizes systematic cancellation
          of registrations within 90 days before a federal election.
               C. The LULAC Consent Decree
               A consent decree approved by a court is an enforceable,
          final judgment with the force of res judicata. SEC v.
          Randolph, 736 F.2d 525, 528 (9th Cir. 1984); see also Rufo
          v. Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 391 (1992)
          (“[A] consent decree is a final judgment that may be
          reopened only to the extent that equity requires.”). For this
          reason, “the equitable decree based on the [parties’]
          agreement ‘is subject to the rules generally applicable to
          other judgments and decrees.’” Gates v. Shinn, 98 F.3d 463,
          468 (9th Cir. 1996) (quoting Rufo, 502 U.S. at 378). Because
          it is a final judgment, a consent decree “may not lawfully be
          revised, overturned or refused faith and credit by another
          Department of Government.” Taylor v. United States, 181
          F.3d 1017, 1024 (9th Cir. 1999) (en banc) (quoting Chicago
          & S. Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S. 103,
          113 (1948)). Consent decrees are binding final judgments
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          that remain in force permanently even if the entering court
          explicitly retains jurisdiction only for a limited period of
          time. See id. at 1024–26; see, e.g., Thompson v. U.S. Dep’t
          of Hous. & Urb. Dev., 404 F.3d 821, 828, 833 (4th Cir. 2005)
          (court retained authority to enforce terms of decree beyond
          seven-year period during which it retained jurisdiction);
          Roberts v. St. Regis Paper Co., 653 F.2d 166, 171–72 (5th
          Cir. 1981) (clause retaining jurisdiction for five years did not
          “refer[] to the life of the decree itself,” and decree’s
          injunction was permanent).
              Although the district court entering the LULAC Consent
          Decree retained jurisdiction only until December 21, 2020,
          the consent decree has never been set aside. See Taylor, 181
          F.3d at 1024. That the court retained jurisdiction for a
          limited period of time supports that the LULAC Consent
          Decree is a final judgment under Taylor and does not suggest
          that the preclusive effect of the final judgment expired after
          the docket was closed. See id. at 1023. The LULAC
          Consent Decree remains an enforceable, binding final
          judgment.
              Contrary to the LULAC Consent Decree requirement
          that Arizona county recorders accept state-form applications
          without DPOC and register those applicants as federal-only
          voters, H.B. 2492 would require county recorders to do the
          opposite and reject state-form applications without DPOC.
          Compare LULAC Consent Decree at 8–10 with Ariz. Rev.
          Stat. § 16-121.01(C). Because H.B. 2492 requires county
          recorders to violate the LULAC Consent Decree’s
          requirements, the LULAC Consent Decree bars enforcement
          of this provision of H.B. 2492.
              Republican Appellants contend that the Secretary of
          State cannot “via a private contract divest the Legislature of
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          any portion of its sovereign authority.” See State v. Prentiss,
          786 P.2d 932, 936 (Ariz. 1989) (“The legislature has the
          exclusive power to declare what the law shall be [in
          Arizona].”). But the LULAC Consent Decree does not
          divest the Legislature of its sovereign authority. Instead, it
          cabins the authority of parties to the decree, specifically the
          Secretary of State of Arizona and the Maricopa County
          Recorder, and limits the ability of executive officers in
          Arizona to enforce legislation contrary to the final judgment
          of the federal decree. See LULAC Consent Decree at 1.
              Sitting en banc in Taylor v. United States, we recognized
          that “[t]he Constitution’s separation of legislative and
          judicial powers denies [Congress] the authority” to “enact[]
          retroactive legislation requiring an Article III court to set
          aside a final judgment.” 181 F.3d at 1026; see also id. at
          1024 (“Congress may change the law and, in light of changes
          in the law or facts, a court may decide in its discretion to
          reopen and set aside a consent decree . . . but Congress may
          not direct a court to do so with respect to a final judgment
          (whether or not based on consent) without running afoul of
          the separation of powers doctrine.”) (emphasis in original).
          The Republican Appellants present no authority suggesting
          that Arizona’s state legislature may permissibly nullify a
          final judgment entered by an Article III court. The principle
          stated in our en banc panel decision in Taylor applies with
          equal force here. As Chief Justice Marshall explained: “If
          the legislatures of the several states may, at will, annul the
          judgments of the courts of the United States, and destroy the
          rights acquired under those judgments, the constitution itself
          becomes a solemn mockery.” United States v. Peters, 9 U.S.
          (5 Cranch) 115, 136 (1809); see Cooper v. Aaron, 358 U.S.
          1, 18 (1958) (noting that “Chief Justice Marshall spoke for a
          unanimous Court” in Peters). We decline Arizona’s
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          invitation for us to reject the law established by Chief Justice
          John Marshall and a unanimous court in 1809. That law has
          never been in doubt.
              We hold that the LULAC Consent Decree bars Arizona
          election officials from enforcing H.B. 2492’s mandate to
          reject state-form applications without DPOC.
             1. Alternatively, the NVRA does not let Arizona
                require DPOC from applicants registering for only
                federal elections.
              As discussed in Section III.B.1.c, although Section 6 of
          the NVRA lets states use their own state forms for federal
          elections, those forms must comply with Section 9, under
          which states may seek only information “necessary” to
          assess an applicant’s eligibility to vote. 52 U.S.C.
          §§ 20505(a)(2), 20508(b)(1); see supra pp. 40–41. The
          NVRA does not let Arizona require DPOC from state-form
          applicants registering for only federal elections because
          DPOC is not legitimately necessary for registration.
              To elaborate, DPOC is not “necessary” as required by
          Section 9 of the NVRA because, although citizenship is
          “necessary to enable the appropriate State election official to
          assess the eligibility of the applicant” to vote in federal
          elections, see 52 U.S.C. § 20508(b)(1), the state form’s
          checkbox requirement supplies proof of citizenship by an
          attestation. Ariz. Rev. Stat. § 16-121.01(A). The ordinary
          meaning of “necessary” is “essential,” and the challenged
          requirement of DPOC for state-form applicants registering
          to vote in only federal elections is not “essential” because
          the checkbox requirement already gives proof of citizenship.
          See Williams, 529 U.S. at 431; Necessary, Black’s Law
          Dictionary (12th ed. 2024); Necessary, Oxford English
          Dictionary (2d ed. 1989); 52 U.S.C. § 20508(b)(1). Our
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          inquiry ends here because the text of the NVRA is
          unambiguous. See BedRoc, 541 U.S. at 183.
               Republican Appellants urge that we have held that
          Section 9 “plainly allow[s] states, at least to some extent, to
          require their citizens to present evidence of citizenship when
          registering to vote.” See Gonzalez v. Arizona, 485 F.3d
          1041, 1050–51 (9th Cir. 2007) [hereinafter Gonzalez I]).
          Although Gonzalez I holds that “[t]he language of the statute
          does not prohibit documentation requirements,” the
          Gonzalez I case was decided at the preliminary injunction
          stage, addressing only whether plaintiffs showed a
          likelihood of succeeding on the merits of this claim. See 485
          F.3d at 1050–51. We have not decided whether and to what
          extent states may “require their citizens to present evidence
          of citizenship when registering to vote.” See id. at 1051.
          And because we on en banc review did not decide that
          question in Gonzalez II, the quoted language from Gonzalez
          I is not persuasive here. The issue presented in this case was
          not decided in our en banc decision in Gonzalez II. See 677
          F.3d at 400 (“Even assuming, without deciding, that Arizona
          is correct in its interpretation of [Section 9 of the
          NVRA] . . .”).
              Similarly, Section 7 of the NVRA requires that state
          forms supplied to public assistance agencies be “‘equivalent’
          or ‘virtually identical’” to the federal form. 52 U.S.C.
          § 20506(a)(6)(A)(ii); see supra pp. 41–42. Because public
          assistance agencies in Arizona typically use the state form to
          register individuals to vote, the state form must be
          “equivalent” to the federal form.           See 52 U.S.C.
          § 20506(a)(6)(A)(ii). Here, the state form is not equivalent
          to the federal form because the state form has unnecessary
          additional requirements of DPOC, DPOR, and birthplace.
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          Compare Ariz. Rev. Stat. §§ 16-121.01(A), 16-121.01(C),
          16-123, 16-166(F) with 52 U.S.C. § 20508(b)(1).
              The DPOC requirement renders the state form not
          “equivalent” to the federal form for applicants without
          DPOC. If applicants who do not include DPOC use the state
          form, they will not be registered as federal-only voters but if
          they use the federal form, they will be registered. That
          difference prevents the forms from being “virtually
          identical” for applicants without DPOC, and the requirement
          of DPOC for state-form applicants violates Section 7 of the
          NVRA.
             We hold that the NVRA does not let states require DPOC
          from applicants registering for only federal elections.
             D. The Civil Rights Act
             1. The Materiality Provision
              The Materiality Provision prohibits states from denying
          an individual the right to vote “because of an error or
          omission on any record or paper relating to any application,
          registration, or other act requisite to voting, if such error or
          omission is not material in determining whether such
          individual is qualified under State law to vote in such
          election.” 52 U.S.C. § 10101(a)(2)(B). Normal principles
          of statutory interpretation, as explained by the Supreme
          Court, require courts to “presume that the legislature says in
          a statute what it means . . . [t]hus, our inquiry begins with
          the statutory text, and ends there as well if the text is
          unambiguous.” BedRoc, 541 U.S. at 183. “We give the
          words of a statute their ‘ordinary, contemporary, common
          meaning,’” absent an indication to the contrary from
          Congress. See Williams, 529 U.S. at 431 (citation omitted).
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              Arizona cannot deny an individual the right to vote
          because of an “error or omission [that] is not material in
          determining” an applicant’s eligibility to vote. See 52
          U.S.C. § 10101(a)(2)(B). The Materiality Provision requires
          invalidation of any voting prerequisite that does not convey
          “material” information that has a probability of affecting an
          election official’s eligibility determination. See Williams,
          529 U.S. at 431; see also Material, Black’s Law Dictionary
          (12th ed. 2024); Material, Oxford English Dictionary (2d ed.
          1989). 5 The erroneous or omitted information need not be
          absolutely essential to determine if a person is eligible to
          vote, but it must have probable impact on eligibility to vote.
               a. The checkbox requirement
              In light of our holding on the meaning of “material,” the
          state form’s checkbox requirement violates the Materiality
          Provision because confirming citizenship via the checkbox
          “is not material in determining” an applicant’s eligibility to
          vote when they have already provided DPOC. See 52 U.S.C.
          § 10101(a)(2)(B). DPOC is sufficient to show citizenship—
          a requirement to vote in Arizona—so the state form’s
          checkbox requirement has no probable impact in
          determining applicant’s eligibility to vote when DPOC has
          been provided. See Ariz. Const. art. VII, § 2; Ariz. Rev. Stat.
          §§ 16-121.01(A), 16-121.01(C).



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            Black’s Law Dictionary defines material as “having some logical
          connection with the consequential facts” or “[o]f such a nature that
          knowledge of the item would affect a person’s decision-making.”
          Material, Black’s Law Dictionary (12th ed. 2024). The Oxford English
          Dictionary defines material as “of such significance as to be likely to
          influence the determination of a cause.” Material, Oxford English
          Dictionary (2d ed. 1989).
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              Our holding is consistent with the purpose of the
          Materiality Provision. The Materiality Provision was
          “intended to address the practice of requiring unnecessary
          information for voter registration with the intent that such
          requirements would increase the number of errors or
          omissions on the application forms, thus providing an excuse
          to disqualify potential voters.” Schwier v. Cox, 340 F.3d
          1284, 1294 (11th Cir. 2003). In League of Women Voters of
          Arkansas v. Thurston, the district court held that a voting law
          violated the Materiality Provision because it required
          absentee voters to provide information about their eligibility
          to vote “several times,” and voters had their ballots “rejected
          on the basis of a mismatch or omission in one of the multiple
          documents they ha[d] provided” even when they “correctly
          provided th[e] information at least once.” No. 5:20-cv-
          05174, 2021 WL 5312640, at *4 (W.D. Ark. Nov. 15, 2021).
              The checkbox requirement similarly creates the danger
          that Arizona may reject a state-form application based on a
          “mismatch” between documents, such as an incomplete
          checkbox on a state form, notwithstanding that a voter
          registration applicant had already given DPOC. See
          Thurston, 2021 WL 5312640, at *4; Ariz. Rev. Stat. §§ 16-
          121.01(A), 16-121.01(C). By requiring voters to provide
          information about their citizenship status “several times,”
          Arizona “increase[s] the number of errors or omissions” on
          the application forms “and provide an excuse to
          disenfranchise otherwise qualified voters.” See Thurston,
          2021 WL 5312640, at *4; Schwier, 340 F.3d at 1294. The
          checkbox requirement contradicts the purpose of and
          violates the Materiality Provision.
              We hold that H.B. 2492’s checkbox requirement relating
          to Arizona’s state form violates the Materiality Provision of
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          the Civil Rights Act when enforced on a person who has
          provided DPOC and is otherwise eligible to vote in Arizona.
               b. The birthplace requirement
             Given our holding on the meaning of “material,” the state
          form’s birthplace requirement also violates the Materiality
          Provision because disclosing one’s birthplace has no
          probable impact on and “is not material in determining” an
          applicant’s eligibility to vote.         See 52 U.S.C.
          § 10101(a)(2)(B).
               To vote in Arizona, a person must be a United States
          citizen, a resident of Arizona, at least eighteen years old, and
          not adjudicated, incapacitated, or convicted of a felony.
          Ariz. Const. art. VII, § 2. At no place in Arizona law is
          birthplace location a prerequisite to vote in Arizona. An
          individual’s birthplace does not directly verify an
          individual’s citizenship or place of residence. But the State
          nonetheless asserts without basis that the birthplace
          requirement can be used to verify an individual’s identity.
          The district court found that county recorders “do not use
          birthplace information to determine an applicant’s eligibility
          to vote, nor do county recorders need birthplace to verify an
          applicant’s identity.”
              Although Arizona has collected birthplace information
          from state-form applicants and included a field in the state
          form for applicants to include their “state or country of birth”
          since 1979, Arizona did not require birthplace information
          for voter registration until 2022 and has determined prior
          voters qualified to vote despite the absence of birthplace
          information. That fact strongly indicates that birthplace has
          no probable impact in determining eligibility to vote.
          Indeed, an expert at trial, Dr. Eitan Hersh, testified that about
          one-third of currently registered voters in Arizona had not
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          provided birthplace information when they registered to
          vote.
              The Voting Laws do not require county recorders to
          verify an individual’s birthplace or to reject state-form
          applications with an incorrect birthplace. See Ariz. Rev.
          Stat. § 121.01(A). Dr. Hersh also testified at trial that about
          200,000 voter registrations in Arizona merely list “the
          United States” as the voter’s birthplace, and county
          recorders manually enter an applicant’s birthplace (when
          provided) “exactly as it appears on the state-form,” resulting
          in non-uniform birthplace information for existing registered
          voters. Moreover, some birthplace designations are unclear
          such as “CA,” which could refer to either California or
          Canada. And many applicants write only their city or county
          (which can refer to multiple locations) despite the state
          form’s request that applicants include “state or country of
          birth.” “If the substance of the [birthplace field] does not
          matter, then it is hard to understand how . . . this requirement
          has any use in determining a voter’s qualifications.”
          Migliori v. Cohen, 36 F.4th 153, 164 (3d Cir. 2022) (holding
          that omitting the date on a ballot was immaterial because
          ballots were only to be set aside if the date was missing—
          not incorrect), vacated on other grounds by Ritter v.
          Migliori, 143 S. Ct. 297 (2022).
              We hold that H.B. 2492’s birthplace requirement
          violates the Materiality Provision of the Civil Rights Act.
             2. Different Standards, Practices, and Procedures
                Provision
              The DSPP Provision of the Civil Rights Act states “[n]o
          person acting under color of law shall in determining
          whether any individual is qualified under State law or laws
          to vote in any election, apply any standard, practice, or
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          procedure different from the standards, practices, or
          procedures applied under such law or laws to other
          individuals within the same county, parish, or similar
          political subdivision who have been found by State officials
          to be qualified to vote.” 52 U.S.C. § 10101(a)(2)(A).
              Case authorities from extra-circuit cases decided by
          district courts illustrate the type of fact patterns that district
          courts have said violate the DSPP Provision.
              For example, in the case of U.S. Student Ass’n
          Foundation v. Land, the district court held that the DSPP
          Provision “requires that if Michigan wishes to impose
          unique procedural requirements on the basis of a registrant’s
          original voter ID being returned as undeliverable, it must
          impose those requirements on everyone whose original ID is
          returned as undeliverable.” 585 F. Supp. 2d 925, 949–50
          (E.D. Mich. 2008) (emphasis in original). As another
          example, in Frazier v. Callicutt, the district court held
          different standards and procedures existed where the
          registrar summarily denied and referred the registration of
          every Black student whose registration listed a previous
          address outside of the county, potentially indicating lack of
          residency, to the board of election commissioners, but the
          registrar approved nearly all non-students whose
          registrations similarly listed a previous address outside of the
          county. 383 F. Supp. 15, 18–19 (N.D. Miss. 1974).
              Also, in Shivelhood v. Davis, the district court held that
          the Board of Civil Authority, in charge of examining voter
          applications, “must use its best efforts to insure that any
          questionnaire [concerning domicile] is equally relevant to all
          applicants and not designed only to apply to student
          applicants” to comply with the DSPP Provision. 336 F.
          Supp. 1111, 1115 (D. Vt. 1971).
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               H.B. 2243’s “reason to believe” provision in effect
          encourages county recorders to apply different standards,
          practices, and procedures to naturalized citizens than those
          standards, practices, and procedures they apply to U.S.-born
          citizens. See Ariz. Rev. Stat. § 16-165(I); 52 U.S.C.
          § 10101(a)(2)(A). Although a county recorder may in some
          cases have a reason to think that a person seeking to register
          to vote is not a citizen, county recorders can only conduct
          SAVE checks on naturalized citizens and non-citizens
          because running a citizenship check through SAVE requires
          an immigration number. See Ariz. Rev. Stat. § 16-165(I).
          Absent injunction, naturalized citizens would be at risk of
          county recorders’ subjective decisions to further investigate
          their citizenship status because of the open-ended “reason to
          believe” provision, and that provision will not apply to U.S.-
          born citizens. See id.
              Because the “reason to believe” provision “determine[s]
          whether any individual is qualified under State law . . . to
          vote in any election” and “appl[ies] a[] standard, practice, or
          procedure” for naturalized citizens “different from the
          standards, practices, or procedures applied under such law”
          to U.S.-born citizens, the “reason to believe” provision
          violates the DSPP Provision.                See 52 U.S.C.
          § 10101(a)(2)(A); Ariz. Rev. Stat. § 16-165(I); U.S. Student,
          585 F. Supp. 2d at 949–50; Frazier, 383 F. Supp. at 18–19;
          Shivelhood, 336 F. Supp. at 1115. It need hardly be added
          that the “reason to believe” provision invites county
          recorders to pose a barrier to registration for any disfavored
          individual.
              The Republican Appellants contend that the “reason to
          believe” provision is not discriminatory because a county
          recorder must run a citizenship check through SAVE on any
          voter the recorder has “reason to believe” is not a citizen.
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          These citizenship checks will not have utility for U.S.-born
          citizens because the system cannot yield substantive
          information without an inputted alien registration number.
          See Ariz. Rev. Stat. § 16-165(I). Because SAVE contains no
          information on U.S.-born citizens, however, the district
          court found that the “reason to believe” provision “solely”
          impacts naturalized citizens and cannot be used if the subject
          of the inquiry is a U.S.-born citizen. By requiring the use of
          SAVE to check citizenship status whenever the county
          recorder is suspicious about citizenship, rather than a method
          that could be applied to both naturalized and U.S.-born
          citizens, Arizona Revised Statute § 16-165(I) limits the
          “reason to believe” provision to a subset of the electorate:
          persons with immigration numbers. It is not merely a matter
          of “utility” then, as the Republican Appellants contend; a
          query cannot start without an immigration number so county
          recorders cannot run a citizenship check through SAVE for
          U.S.-born citizens. For this reason, we conclude that the
          “reason to believe” provision applies different standards,
          practices, or procedures to naturalized citizens compared to
          U.S.-born citizens.
              As Republican Appellants contend, Arizona can
          investigate the citizenship status of registered voters to
          ensure that only qualified individuals are registered to vote.
          For example, county recorders must check the ADOT, Social
          Security Administration, and city, town, county, state, and
          federal databases for all registered voters. See Ariz. Rev.
          Stat. §§ 16-165(G)–(H), 16-165(K). That does not violate
          the DSPP Provision. The Supreme Court has alluded that
          holding otherwise “would raise serious constitutional
          doubts” regarding the DSPP Provision. See Inter Tribal
          Council, 570 U.S. at 17. But because the “reason to believe”
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          provision subjects only naturalized citizens to database
          checks, this provision violates the DSPP Provision.
              We hold that H.B. 2243’s “reason to believe” provision
          violates the DSPP Provision of the Civil Rights Act.
              E. Factual Finding Regarding Discriminatory Intent
              Although the clear error standard for reviewing factual
          findings is deferential, “it is not a rubber stamp.” Alexander
          v. S.C. State Conf. of the NAACP, 602 U.S. 1, 18 (2024). We
          must ensure that the applicable law or standard is properly
          applied. See Masayesva v. Zah, 65 F.3d 1445, 1453 (9th Cir.
          1995), as amended on denial of reh’g and reh’g en banc
          (Dec. 5, 1995) (“[W]e review the district court’s application
          of law to facts for clear error where it is ‘strictly factual,’ but
          de novo where application of law to fact requires
          ‘consideration of legal principles.’”).
              The Supreme Court in Village of Arlington Heights v.
          Metropolitan Housing Development Corp. set out a non-
          exhaustive list of factors for courts to consider in evaluating
          whether a law was enacted with discriminatory intent:
          (1) historical background, (2) the relevant legislative
          history, (3) the sequence of events leading up to the
          enactment, including departures from the normal legislative
          process, and (4) whether the law has a disparate impact on a
          specific racial group. 429 U.S. 252, 266–68 (1977). Under
          Arlington Heights, a plaintiff must “‘simply produce direct
          or circumstantial evidence demonstrating that a
          discriminatory reason more likely than not motivated’ the
          defendant and that the defendant’s actions adversely affected
          the plaintiff in some way.” Pac. Shores Props., LLC v. City
          of Newport Beach, 730 F.3d 1142, 1158 (9th Cir. 2013)
          (quoting McGinest v. GTE Serv. Corp., 360 F.3d 1103, 1122
          (9th Cir. 2004)). “A plaintiff does not have to prove that the
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          discriminatory purpose was the sole purpose of the
          challenged action, but only that it was a ‘motivating
          factor.’” Arce v. Douglas, 793 F.3d 968, 977 (9th Cir.
          2015) (quoting Arlington Heights, 429 U.S. at 266).
              “Necessarily, an invidious discriminatory purpose may
          often be inferred from the totality of the relevant facts,”
          Washington v. Davis, 426 U.S. 229, 242 (1976), in large part
          because “discriminatory intent is rarely susceptible to direct
          proof,” Mhany Mgmt., Inc. v. Cnty. of Nassau, 819 F.3d 581,
          606 (2d Cir. 2016).
              The Supreme Court’s decision in Desert Palace, Inc. v.
          Costa supports the principle that a plaintiff may rely
          successfully on either circumstantial or direct evidence to
          demonstrate that a law was enacted with discriminatory
          intent. See 539 U.S. 90 (2003); see also Cornwell v. Electra
          Cent. Credit Union, 439 F.3d 1018, 1029–30 (9th Cir. 2006)
          (recognizing because of Costa that plaintiffs may rely on
          circumstantial evidence in the Title VII context). In Costa,
          the Supreme Court explained that “[t]he reason for treating
          circumstantial and direct evidence alike is both clear and
          deep rooted: ‘Circumstantial evidence is not only sufficient,
          but may also be more certain, satisfying and persuasive than
          direct evidence.’” 539 U.S. at 100 (quoting Rogers v. Mo.
          Pac. R.R. Co., 352 U.S. 500, 508 n.17 (1957)).
              Here, the district court applied a heightened version of
          the Arlington Heights analysis to the facts—insisting that
          Plaintiff-Appellees directly link the motive of the
          Legislature to every piece of evidence offered under each
          prong of the Arlington Heights framework. Because the
          district court’s reasoning imposed a higher evidentiary
          standard than that required by the Arlington Heights test
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          analyzing the “totality of circumstances,” the district court
          clearly erred. We address each Arlington Heights prong:
             1. Historical background
              First, the district court acknowledged that “Arizona does
          have a long history of discriminating against people of
          color” and gave examples of the state’s past discrimination.
          But the district court then failed to meaningfully address the
          significance of that history in its analysis of whether Arizona
          acted with discriminatory intent in enacting the Voting
          Laws. Rather, the district court dismissed Arizona’s history
          as too old to be determinative, and insisted that Plaintiff-
          Appellees show “a nexus between Arizona’s history of
          animosity toward marginalized communities and the
          Legislature’s enactment of the voting laws.”
              The district court’s “nexus” requirement could not be
          satisfied, absent an unambiguous admission from the
          Legislature that the purpose of the Voting Laws was to
          perpetuate Arizona’s “well-documented history of voting
          discrimination.” That of course was not likely ever to
          happen. Such evidence is rare because legislators “seldom,
          if ever, announce on the record that they are pursuing a
          particular course of action because of their desire to
          discriminate against a racial minority.” Arce, 793 F.3d at
          978 (quoting Smith v. Town of Clarkton, 682 F.2d 1055,
          1064 (4th Cir. 1982)).
              In Cornwell, we recognized in the Title VII context that
          “[a]lthough some plaintiffs might discover direct evidence
          that a defendant’s nondiscriminatory justification is pretext,
          most will not.” 439 F.3d at 1029. Consequently, plaintiffs
          may rely on circumstantial evidence. Id. While the context
          here is different, the reasoning in Cornwell applies with
          equal force because direct evidence of legislators’
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          discriminatory purpose is similarly rare, and consequently
          most plaintiffs will not be able to show direct evidence of a
          discriminatory legislative purpose. See Arce, 793 F.3d at
          978. In light of the Supreme Court’s recognition in Costa
          that circumstantial evidence may be “more certain,
          satisfying and persuasive than direct evidence,” the district
          court should not have required plaintiffs to produce direct
          evidence of discriminatory purpose. See 539 U.S. at 100.
              In creating its onerous “nexus” requirement, the district
          court misapplied the Arlington Heights framework by
          requiring Plaintiff-Appellees to provide direct evidence of
          racial animus for every prong of the test, rather than applying
          a totality of the circumstances analysis that also took into
          account circumstantial evidence. If the district court had
          viewed the evidence in its totality, a different conclusion
          may have been reached.             A historical pattern of
          discriminatory behavior from a legislative body, particularly
          as it pertains to voting laws, gives context as to whether the
          same legislative body has acted with discriminatory purpose
          in enacting new voting laws. The district court erred in its
          analysis of the first prong of the Arlington Heights
          framework.
               2. Legislative history
              Second, the district court found that “[n]othing in the
          legislative hearings [on the Voting Laws] evince a motive to
          discriminate against voters based on race or national origin,”
          and concluded that the legislators were instead motivated by
          a desire to control the increase in federal-only voters in
          Arizona who had not provided DPOC. The district court did
          not properly analyze the evidence in its totality, however, as
          required by the Arlington Heights test. See United States v.
          Carrillo-Lopez, 68 F.4th 1133, 1140 (9th Cir. 2023), cert.
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          denied, 144 S. Ct. 703 (2024) (“Courts must consider the
          totality of the evidence presented by the plaintiff” when
          conducting an Arlington Heights analysis).
              The political climate in Arizona leading to enactment of
          the Voting Laws provides circumstantial evidence of
          discriminatory intent. After the November 2020 presidential
          election, there were claims that non-citizens had illegally
          cast more than 36,000 votes in the election. The Arizona
          Senate then established a committee to audit the 2020
          election results. The audit did not reveal any evidence of
          voter fraud, yet the Legislature proceeded to enact
          legislation aimed at remedying the voter fraud issue that was
          contradicted by its own findings. 6 When considering both
          the charged political climate and the events leading to the
          passage of the Voting Laws, see infra, the Legislature’s
          insistence on pressing forward with the Voting Laws despite
          its own audit revealing no voter fraud is circumstantial
          evidence “demonstrating that a discriminatory reason more
          likely than not motivated” the Legislature in enacting the
          Voting Laws. 7 Pac. Shores, 730 F.3d at 1158 (quoting
          McGinest, 360 F.3d at 1122).

          6
            A state has a legitimate interest in “preserving the integrity of its
          election process,” regardless whether there is actual evidence of fraud.
          See Eu v. San Francisco Cnty. Democratic Cent. Comm., 489 U.S. 214,
          231 (1989). But the absence of evidence of voter fraud can still be
          considered when assessing the motivations of the Legislature as is
          specifically required by the holistic Arlington Heights standard.
          7
            This conclusion is bolstered by the evidence demonstrating that the
          claim there was illegal voting by non-citizens was repeated on many
          occasions throughout the legislative process, even though the
          Legislature’s own audit contradicted his claim. For example, Senate
          President Petersen repeated the illegal-voter accusation when discussing
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               Despite the Legislature’s failed audit and the charged
          political climate leading to the passage of the Voting Laws,
          the district court did not infer that there was discriminatory
          intent, instead concluding that the Plaintiff-Appellees failed
          to “adduce evidence challenging the sincerity” of the
          Legislature’s belief that non-citizens were voting in Arizona
          elections. But in addressing an issue of voter suppression,
          we are not bound by questions of sincerity of legislators, but
          rather must look to what was actually done, and the
          purported reasons for and the effects of legislative action,
          which cannot be determined by legislative say-so but
          requires a demonstration through a presentation of facts.
          The Legislature’s failure to show evidence of voter fraud in
          its audit calls into question the sincerity of its belief in the
          existence of voter fraud. But more importantly, this
          “sincerity” requirement imposed by the district court exists
          nowhere in the Arlington Heights framework established by
          the United States Supreme Court. Rather, Arlington Heights
          asks that courts make a “sensitive inquiry into []
          circumstantial and direct evidence” of discriminatory intent,
          because “discriminatory intent is rarely susceptible to direct
          proof.” Mhany Mgmt., 819 F.3d at 606. By requiring direct
          evidence that the Legislature was not acting out of sincerely
          held beliefs, the district court misapplied Arlington Heights.
             Next, the Free Enterprise Club played a vital role in
          enacting the Voting Laws.        As the district court
          acknowledged, the “Free Enterprise Club helped author the
          Voting Laws.” And in his deposition, Senate President

          the Voting Laws in an Arizona Senate Judiciary Committee meeting on
          March 10, 2022. And Greg Blackie of the Free Enterprise Club also
          repeated the claim that there was illegal voting by non-citizens in an
          email to Republican members of the Arizona Senate Judiciary
          Committee.
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          Petersen said that the Free Enterprise Club drafted “most of
          [the Voting Laws.]” 8 But in its findings, the district court
          excluded evidence demonstrating how deep the Free
          Enterprise Club’s involvement ran. For example, House
          Speaker Toma, referring to the Free Enterprise Club, called
          H.B. 2243 “their” bill. And Greg Blackie of the Free
          Enterprise Club testified to the details of the bill as the
          Senate Government Committee’s expert witness on March
          14, 2022. Also, the bill’s sponsor, state Representative
          Jacob Hoffman, deferred to Blackie when asked questions
          about the bill in a committee hearing. Representative
          Hoffman emphasized the role of the Free Enterprise Club,
          telling the same committee that he had been “working with
          the Free Enterprise Club on this bill, and they’ve spent
          hundreds of hours digging into this.”
              The Free Enterprise Club, in its advocacy for the Voting
          Laws, sent lobbying materials to Arizona legislators with the
          heading “how more illegals started voting in AZ.” “[T]he
          use of ‘code words’ may demonstrate discriminatory intent,”
          Ave. 6E Invs., LLC v. City of Yuma, 818 F.3d 493, 505 (9th
          Cir. 2016) (citation omitted), and the term “illegals” can
          evidence racial animus for members of the Latino
          community in Arizona. This suggests that the Free
          Enterprise Club—an architect and advocate of the Voting
          Laws—was motivated by a discriminatory purpose in
          drafting and advocating for the Voting Laws, which, in turn,
          supports a conclusion that the Voting Laws were the product
          of intentional discrimination. See Ave. 6E Ins., 818 F.3d at
          504 (“The presence of community animus can support a

          8
            In its amicus brief in this case, the Free Enterprise Club also claims that
          it was “instrumental in the drafting and adoption of the statutes at issue
          in this case.”
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          finding of discriminatory motives by government officials,
          even if the officials do not personally hold such views.”).
              The Free Enterprise Club’s involvement sets this case
          apart from Brnovich v. DNC. In Brnovich, the Supreme
          Court reversed our decision and held that the district court
          did not clearly err in finding that a different Arizona voting
          law was not enacted with discriminatory intent. See 594
          U.S. at 687–88. There, the main evidence of discriminatory
          animus in the legislative process was a former senator’s
          “unfounded and far-fetched allegations of ballot collection
          fraud” and a “‘racially-tinged’ video created by a private
          party,” both of which led to what the district court concluded
          was “a serious legislative debate on the wisdom of early
          mail-in voting.” Id. at 688. Here, in sharp contrast,
          discriminatory animus permeated each and every step of the
          legislative process because the Free Enterprise Club was
          involved with the Voting Laws’ enactment from start to
          finish, from conception to passage. Although we may accept
          the district court’s conclusion that some members of the
          Legislature may have been sincerely motivated by a desire
          to control the increase in federal-only voters for a non-
          discriminatory purpose, the sincerity of some legislators’
          actions does not change the totality of the circumstances—
          starting with assertions that non-citizens had voted in the
          2020 election and continuing with discriminatory animus of
          the Free Enterprise Club in drafting and lobbying for the
          Voting Laws. We conclude that the totality of the
          circumstances suggests the Voting Laws were the product of
          intentional discrimination.
              The district court did not view the evidence in its totality,
          instead concluding that “Plaintiff[-Appellees] presented no
          persuasive evidence that the Legislature relied on the Free
          Enterprise Club’s coded appeals, nor that the Legislature
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          enacted the Voting Laws to prevent anyone other than non-
          citizens from voting,” and that “[t]he legislative record lacks
          any indicia of a nefarious motive.” We conclude that these
          conclusions are not supported by the record, as we view it.
          And the district court imposed a higher evidentiary burden
          than is mandated by the Supreme Court’s precedent in
          Arlington Heights, which expressly permits “circumstantial
          evidence demonstrating that a discriminatory reason more
          likely than not motivated the defendant.” Pac. Shores, 730
          F.3d at 1158 (internal quotation marks and citation omitted).
              Plaintiff-Appellees did not need to provide direct
          evidence showing that every member of the Legislature
          relied upon the Free Enterprise Club’s coded discriminatory
          appeal. But the district court should have done what
          Arlington Heights requires and should have evaluated the
          political climate leading to the Voting Laws and the Free
          Enterprise Club’s involvement within their context—a
          context that in the totality of the circumstances supports an
          inference of discriminatory intent. See Davis, 426 U.S. at
          242.
             3. Departures from the normal legislative process
               Third, there were departures from ordinary procedure
          throughout the legislative process. Such departures “might
          afford evidence that improper purposes are playing a role.”
          Arlington Heights, 429 U.S. at 267. Consider H.B. 2243’s
          frenzied passage on the final day of the 2022 legislative
          session. After the initial version of H.B. 2243 was vetoed by
          former-Governor Ducey, an amended version of the bill was
          distributed to the legislators only minutes before it was to be
          debated and brought to a final vote, giving the legislators
          little time to review the substantial amendment. In his
          deposition, House Speaker Toma admitted that he could not
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          recall another time when a vetoed voting bill was pushed
          through to passage this way. And testimony revealed that
          amendments that “change everything that was in a prior
          version of a bill” in the final stages of the legislative process,
          as the amendment did here, are not a common occurrence.
              Despite these departures from the usual legislative
          procedure, the district court found that “[t]he speed with
          which the Legislature passed H.B. 2243 as amended was not
          so abrupt as to infer an improper motive, considering the
          Legislature had previously passed H.B. 2617 through the
          ordinary legislative process.” But this is not probative
          because the amended bill contained many substantive
          changes from its previous version that even supportive
          legislators had not previously considered. 9 The abrupt
          passage of this bill occurred in the final moments of the
          legislative session.
              The district court should have viewed those departures
          from typical legislative procedure in the context of the
          totality of the circumstances when determining whether an
          improper motive should be inferred. If it had done so, the
          district court may have drawn a different conclusion. These
          departures from ordinary legislative procedure, considered
          with the evidence supporting the other Arlington Heights
          factors, could indicate discriminatory intent.




          9
            For example, House Speaker Toma himself was not aware of many
          changes made by the bill. He was not aware that the notice period to
          cure for those suspected to be not citizens had been reduced from 90 days
          to 35 days. He learned about this change for the first time when he was
          deposed on November 28, 2023.
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             4. Impact on a minority group
              Finally, we focus on one troubling aspect of the district
          court’s decision: its finding that “Plaintiff[-Appellees] did
          not show the Arizona Legislature enacted the Voting Laws
          because of any impact on minority voters or naturalized
          citizens.” In so finding, the district court said that
          “[e]vidence of a law’s disparate impact is generally
          insufficient alone to evidence a legislature’s discriminatory
          motive.”
              But Plaintiff-Appellees did not ask the district court to
          view evidence of the Voting Laws’ disparate impact alone,
          nor contend that disparate impact should be dispositive. The
          district court’s narrow view of the evidence was clear error.
          The district court, by requiring direct evidence of legislators’
          motive on this prong, imposed a stricter test than held by
          Arlington Heights, which required district courts to consider
          evidence of disproportionate impact along with other direct
          and circumstantial evidence offered for each of the Arlington
          Heights prongs.
              The district court clearly erred by viewing each piece of
          evidence in isolation and expecting Plaintiff-Appellees to
          proffer direct evidence of animus for each prong of the
          Arlington Heights framework, rather than examining the
          circumstantial evidence as part of a larger totality of the
          circumstances analysis. See Carrillo-Lopez, 68 F.4th at
          1140. The contentious political climate arising from claims
          of illegal voting may seem innocuous standing alone. So
          might the Free Enterprise Club’s use of the term “illegals”
          in lobbying materials, if standing alone. So might H.B.
          2243’s hasty passage departing from legislative norms, if
          standing alone. But viewed in context these discrete pieces
          of evidence take on a different meaning and support an
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          inference of discriminatory intent. Factfinders considering
          whether a law was passed with discriminatory intent must
          analyze the totality of the circumstances. See Davis, 426
          U.S. at 242.
              Because the district court erred by misapplying
          Arlington Heights and did not show that it was viewing the
          evidence in context, we vacate and remand the issue of
          whether H.B. 2243 was enacted with discriminatory intent,
          with instructions for the district court to apply the proper
          totality of the circumstances analysis that is required by the
          Supreme Court’s precedent of Arlington Heights.
               F. Equal Protection Clause
              The Fourteenth Amendment provides that “[n]o State
          shall . . . deny to any person within its jurisdiction the equal
          protection of the laws.” U.S. Const. amend. XIV, § 1. The
          Fifteenth Amendment provides that “[t]he right of citizens
          of the United States to vote shall not be denied or abridged
          by the United States or by any State on account of race,
          color, or previous condition of servitude.” U.S. Const.
          amend. XV, § 1.
              Bush v. Gore relied on the principle that in the voting
          context, “arbitrary and disparate treatment” that does not
          meet “the rudimentary requirements of equal treatment and
          fundamental fairness” will not survive constitutional
          scrutiny under the Equal Protection Clause. 531 U.S. 98,
          104–05, 109 (2000) (per curiam). Bush v. Gore held that the
          Equal Protection Clause has a “minimum requirement for
          nonarbitrary treatment of voters.” Id. at 105; see also
          Election Integrity Project Cal., Inc. v. Weber, 113 F.4th
          1072, 1089 (9th Cir. 2024).
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              Bush v. Gore famously stated that its “consideration
          [wa]s limited to the present circumstances.” 531 U.S. at 109.
          That statement was not believed by many commentators. 10
          What the Supreme Court says in its decisions normally
          affects future cases raising the same issues. 11 And in most
          cases in which we have applied the “arbitrary and disparate
          treatment” standard, we have like Bush v. Gore focused on
          the one-person, one-vote principle that was first laid down
          in Reynolds v. Sims. 377 U.S. 533 (1964); see, e.g., Idaho
          Coal. United for Bears v. Cenarrusa, 342 F.3d 1073, 1076–
          77, 1077 n.7 (9th Cir. 2003); Sw. Voter Registration Educ.
          Project v. Shelley, 344 F.3d 882, 894–95 (9th Cir. 2003),
          rev’d on other grounds en banc, 344 F.3d 914 (9th Cir.
          2003). “The general principle that Bush applied—that ‘the
          rudimentary requirements of equal treatment and
          fundamental fairness’ prohibits states from engaging in
          wholly ‘arbitrary and disparate treatment’ of members of the

          10
             See, e.g., Laurence H. Tribe, Bush v. Gore and Its Disguises: Freeing
          Bush v. Gore from its Hall of Mirrors, 115 HARV. L. REV. 170, 271
          (November 2001) (“Many see the Court’s attempt to limit the case to
          whatever ‘the present circumstances’ might be as profoundly
          illegitimate. These critics argue that the Court was in essence trying to
          free itself from the discipline of stare decisis, which forces a court either
          to eat its own words in future cases or else give good reasons for spitting
          them out.”).
          11
             See id. (“Indeed, whenever an Article III court renders a decision,
          these commentators argue, that decision must have precedential
          effect.”); Planned Parenthood v. Casey, 505 U.S. 833, 866 (1992)
          (“[T]he Court’s legitimacy depends on making legally principled
          decisions under circumstances in which their principled character is
          sufficiently plausible to be accepted by the Nation.”); Frederick Schauer,
          Precedent, 39 STAN. L. REV. 571, 589 (1987) (“[T]he conscientious
          decisionmaker must recognize that future conscientious decisionmakers
          will treat her decision as precedent, a realization that will constrain the
          range of possible decisions about the case at hand.”).
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          public—is not unique to that case,” and we should not
          hesitate to apply it when relevant. See Election Integrity,
          113 F.4th at 1090 n.15 (citing 531 U.S. at 107, 109).
               We apply Bush v. Gore, because despite its disclaimer, it
          is relevant precedent. Here, the requirements of DPOC and
          DPOR do not match the “varying” and complete lack of
          specific standards which violate Equal Protection under the
          “arbitrary and disparate treatment” standard. See Bush v.
          Gore, 531 U.S. at 106–07. In Bush v. Gore, the Florida
          Supreme Court had directed election officials to discern the
          intent of voters whose “punchcard” ballots were not
          registering perforation, but the attempted recount resulted in
          disparate treatment among similarly situated voters because
          there were no standards by which to determine voter
          “intent.” Id. at 105–06. Each of the counties involved had
          used “varying standards” to determine what was a legal vote,
          and the Supreme Court held that “[t]he problem inheres in
          the absence of specific standards to ensure its equal
          application.” Id. at 106–07.
              In contrast, we held in Election Integrity that California’s
          vote counting rules satisfied the minimum requirement for
          nonarbitrary treatment of voters because California’s voting
          rules were “more than sufficiently detailed and uniform”
          than “the standardless vote counting order considered in
          Bush” and California’s “vote counting standard applies
          uniformly to the counting of all ballots and votes regardless
          of the vote tabulation method used.” 113 F.4th at 1095
          (internal quotation marks and citation omitted).
              Here, the requirements of DPOC and DPOR apply
          uniformly, and consequently do not violate Equal Protection
          under the “arbitrary and disparate treatment” standard.
          Unlike Bush v. Gore, in which each of the Florida counties
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          involved in the votes to be tabulated had used “varying
          standards” to determine what was a legal vote, here the
          requirements of DPOC and DPOR are “more than
          sufficiently detailed and uniform.” See 531 U.S. at 107;
          Election Integrity, 113 F.4th at 1095. Arizona Revised
          Statute § 16-121.01(C) requires county recorders to reject
          state-form applications without DPOC and Arizona Revised
          Statute § 16-123 requires state-form applicants to provide
          DPOR. A failure to provide either will result in rejection of
          the state-form application to vote, and this standard applies
          to all applicants using the state-form application. The
          district court also found that there was no evidence that
          county recorders will act arbitrarily when confirming an
          individual’s citizenship status. That county recorders will
          not act arbitrarily is reinforced by the permanent injunction
          prohibiting enforcement of Arizona Revised Statute § 16-
          165(I)’s “reason to believe” provision.
               The periodic cancellation of registrations, relevant here
          because Arizona Revised Statutes §§ 16-165(I)–(J) specify
          citizenship checks against SAVE and NAPHSIS for
          “persons who are registered to vote without satisfactory
          [DPOC],” is a systematic removal program with cancellation
          of batches of registered voters based on the set procedure of
          routine comparison to certain databases. See supra pp. 47–
          50. Unlike the “absence of specific standards to ensure its
          equal application” in Bush v. Gore, here the standards are
          specific, clearly defined, and based on an established
          procedure. See 531 U.S. at 106. Because the DPOC and
          DPOR requirements and the procedures implementing these
          requirements are uniform, they are consistent with the
          minimum requirement for nonarbitrary treatment of voters
          set forth in Bush v. Gore and they do not violate the Equal
          Protection Clause. We conclude that there have been
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          statutory violations under the NVRA and the Civil Rights
          Act, but no constitutional violations under the Equal
          Protection Clause.
             We hold that H.B. 2492’s requirements of DPOC and
          DPOR for state-form applicants do not violate the Equal
          Protection Clause.
               G. Legislative Privilege
              The district court held that the Legislative Parties had
          waived legislative privilege. We need not decide that issue
          for the reasons that follow.
              The doctrine of legislative immunity protects state
          legislators “from criminal, civil, or evidentiary process that
          interferes with their ‘legitimate legislative activity.’” Puente
          Ariz. v. Arpaio, 314 F.R.D. 664, 669 (D. Ariz. 2016)
          (quoting Tenney v. Brandhove, 341 U.S. 367, 376 (1951)).
          Legislative privilege is a corollary to legislative immunity
          and is a qualified privilege that generally shields legislators
          from compulsory evidentiary process. Lee v. City of Los
          Angeles, 908 F.3d 1175, 1187–88 (9th Cir. 2018).
              The Legislative Parties here complied with the discovery
          order that they contend violated their legislative privilege.
          Because “[c]ompliance with a discovery order renders moot
          an appeal of that order,” this issue of whether legislative
          privilege was waived is moot. See Richmark Corp. v.
          Timber Falling Consultants, 959 F.2d 1468, 1479 (9th Cir.
          1992). 12


          12
             Although the Supreme Court has held that compliance with
          administrative summons and subpoenas does not moot challenges to
          those requests, that holding is inapposite here. See Church of
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                                IV. CONCLUSION
              We hold that Republican Appellants and Promise Cross-
          Appellants have standing to pursue their appeals. We
          AFFIRM the district court’s rulings regarding the NVRA
          claims, the LULAC Consent Decree, the Civil Rights Act
          claims, and the Equal Protection claim. We VACATE the
          district court’s factual finding that H.B. 2243 was not
          enacted with intent to discriminate, and we REMAND for
          further proceedings consistent with this opinion based on the
          record that the district court previously developed in its
          bench trial. We hold that the Republican Appellant’s appeal
          regarding the district court’s holding that there was a waiver
          of legislative privilege is moot.


          BUMATAY, Circuit Judge, dissenting:

              In the wake of the 2020 election, Arizona enacted two
          sets of voter-verification laws: House Bill (“H.B.”) 2492 and
          H.B. 2243. Arizona sought to amend its voting laws to
          improve verification of those registered to vote in the State.
          These voter-verification amendments made several changes:

                   •    H.B. 2492 prohibits applicants who have
                        not provided “satisfactory evidence of
                        citizenship” from voting in presidential

          Scientology v. United States, 506 U.S. 9, 12–13 (1992). In Church of
          Scientology, the issue was not moot because the “[t]axpayers have an
          obvious possessory interest in their records . . . and a court can effectuate
          relief by ordering the Government to return the records.” Id. at 13. Here,
          the district court’s discovery order is not an administrative summons or
          subpoena, and the court cannot order for the Legislative Parties’
          depositions to be undone, let alone returned.
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                    elections.     Ariz. Rev. Stat. § 16-
                    127(A)(1).
                •   H.B. 2492 prohibits applicants who have
                    not provided “satisfactory evidence of
                    citizenship” from voting by mail. Id.
                    § 16-127(A)(2).
                •   H.B. 2492 requires voter-registration
                    applicants using the state-created voter-
                    registration form to provide “satisfactory
                    evidence of citizenship.”       Id. § 16-
                    121.01(C).
                •   H.B. 2492 requires voter-registration
                    applicants using the state-created form to
                    provide satisfactory proof of residence.
                    Id. §§ 16-121.01(A), 16-123.
                •   H.B. 2243 requires county recorders to
                    periodically check available databases to
                    verify the citizenship of registered voters
                    and cancel registrations of foreign
                    citizens. Id. § 16-165(A)(10), (G), (H),
                    (J), (K).
                •   H.B. 2492 requires applicants using the
                    state voter-registration form to provide
                    their birthplace and check a “box”
                    confirming U.S. citizenship. Id. § 16-
                    121.01(A).
                •   H.B. 2243 requires county recorders to
                    verify citizenship in the Systematic Alien
                    Verification for Entitlements (“SAVE”)
                    database maintained by the U.S.
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                       Citizenship and Immigration Services
                       (“USCIS”) if the county recorder has
                       “reason to believe” a registered voter is
                       not a citizen. Id. § 16-165(I).

              Before these voter-verification amendments went into
          effect, the Democratic National Committee (“DNC”), the
          Arizona Democratic Party, the Biden Administration’s
          Department of Justice Civil Rights Division, and various
          aligned groups (collectively, “Voting Law Opponents”)
          sought to stop the voter-verification laws in their tracks.
          They sued alleging violations of the National Voting Rights
          Act (“NVRA”), the Civil Rights Act of 1964, a consent
          decree, and the Constitution.
              In an unprecedented ruling, the district court granted the
          Voting Law Opponents virtually everything they wanted,
          except for finding that H.B. 2243 was enacted with
          discriminatory intent.      The district court enjoined
          enforcement of most of H.B. 2492 and H.B. 2243—just
          months before the 2024 election.
              In an emergency appeal, the Republican National
          Committee (“RNC”) and two Arizona legislators
          (collectively, “Voting Law Proponents”) sought to lift the
          injunction on the three proof-of-citizenship requirements. 1
          A motions panel of our court granted a partial stay of the
          injunction—allowing the proof-of-citizenship requirement
          for the state-voter registration forms—but otherwise
          declined to upset the injunction. In an extraordinary move,
          a divided merits panel reconsidered the motions panel order

          1
           At least the Arizona legislators have standing to bring this appeal. See
          Mi Familia Vota v. Fontes (“Mi Familia Vota III”), 111 F.4th 976, 994
          (9th Cir. 2024) (Bumatay, J., dissenting).
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          and vacated the partial stay a mere two weeks later. The
          Supreme Court quickly reversed the merits-panel majority
          and allowed the proof-of-citizenship requirement to be
          enforced.
              Now, the majority tries again. This time, ignoring the
          Supreme Court’s direction on at least the state voter-form
          issue, it again affirms the injunction wholesale. But even
          more, the majority thinks that the district court didn’t go far
          enough in overturning Arizona’s voter-verification laws.
          While following the district court’s legal rulings on the
          NVRA, Civil Rights Act, and the consent decree, the
          majority reverses the district court’s factual findings and all
          but declares H.B. 2243 the product of discrimination.
          Unprecedented yet again.
              When courts are forced to enter the political realm—as
          challenges to voting laws require—we must be our most
          deliberate, careful, and thoughtful. Our robes are not blue or
          red but black. Sweeping rulings setting aside a State’s laws
          don’t help. While some parts of H.B. 2492 and H.B. 2243
          may violate federal law, in no way must they be completely
          invalidated. Most of the voter-verification laws are
          consistent with the Constitution and federal law, and we
          should have vacated and substantially narrowed the
          injunction.
               I respectfully dissent.
                                         I.
           Proof of Citizenship to Vote in Presidential Elections
              H.B. 2492 prohibits registered voters who do not provide
          “satisfactory evidence of citizenship” from voting in
          presidential elections. Ariz. Rev. Stat. § 16-127(A)(1). The
          district court ruled that Section 6 of the NVRA preempts this
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          provision. Under that section of the NVRA, States “shall
          accept and use” federally created voter-registration forms
          “for the registration of voters in elections for Federal office.”
          52 U.S.C. § 20505(a)(1). The district court interpreted this
          NVRA provision to require States to allow any individual
          who submits the federal form to vote in presidential
          elections—regardless of proof of citizenship—and enjoined
          the Arizona law. But because the Constitution doesn’t grant
          Congress the power to regulate who may vote in presidential
          elections, we should have reversed this ruling.
                                         A.
              The NVRA gives citizens who want to vote in federal
          elections two options for registration. First, citizens may
          register to vote through a federal voter-registration form
          issued by the Election Assistance Commission. 52 U.S.C.
          § 20505(a). Second, citizens may also register through state
          voter-registration forms—forms designed by each State for
          that State’s elections. Id. The NVRA mandates that “[e]ach
          State . . . accept and use” the federal voter-registration form
          “for the registration of voters in elections for Federal office.”
          Id. § 20505(a)(1). The NVRA defines “Federal office” to
          include the “office of President or Vice President.” Id.
          §§ 20502(2), 30101(3). Congress derived its authority to
          enact the NVRA from the Elections Clause of the
          Constitution. See Arizona v. Inter Tribal Council of Arizona,
          Inc. (“ITCA”), 570 U.S. 1, 8–9 (2013): see also id. at 40
          (Alito, J., dissenting) (“[T]he NVRA was the first significant
          federal regulation of voter registration enacted under the
          Elections Clause since Reconstruction[.]”).
             But, as a matter of constitutional text, the Elections
          Clause doesn’t govern presidential elections. The Elections
          Clause of Article I provides that “[t]he Times, Places and
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          Manner of holding Elections for Senators and
          Representatives, shall be prescribed in each State by the
          Legislature thereof; but the Congress may at any time by
          Law make or alter such Regulations, except as to the Places
          of chusing Senators.” U.S. Const. art. I, § 4, cl. 1 (emphasis
          added). Under that Clause, States have the “duty” to set the
          time, place, and manner of holding congressional elections,
          but Congress has the power to “alter” those regulations or
          “supplant them altogether.” See ITCA, 570 U.S. at 8. The
          Court has held that the “Times, Places, and Manner” of
          holding elections “embrace authority to provide a complete
          code for congressional elections,” including regulation of
          voter registration. Id. at 8–9. 2 But the Clause is expressly
          limited to “Elections for Senators and Representatives.”
          Thus, while the Elections Clause may give Congress power
          over registration in congressional elections, it doesn’t extend
          that authority over presidential elections.


          2
            As a matter of original understanding, this conclusion may not provide
          the full picture. Both the Voter Qualifications Clause and the
          Seventeenth Amendment direct that States set the “qualifications” for
          electors for the House of Representatives and Senate. U.S. Const. art. I,
          § 2, cl. 1 (“the Electors in each State shall have the Qualifications
          requisite for Electors of the most numerous Branch of the State
          Legislature”); id. amend. XVII (“The electors in each State shall have
          the qualifications requisite for electors of the most numerous branch of
          the State legislatures”). “Taken together, these provisions suggest that
          the United States Constitution commits wholly to the states decisions
          about who may vote in federal elections[.]” James A. Gardner, Liberty,
          Community and the Constitutional Structure of Political Influence: A
          Reconsideration of the Right to Vote, 145 U. Pa. L. Rev. 893, 964
          (1997); see also ITCA, 570 U.S. at 26 (Thomas, J., dissenting)
          (“Congress has no role in setting voter qualifications, or determining
          whether they are satisfied[.]”). Even so, as an inferior court, we are
          bound by ITCA’s holding.
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              Other Clauses of Article II cover presidential elections.
          First, the Electors Clause lays out much of the
          groundwork—granting nearly all authority to the States. It
          provides that “[e]ach State shall appoint, in such Manner as
          the Legislature thereof may direct, a Number of Electors[.]”
          U.S. Const. art. II, § 1, cl. 2. Unlike the grant of a revisory
          power to Congress in the Elections Clause, the Electors
          Clause gives the States sole power over the “Manner” of
          appointing electors to the electoral college. See U.S. Term
          Limits, Inc. v. Thornton, 514 U.S. 779, 805 (1995)
          (describing the Electors Clause as the sort of “express
          delegation[] of power to the States” by the Constitution
          necessary for them “to act with respect to federal elections”).
              Second, the Time of Chusing Clause provides a narrow
          role for Congress in presidential elections. The Time of
          Chusing Clause says that “Congress may determine the Time
          of chusing the Electors, and the Day on which they shall give
          their Votes; which Day shall be the same throughout the
          United States.” U.S. Const. art. II, § 1, cl. 4. So rather than
          having any power over the “Manner” of holding
          congressional elections, Congress merely has authority to
          choose the date of the presidential election and date of the
          electoral college vote. “Any shadow of a justification for
          congressional power with respect to congressional elections
          therefore disappears utterly in presidential elections.”
          Oregon v. Mitchell, 400 U.S. 112, 212 (1970) (Harlan, J.,
          concurring in part); see also Nicholas O. Stephanopoulos,
          The Sweep of the Electoral Power, 36 Const. Comment. 1,
          54 (2021) (“As a textual matter, the [Time of Chusing]
          Clause is plainly narrower than the Elections Clause. It only
          authorizes Congress to set the time of presidential
          elections.”).
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                Together, these Clauses form a cohesive structure
          governing federal elections—States and Congress share
          authority over congressional elections, but States retain near-
          exclusive power over presidential elections. Thus, the
          Constitution forecloses congressional authority to control
          voter-registration requirements for presidential elections.
          Under the Electors Clause, that power falls within the
          province of the States alone. And congressional authority
          under the Elections Clause can’t be twisted to encompass
          presidential elections. See ITCA, 570 U.S. at 16 (“[O]ne
          cannot read the Elections Clause as treating implicitly what
          . . . other constitutional provisions regulate explicitly.”).
              Giving Congress a narrow role over presidential
          elections makes sense for the separation of powers. As
          Hamilton explained, a central concern at the Founding was
          that “the Executive should be independent for his
          continuance in office on all but the people themselves. He
          might otherwise be tempted to sacrifice his duty to his
          complaisance for those whose favor was necessary to the
          duration of his official consequence.” The Federalist No. 68
          (Alexander Hamilton). Imagine then a Congress with power
          to regulate presidential elections—the Executive may fear
          retaliation from Congress in the form of unfavorable election
          laws. State ratification debates echoed this concern. As
          James Wilson put it in Pennsylvania’s debates: “Was the
          President to be appointed by the legislature? . . . To have the
          executive officers dependent upon the legislative, would
          certainly be a violation of that principle, so necessary to
          preserve the freedom of republics, that the legislative and
          executive powers should be separate and independent.” See
          Debates in the Several State Conventions on the Adoption of
          the Federal Constitution, as Recommended by the General
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          Convention at Philadelphia in 1787 511–12 (J. Elliot 2d ed.
          1836).
              In its briefing, the Civil Rights Division waves this all
          away—claiming that the Necessary and Proper Clause,
          along with Congress’s more limited electoral duties, instead
          supports Congress’s broad authority over presidential
          elections. The Civil Rights Division vaguely lists three
          clauses as support for this authority. See, e.g., U.S. Const.
          amend. XII (vesting in Congress powers and duties in
          connection with the election of the President and Vice
          President); id. amend. XIV, § 2 (setting forth a process for
          penalizing States for denial of “the right to vote at any
          election for the choice of electors for President and Vice-
          President of the United States” and other federal offices); id.
          amend. XXIV, § 1 (prohibiting denial or abridgment of the
          right to vote in any “election for President or Vice President”
          and other federal offices based on failure to pay a poll tax).
          The Civil Rights Division cites no authority for its broad
          view of federal power. And the Necessary and Proper
          Clause may not serve as a workaround to the Constitution’s
          express provisions. Regardless of that Clause’s scope, a
          “federal statute . . . must . . . not be prohibited by the
          Constitution.” United States v. Comstock, 560 U.S. 126, 135
          (2010) (simplified). And the Constitution “could [not] be
          clearer in stating what Congress can control and what it
          cannot control” when it comes to presidential elections.
          ITCA, 570 U.S. at 16 (simplified).
              Thus, the NVRA can’t preempt state laws governing
          presidential elections. See id. at 35 n.2 (Thomas, J.,
          dissenting) (While “the NVRA purports to regulate
          presidential elections,” that is “an area over which the
          Constitution gives Congress no authority whatsoever.”).
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                                         B.
              The opponents of the proof-of-citizenship requirement
          seemingly acknowledge the States’ role over the “Manner”
          of appointing electors under the Electors Clause. But, citing
          McPherson v. Blacker, 146 U.S. 1 (1892), they argue that
          “Manner” refers only to a narrow right to select the mode of
          choosing electors—either by popular election, appointment,
          or some other mechanism. But once a State chooses a mode,
          they contend that Congress has a free hand to regulate
          presidential elections as it pleases. Four reasons prove this
          argument unconvincing.
              First, their argument would contradict ITCA.                If
          “Manner” in the Electors Clause only means the mode of an
          election, then Congress too would not have authority to enact
          voter-registration regulations under the Elections Clause,
          which also refers to the “Manner of holding elections.” U.S.
          Const. art. I, § 4, cl. 1. But ITCA directly held that Congress
          has such power. 570 U.S. at 8–9. Indeed, the phrasing of
          the Elections Clause is narrower than the Electors Clause.
          The Elections Clause refers only to the “Manner of holding
          elections,” compared to the broadly worded Electors Clause
          allowing States to decide the “Manner” of appointing
          electors “as the Legislature thereof may direct.” Compare
          U.S. Const., art. I, § 4, cl.1 (emphasis added) with id., art. II,
          § 1, cl. 2. It would be inconsistent to read the Electors
          Clause more narrowly than the Elections Clause.
              Second, as a matter of common sense, if States may let
          no one vote for presidential electors (by letting legislatures
          pick them), then they may decide to let only some vote for
          electors. In other words, subject to other constitutional
          constraints like the Fourteenth and Fifteenth Amendments,
          the power to disenfranchise all its citizens suggests the
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          power to franchise only some of its citizens—those meeting
          certain registration requirements. Indeed, at the Founding,
          the States had different requirements for voting—for
          example, some had race, property, religious, or literacy tests.
          Akhil Reed Amar, The Words That Made Us: America’s
          Constitutional Conversation, 1760–1840 226 (2021). So it’s
          wrong to think of choosing “popular election” as an all-or-
          nothing option. States could choose a “popular election”
          with varying levels of enfranchisement.
              Third, McPherson doesn’t support this overly narrow
          role for States. McPherson determined that Michigan could
          establish district-level elections for the selection of
          presidential electors under the Electors Clause. 146 U.S. at
          24. The Court remarked that, historically, the Electors
          Clause meant that States may “appoint [electors] in any
          mode its legislature saw fit to adopt”—meaning through
          legislative vote, general popular vote, district-level vote, or
          other “mode.” Id. at 29. In that case, the Court reasoned that
          “Manner” of appointment included “mode” of appointment.
          But McPherson didn’t establish the definitive scope of
          “Manner” in the Electors Clause or determine that “Manner”
          only meant the “mode” of choosing. Rather, McPherson
          reinforced the narrow role the federal government plays in
          presidential elections compared to the “plenary power” state
          legislatures enjoy “in the matter of the appointment of
          electors.” Id. at 35 (emphasis added). While “Congress is
          empowered to determine the time of choosing the electors
          and the day,” “otherwise the power and jurisdiction of the
          state is exclusive.” Id. (emphasis added).             Indeed,
          McPherson confirmed that “[t]he right to vote in the states
          comes from the states.” Id. at 38. So McPherson teaches us
          that States have plenary and exclusive power to plan the
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          administration of presidential elections and Congress can’t
          encroach on that power.
              Fourth and most importantly, this narrow view of the
          scope of “Manner” contravenes the original understanding
          of the Electors Clause. At the Founding, the “Manner” of
          appointing electors was broad enough to encompass
          regulating voter-registration requirements. At the time,
          “Manner” meant “Way; mode”; “Custom; habit; fashion”; or
          “Form; method.” Samuel Johnson, A Dictionary of the
          English Language (1773); see also Noah Webster, An
          American Dictionary of the English Language (1828)
          (defining “Manner” as “Form; method; way of performing
          or executing”; “Custom; habitual practice”; and “Way;
          mode.”). These definitions establish that “Manner” included
          a broad range of election regulations—not just a choice
          between popular vote and legislative appointment. See
          Robert G. Natelson, The Original Scope of the
          Congressional Power to Regulate Elections, 13 U. Pa. J.
          Const. L. 1, 20 (2010) (The word “Manner” in the Electors
          Clause “was an acknowledgment of state power to fix the
          qualifications (or identity) of the person or persons
          appointing the presidential electors[.]”).
                Before the Founding, sources from England and
          elsewhere used the phrase “manner of election,” and its
          synonyms, in various ways: “the times, places, and
          mechanics of voting; legislative districting; provisions for
          registration lists; the qualifications of electors and elected;
          . . . and the rules of decisions.” Id. at 20. For instance, rules
          setting out the “manner of election” in London dealt with the
          election of candidates from districts, the qualifications of the
          electorate, the choice of candidate, and methods of
          certification. Id. at 10 (citing 1 Philip Morant, The History
          and Antiquities of the County of Essex 98 (London, 1768)).
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          Parliamentary legislation governing the “manner of
          election” to the House of Commons prescribed the creation
          and maintenance of a list of qualified and disqualified voters,
          public notice and proclamations, times and places of voting,
          the duties of supervising officers, viva voce voting,
          adjudication of disputed elections, and punishment for vote-
          selling. Id. at 11 (citing, e.g., Determinations of the
          Honourable House of Commons, Concerning Elections, and
          All Their Incidents 42–79 (London 1774); 4 John Comyns,
          A Digest of the Laws of England 330–32, 557 (1780)). The
          main limit on the use of “manner of election” in these
          sources was that it did not include the governance of
          campaigns. Id. at 12.
              And “Americans ascribed the same general content to the
          phrase ‘manner of election’ as the English . . . did.” Id. at
          12–13. Take a 1721 South Carolina election code that
          referred to oaths and enrollment of electors, the choice of
          election managers, and the conduct of voter assemblies, as
          part of “the Manner and Form of electing Members” to the
          colonial assembly. Id. at 13 (citing S.C. Stat. 113–15 (1721)
          (“An Act to ascertain the Manner and Form of electing
          members . . . in the Commons House of Assembly.”)).
          Likewise, a 1787 New York statute treated inspection of the
          poll lists, voters’ receipt of their ballots in the presence of
          inspectors, the administration of oaths to voters of
          questionable loyalty, and the qualifications of voters as part
          of the “Mode” of conducting an election. Id. at 16 (citing
          An Act for Regulating Elections (Feb. 13, 1787), § VI,
          reprinted in 2 Laws of the State of New York 27, 29–30
          (1789)).      And a 1781 Maryland law included the
          administration of oaths to voters in the “manner” in which
          special elections were conducted. Id. (citing An Act for
          Holding Special Elections in Caecil County, 1781 Md.
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          Laws, ch. IX). Similar examples abound. See id. at 12–16
          (collecting sources). Thus, without more, the historical
          understanding of “Manner” in the context of elections
          included within its meaning voter-registration regulations. 3
              Compare too the ratification-era debates over
          congressional and presidential elections.          First, how
          congressional elections would work under the Elections
          Clause generated heated debate. Across the country,
          Federalists had to refute predictions that the federal
          government would entrench itself by exploiting power over
          voting qualifications in congressional elections. See ITCA,
          27, 31–34 (Thomas, J., dissenting) (collecting sources).
          “Madison explained that ‘reduc[ing] the different
          qualifications in the different States to one uniform rule
          would probably have been as dissatisfactory to some of the
          States as it would have been difficult to the convention.’” Id.
          (quoting The Federalist No. 52). Put another way, “setting
          voter qualifications in the constitution could have
          jeopardized ratification, because it would have been difficult
          to convince States to give up their right to set voting
          qualifications.” Id. (citing Joseph Story, Commentaries on
          the Constitution of the United States 216, 218–19 (abridged
          ed. 1833)). Thus, federal government power over who may


          3
            While “manner of elections” is broad enough to encompass voter-
          registration regulations, the Constitution may have carved away
          congressional regulation of voter qualifications in congressional
          elections through Article I, § 2, cl. 1 and the Seventeenth Amendment.
          See note 2 above. What’s more, congressional authority under the
          Elections Clause is narrower than “manner of elections”—it only applies
          to the “Manner of holding elections.” U.S. Const. art. I, § 4, cl. 1
          (emphasis added).        This textual difference may further limit
          congressional power over voter qualifications and registrations. But,
          once again, ITCA governs this question. See 570 U.S. at 8–9, 17–18.
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          vote in congressional elections was a point of serious
          contention.
              In contrast, the Electors Clause sparked little concern
          over federal government interference with presidential
          elections.    Hamilton observed that “[t]he mode of
          appointment of the Chief Magistrate of the United States is
          almost the only part of the [Constitution], of any
          consequence, which has escaped without severe censure, or
          which has received the slightest mark of approbation from
          its opponents.”       The Federalist No. 68 (Alexander
          Hamilton); see also The Federalist No. 45 (James Madison)
          (“Without the intervention of the State legislatures, the
          President of the United States cannot be elected at all. They
          must in all cases have a great share in his appointment, and
          will, perhaps, in most cases, of themselves determine it.”).
          Thus, the ratification debates suggest that the Founders left
          regulation of presidential elections (apart from the narrow
          “Time of chusing”) wholly to the States—otherwise, we
          would expect the same tension as raised over congressional
          elections.
              In sum, “Manner” in the Electors Clause is broad. It
          sweeps in modern voter-registration requirements. And it
          leaves States with the exclusive right to regulate voter
          registration for presidential elections.
                                       C.
              And no controlling precedent alters the States’ exclusive
          power over presidential elections.        Citing Ex parte
          Yarbrough, 110 U.S. 651 (1884), and Burroughs v. United
          States, 290 U.S. 534 (1934), the district court claimed that
          the Court has recognized Congress’s power to regulate
          presidential elections. But that’s wrong. If anything, these
          precedents reaffirm the principle that Congress’s role in
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          presidential elections is limited, and that the manner of
          appointing presidential electors is within the “exclusive”
          “power and jurisdiction of the state[s].” See McPherson,
          146 U.S. at 35. Even in the modern era, the Court has
          continued to express that “the state legislature’s power to
          select the manner for appointing [presidential] electors is
          plenary[.]” Bush v. Gore, 531 U.S. 98, 104 (2000) (per
          curiam).
              In Ex parte Yarbrough, several men severely beat a
          Black citizen to prevent him from voting in a congressional
          election and were convicted under two federal statutes
          criminalizing the violent intimidation of citizens attempting
          to vote in a federal election. 110 U.S. at 657. They sought
          the writ of habeas corpus on the ground that those statutes
          exceeded Congress’s constitutional authority. Id. In
          denying the petition, the Court affirmed the power of
          Congress to protect all voters in federal elections—it is “the
          duty of that government to see that [a voter] may exercise
          this right freely, and to protect him from violence while so
          doing, or on account of so doing.” Id. at 662. According to
          the Court, this duty comes “from the necessity of the
          government itself.” Id. Thus, “its service shall be free from
          the adverse influence of force and fraud practiced on its
          agents, and that the votes by which its members of congress
          and its president are elected shall be the free votes of the
          electors.” Id.
              Rather than broadly proclaiming an atextual and
          expansive role for Congress in presidential elections,
          Yarbrough simply recognized the federal government’s
          power to enact laws to secure “election[s] from the influence
          of violence, of corruption, and of fraud.” Id. at 657. This
          authority to guard against violence is distinct from the
          authority to establish voter qualifications or organize voter
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          registration.   Indeed, Yarbrough itself separated the
          protection of voters to vote “free from force and fraud” from
          the power to establish the “qualification of the voter[, which
          is] determined by the law of the state where he votes.” Id. at
          663. In other words, there is a difference between a federal
          law that operates on third parties involved in presidential
          elections and a federal law that operates directly on the
          States to mandate certain rules and requirements for
          presidential elections. While the Court understood the
          necessity of federal power over the former, Yarbrough had
          nothing to say about federal power over the latter. So
          Yarbrough doesn’t support congressional power to override
          the States’ exclusive power to establish the “Manner” of
          presidential elections, including over voter-registration
          requirements.
              Nor did Burroughs confer broad power over presidential
          elections on Congress. That case involved the indictment of
          a political committee treasurer and chairman for failing to
          disclose contributions and expenditures in a presidential
          election. 290 U.S. at 543. The defendants challenged the
          indictment claiming that Congress lacked authority to enact
          a campaign finance law for presidential elections under the
          Electors Clause. Id. at 544. Once again, the Court
          recognized the difference between regulating third parties
          involved in presidential elections and regulating the States’
          administration of presidential elections. Because the
          campaign finance law did not cross into the States’ exclusive
          authority to decide the procedures and requirements for a
          presidential election, it was constitutional. As the Court
          said,

                 Neither in purpose nor in effect does [the law]
                 interfere with the power of a state to appoint
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                  electors or the manner in which their
                  appointment shall be made. It deals with
                  political committees organized for the
                  purpose of influencing elections in two or
                  more states, and with branches or subsidiaries
                  of national committees, and excludes from its
                  operation state or local committees. Its
                  operation, therefore, is confined to situations
                  which, if not beyond the power of the state to
                  deal with at all, are beyond its power to deal
                  with adequately. It in no sense invades any
                  exclusive state power.

          Id. at 544–45 (emphasis added). The Court thus contrasted
          authority over the rules and requirements for presidential
          elections with the power to protect the federal government
          from “impairment or destruction, whether . . . by force or by
          corruption.” Id. at 545. While the federal government could
          legislate against the actions of third parties seeking to impair
          elections, the Court has never recognized the power to
          directly legislate the States’ choices in appointing electors.
          See also Mitchell, 400 U.S. at 291 (Stewart, J., concurring in
          part) (observing that “the qualifications that voters must
          have when . . . selecti[ng] electors” is “left to the States” and
          that Burroughs only acknowledges “Federal Government
          . . . power to assure that such elections are orderly and free
          from corruption”). Indeed, the Court never suggested that
          voter registration is “beyond [a State’s] power to deal with
          adequately.” Burroughs, 290 U.S. at 544–45. This
          distinction also flows from the original public meaning of
          “Manner,” which appears not to extend to the governance of
          campaigns. See Natelson, Original Scope, at 12.
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               So, much like Yarbrough, Burroughs recognized the
          federal government’s power to regulate third parties who
          seek to corrupt a federal election—whether by dollars or by
          fists. While Congress can bar third parties from disrupting
          federal elections, it cannot establish or regulate the
          registration process for a presidential election. Thus, the
          Court’s later characterization of Burroughs in another
          campaign finance case as recognizing “broad congressional
          power to legislate in connection with the election[] of the
          President” is also beside the point. See Buckley v. Valeo, 424
          U.S. 1, 13 n.16 (1976) (per curiam).
               And the Ninth Circuit hasn’t recognized broad federal
          power over voter registration either. In Voting Rights
          Coalition v. Wilson, 60 F.3d 1411, 1413 (9th Cir. 1995),
          California challenged the “motor voter” provisions of the
          NVRA.        While acknowledging Congress’s role over
          congressional elections under the Elections Clause,
          California argued that the NVRA provisions interfered with
          its sovereign authority because they “will have a significant
          impact on its registration procedures applicable to elections
          of state and local officials.” Id. at 1415–16. We respected
          California’s concern for its sovereignty. Id. But, as a facial
          challenge, we observed that “at this point we cannot
          determine the extent to which, if at all, these [NVRA]
          changes impinge on the legitimate retained sovereignty of
          the states.” Id. at 1416. We directed California to comply
          with the NVRA but “[w]e fores[aw] the possibility in which
          the district court will be asked to determine whether a certain
          implementation of the statute sought by the United States . . .
          is properly resisted by the state on substantial grounds
          related to its sovereignty.” Id. We also admonished that
          “our opinion is not intended to foreclose future judicial
          review of any [constitutional] issues” and that our opinion
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          spoke “only with respect to an as yet unapplied statute.” Id.
          at 1413. Thus, Wilson was a limited ruling that had nothing
          to do with the Electors Clause or presidential elections, and
          we cautioned against overreading its precedential value.
              Yet the opponents of the proof-of-citizenship
          requirement rely on Wilson for a single, throwaway line from
          the opinion. That line says that “[t]he broad power given to
          Congress over congressional elections has been extended to
          presidential elections.” Id. at 1414 (citing Burroughs, 290
          U.S. at 545). This single statement, which misreads
          Burroughs, doesn’t alter the constitutional design. First, as
          Wilson itself warned, the opinion was not meant to answer
          complex constitutional questions for the circuit and didn’t
          “foreclose future judicial review” of these issues. Id. at
          1413. Second, while the Ninth Circuit adheres to the
          “binding dicta” rule, even this odd rule has its limits.
          “Where a panel confronts an issue germane to the eventual
          resolution of the case, and resolves it after reasoned
          consideration in a published opinion, that ruling becomes the
          law of the circuit, regardless of whether doing so is
          necessary in some strict logical sense.” United States v.
          McAdory, 935 F.3d 838, 843 (9th Cir. 2019) (simplified).
          But “we are not bound by a prior panel’s comments made
          casually and without analysis, . . . uttered in passing without
          due consideration of the alternatives, or . . . done as a prelude
          to another legal issue that commands the panel’s full
          attention.” Id. (simplified). Thus, Wilson’s unreasoned
          musing on Burroughs is not binding on our court. Rather
          than invent a surprising new balance of power between the
          States and the federal government divorced from
          constitutional text out of a single line of dicta, we should
          look to the historical understanding of the Constitution’s
          meaning.
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              Thus, no precedent alters the original public meaning of
          the Electors Clause and the plenary authority of the States to
          decide the requirements for voting in presidential elections.
                                         D.
              Finally, the opponents of the proof-of-citizenship
          requirement also argue that the NVRA is a proper exercise
          of Congress’s powers under the Fourteenth and Fifteenth
          Amendments. The district court did not reach this question.
          See Mi Familia Vota v. Fontes (“Mi Familia Vota I”), 691 F.
          Supp. 3d 1077, 1090 n.7 (D. Ariz. 2023). Because we are a
          court of “review, not first view,” I would remand to the
          district court to consider this question in the first instance.
          See Roth v. Foris Ventures, LLC, 86 F.4th 832, 838 (9th Cir.
          2023).
                                 *       *       *
             Given all this, we should have reversed the district
          court’s injunction of § 16-127(A)(1).
                                         II.
               Proof of Citizenship to Vote by Mail in Federal
                                  Elections
              H.B. 2492 prohibits voters registered to vote in only
          federal elections from voting by mail if they do not provide
          “satisfactory evidence of citizenship.” Ariz. Rev. Stat. § 16-
          127(A)(2) (“A person who has not provided satisfactory
          evidence of citizenship . . . and who is eligible to vote only
          for federal offices is not eligible to receive an early ballot by
          mail.”). The district court likewise ruled that Section 6 of
          the NVRA preempts this provision. Recall that section of
          the NVRA commands States to “accept and use” federally
          created voter registration forms “for the registration of voters
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         in elections for Federal office.” 52 U.S.C. § 20505(a)(1).
         While the NVRA’s text refers only to “registration” and not
         to “voting,” the district court read this provision to prevent
         States from imposing any other requirement on mail-in
         voting, like proof of citizenship. It interpreted the NVRA’s
         provision permitting States to “require” first-time voters “to
         vote in person” to mean that States may not add any other
         mail-in voting requirements. Mi Familia Vota I, 691 F.
         Supp. 3d at 1090–91 (citing 52 U.S.C. § 20505(c)(1)). The
         district court also ruled that NVRA’s “purpose” to
         “enhance[] participation of eligible citizens as voters”
         preempted Arizona’s mail-in provision. Id. at 1091–92
         (citing 52 U.S.C. § 20501(b)(2)). But because the text of the
         NVRA doesn’t preempt States’ mail-voting rules, we should
         have reversed this ruling.
             As background, the “default” rule is that States hold
         “responsibility for the mechanics of congressional
         elections.” Foster v. Love, 522 U.S. 67, 69 (1997). Of
         course, under the Elections Clause, Congress may override
         State regulations for congressional elections. Id. Because
         Congress’s regulations are “paramount” to those of the
         States, if state and federal law “conflict,” then state law “so
         far as the conflict extends, ceases to be operative.” Ex parte
         Siebold, 100 U.S. 371, 384 (1879).
             To show preemption, a party must point to “a
         constitutional text or a federal statute t[hat] assert[s]”
         preemptive force. See P.R. Dep’t of Consumer Affs. v. Isla
         Petroleum Corp., 485 U.S. 495, 503 (1988). “Invoking
         some brooding federal interest or appealing to a judicial
         policy preference should never be enough to win preemption
         of a state law.” Va. Uranium, Inc. v. Warren, 587 U.S. 761,
         767 (2019) (lead opinion of Gorsuch, J.). Thus, we must
         look to the NVRA’s text to see if a conflict exists.
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                                        A.
             First, the NVRA’s text does not support preempting
         Arizona’s mail-voting requirements. The NVRA only
         mandates that States “accept and use” federal voter-
         registration forms “for the registration of voters in elections
         for Federal office[.]” 52 U.S.C. § 20505(a)(1) (emphasis
         added). As a matter of plain text, this provision about voter
         registration doesn’t conflict with state-specific rules for
         voting by mail in federal elections. Here, it’s not impossible
         for Arizona to both “accept and use” the federal form for
         registering voters and require proof of citizenship for mail
         voting. See Whistler Investments, Inc. v. Depository Tr. and
         Clearing Corp., 539 F.3d 1159, 1164 (9th Cir. 2008)
         (Preemption occurs only when “a party’s compliance with
         both federal and state requirements is impossible[.]”).
             At most, the NVRA may require States to allow eligible
         federal-form applicants to vote in congressional elections.
         See ITCA, 570 U.S. at 12 (“[T]he Federal Form guarantees
         that a simple means of registering to vote in federal elections
         will be available.”) (emphasis added). But the NVRA
         doesn’t prescribe the way in which those voters must cast
         their vote—either in person, by mail, or other method. Once
         a State has complied with its obligation to register the
         federal-form applicants to vote, nothing prevents the State
         from prohibiting registered voters from voting by mail unless
         they meet certain conditions. In other words, while the
         NVRA may require that the federal form be “accepted as
         sufficient” to be eligible to vote in congressional elections, it
         doesn’t require the federal form to be sufficient for all
         purposes—like        satisfying      heightened     mail-voting
         requirements. Id. at 10. Thus, the NVRA doesn’t bar States
         from imposing added safeguards before allowing voters to
         cast a ballot outside of traditional in-person voting.
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               Indeed, aside from military or overseas voters, no federal
         law requires States to allow all its citizens to vote by mail.
         After all, when it comes to state mail-in voting rules, “[i]t is
         . . . not the right to vote that is at stake . . . but a claimed right
         to receive absentee ballots.” McDonald v. Bd. of Election
         Com’rs of Chicago, 394 U.S. 802, 807 (1969). And States
         may have different approaches to mail balloting. Cf. id. at
         809 (“[A] legislature traditionally has been allowed to take
         reform one step at a time, addressing itself to the phase of
         the problem which seems most acute to the legislative
         mind.”) (simplified). Some States offer broader access to
         mail ballots than others. See Nat’l Conf. of State
         Legislatures, Table 2: Excuses to Vote Absentee (Jan. 3,
         2024). 4 Some States let all voters vote by mail. Others
         demand voters clear certain hurdles to vote by mail. Those
         States demand an excuse, such as absence from the locality,
         illness, or disability. Id. So many States have required more
         than what’s required to vote in person.
             None of the opponents of the proof-of-citizenship
         requirement argue that the NVRA displaces all these
         requirements. Instead, the Civil Rights Division conceded
         at oral argument that the NVRA did no such thing. But how
         can they draw such an arbitrary distinction? Imagine a State
         with one of these mandates. The hypothetical law provides
         that “a person who has not provided satisfactory evidence of
         a disability is not eligible to receive an early ballot by mail.”
         But what’s the functional difference between this
         hypothetical law and Arizona’s statute? Arizona’s statute
         establishes that “[a] person who has not provided
         satisfactory evidence of citizenship . . . is not eligible to
         receive an early ballot by mail.” Ariz. Rev. Stat. § 16-

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         127(A)(2). Thus, nothing in the text of the NVRA reflects
         Congress’s intent to require all federal-form applicants to be
         allowed to vote by mail—regardless of these individual state
         mandates.
                                       B.
               That the NVRA expressly permits States to require first-
         time voters to vote in person doesn’t foreclose States from
         imposing other qualifications on mail voting. See 52 U.S.C.
         § 20505(c)(1). The NVRA provides that “a State may by
         law require a person to vote in person if—(A) the person was
         registered to vote in a jurisdiction by mail; and (B) the
         person has not previously voted in that jurisdiction.” Id. The
         district court took the negative implication of this anti-fraud
         provision to affirmatively bar States from imposing any
         other requirements for mail-in voting. The district court
         surmised, “[h]ad Congress intended to permit states . . . to
         require in-person voting under additional circumstances[,]
         . . . it could have said so in the NVRA.” Mi Familia Vota I,
         691 F. Supp. 3d at 1091.
             But this logic makes little sense.
             First, as discussed above, the “default” position is that
         States decide the mechanism of elections. See Foster, 522
         U.S. at 69. States create election law and state law governs
         unless it conflicts with federal law. It would be odd for
         Congress to displace the whole field of mail-in voting rules
         through such an opaque provision. Reading this narrow
         provision to establish a new status quo and to preempt a
         broad swath of state mail-in voting laws would violate the
         principle that Congress does not “hide elephants in
         mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S.
         457, 468 (2001). After all, negative inferences from
         statutory text only work if it is “fair to suppose that Congress
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         considered the unnamed possibility and meant to say no to
         it.” Marx v. Gen. Revenue Corp., 568 U.S. 371, 381 (2013)
         (simplified).
              Second, Congress enacted this provision as an anti-fraud
         provision—not a broad preemption clause. As we have held,
         this provision is one of “numerous fraud protections” in the
         NVRA. See Gonzalez v. Arizona, 677 F.3d 383, 403 (9th
         Cir. 2012) (en banc). The “NVRA allows states to require
         first-time voters who register by mail to vote in person at the
         polling place, where the voter’s identity can be confirmed.”
         Id. at 403 n.28. Thus, Congress didn’t work to create a major
         upheaval in mail-in voting laws and preclude States from
         adopting other anti-fraud measures through a provision to
         empower States to weed out voter fraud.
             And third, this argument proves too much. The district
         court’s logic would mean that all state limitations on
         absentee and mail voting would be preempted. But no one
         argues that the NVRA goes this far. Indeed, this would be
         too thin a reed to support implied preemption of a field
         historically and constitutionally left to the States.
                                       C.
             Lastly, the NVRA’s purpose doesn’t get us to
         preemption. The district court relied on one of the NVRA’s
         statutory purposes to read a broad preemptive intent to
         occupy the field of mail voting. Looking to the NVRA’s
         purpose to “enhance[] participation of eligible citizens as
         voters,” see 52 U.S.C. § 20501(b)(2), the district court saw
         the law as preempting States’ mail-voting requirements. But
         there are dangers in using supposed purpose rather than
         statutory text to interpret the law. See generally Rojas v.
         FAA, 989 F.3d 666, 693 (9th Cir. 2021) (Bumatay, J.,
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         dissenting in part). And reading a broad preemption regime
         from the NVRA’s purpose falls into these traps.
             First, this reading ignores that “[l]egislation . . . is often
         about the art of compromise.” Id. at 695. Legislation
         encompasses “the clash of purposes, interests, and ideas,”
         and its text “may reflect hard-fought compromises.” Id.
         (simplified). And “no legislation pursues its purposes at all
         costs, so it frustrates rather than effectuates legislative intent
         simplistically to assume that whatever furthers the statute’s
         primary objective must be the law.” Id. (simplified). This
         case is a perfect example of this principle. The NVRA had
         multiple statutory purposes—which the district court
         ignored. Besides broadening the franchise, the NVRA’s
         purpose was also “to protect the integrity of the electoral
         process” and “to ensure that accurate and current voter
         registration rolls are maintained.” 52 U.S.C. § 20501(b)(3)–
         (4). Thus, both expanding voting and preventing voter fraud
         were at the heart of the NVRA.
             If we are to govern by purpose rather than by text, which
         purpose must prevail here? While some legislators may
         have felt that letting as many people as possible vote by mail
         was paramount, others may have believed that combatting
         voter fraud was more critical. Permitting States to require
         proof of citizenship to ensure the integrity of the mail-voting
         system furthers that latter purpose. As judges, we are not
         well situated to step into the shoes of our elected
         representatives and select which purpose should guide our
         interpretation. So it was a mistake to let one singular
         purpose guide the preemption analysis here without any
         express textual command.
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             Thus, nothing in the text of the NVRA precludes Arizona
         from requesting proof of citizenship before allowing voters
         to vote by mail. We should have reversed the district court
         order enjoining enforcement of § 16-127(A)(2).
                                      III.
            Proof of Citizenship to Register to Vote Using State
                                   Forms
              H.B. 2492 requires voters who register to vote through
         Arizona’s state voter-registration form to provide
         “satisfactory evidence of citizenship” and requires state
         election officials to “reject any application for registration
         that is not accompanied by satisfactory evidence of
         citizenship.” Ariz. Rev. Stat. § 16-121.01(C). The district
         court held that this provision was barred by the terms of a
         consent decree signed by Arizona’s Secretary of State and
         that the NVRA preempts it. The Supreme Court stayed the
         district court’s injunction on this matter and allowed the law
         to take effect. We should have taken the hint and ruled that
         neither the consent decree nor the NVRA bars enforcement
         of this provision.
                                      A.
               The LULAC Consent Decree Doesn’t Bar Proof of
                              Citizenship
             In 2018, the former Arizona Secretary of State and
         former Maricopa County Recorder entered a consent decree
         with the League of United Latin American Citizens of
         Arizona (“LULAC”). See LULAC v. Reagan, Doc. 37, No.
         2:17-cv-4102 (D. Ariz. 2018). The LULAC Consent Decree
         bars Arizona county recorders from categorically rejecting
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         the registration of applicants who use the state voter-
         registration form but provide no proof of citizenship. Under
         this regime, applicants who did not provide proof of
         citizenship and whose citizenship could not be verified in
         state databases would be registered to vote only in federal
         elections. The district court held that the LULAC Consent
         Decree precludes Arizona from rejecting state-form
         registrations lacking proof of citizenship. Because this
         holding raises alarming separation-of-powers concerns, I
         would reverse.
             Even if § 16-121.01(C) conflicts with the LULAC
         Consent Decree, Arizona’s law must prevail. The view that
         a settlement by a single state executive-branch official may
         forever curtail the state legislature’s lawmaking power
         presents disturbing separation-of-powers concerns. Under
         that view, state executive-branch officials can permanently
         circumvent legislative authority by entering whatever
         arrangements they want with private parties.               The
         opportunity for abuse is clear. A state official could collude
         with like-minded parties to “sue and settle” to prevent a
         legislature from enacting contrary policies. As the Supreme
         Court has recognized, consent decrees have the potential to
         “improperly deprive future officials of their designated
         legislative and executive powers.” Horne v. Flores, 557
         U.S. 433, 449–50 (2009) (simplified).
             While these separation-of-powers concerns would apply
         to any restriction of a state legislature’s lawmaking power,
         they’re particularly acute in the election-law context, where
         state legislatures enjoy express constitutional authority to
         act. As discussed above, the Constitution leaves it to state
         legislatures to set the mechanisms for elections. See Moore
         v. Harper, 600 U.S. 1, 10 (2023) (observing that the “state
         legislatures” have the “duty to prescribe rules governing
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         federal elections”) (simplified); see also Carson v. Simon,
         978 F.3d 1051, 1060 (8th Cir. 2020) (“[T]he Secretary [of
         State] has no power to override the Minnesota Legislature”
         by stipulating to the tabulation of absentee ballots received
         after Election Day.).
             These separation-of-powers concerns animate the many
         cases signifying that legislative acts must trump consent
         decrees, not the other way around. After all, consent decrees
         cannot be used to handcuff governments in perpetuity. Thus,
         consent decrees may need to give way to intervening
         changes in law, including legislative enactments. See, e.g.,
         Horne, 557 U.S. at 450 (“[C]ourts must . . . ensure that [the]
         responsibility for discharging the State’s obligations is
         returned promptly to the State and its officials when the
         circumstances warrant.”) (simplified); Rufo v. Inmates of
         Suffolk Cnty. Jail, 502 U.S. 367, 388 (1992) (“[A] consent
         decree must of course be modified if . . . one or more of the
         obligations placed upon the parties has become
         impermissible under federal law,” and that modification may
         also be warranted “when the statutory or decisional law has
         changed to make legal what the decree was designed to
         prevent.”); Agostini v. Felton, 521 U.S. 203, 215 (1997)
         (“[T]he court cannot be required to disregard significant
         changes in law . . . if it is satisfied that what it has been doing
         has been turned through changed circumstances into an
         instrument of wrong[.]”) (simplified); Miller v. French, 530
         U.S. 327, 347 (2000) (“[W]hen Congress changes the law
         underlying a judgment awarding prospective relief, that
         relief is no longer enforceable to the extent it is inconsistent
         with the new law.”); Keith v. Volpe, 118 F.3d 1386, 1393
         (9th Cir. 1997) (Parties to a consent decree “c[annot] agree
         to terms which would exceed their authority and supplant
         state law.”); League of Residential Neighborhood Advocates
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         v. City of Los Angeles, 498 F.3d 1052, 1055 (9th Cir. 2007)
         (A consent decree “cannot be a means for state officials to
         evade state law.”); Imprisoned Citizens Union v. Ridge, 169
         F.3d 178, 189 (3d Cir. 1999) (opinion of Alito, J.) (When a
         consent decree conflicts with later legislative action, absent
         a finding of a “current and ongoing violation of federal law,
         the law demands nothing less than the immediate
         termination of the consent decree.”); Biodiversity Assocs. v.
         Cables, 357 F.3d 1152, 1169–70 (10th Cir. 2004) (A consent
         decree “does not freeze the provisions of the statute into
         place. If the statute changes, the parties’ rights change, and
         enforcement of their agreement must also change. Any other
         conclusion would allow the parties, by exchange of
         consideration, to bind not only themselves but Congress and
         the courts as well.”). So when a change in statutory law
         conflicts with a consent decree, it’s the statute that governs.
             Of course, state laws must yield to federal constitutional
         rights. So a consent decree guarding a federal right is a
         different matter. But “[w]ithout . . . finding[]” that a
         “remedy is necessary to rectify a violation of federal law,”
         federal courts have no authority to “override[] state law
         provisions” and “parties can only agree to that which they
         have the power to do outside of litigation.” League of
         Residential Neighborhood Advocates, 498 F.3d at 1058
         (simplified). At no point did the district court that entered
         the LULAC Consent Decree hold that the requirement of
         proof-of-citizenship violates federal law. In fact, the
         LULAC Consent Decree notes the Secretary of State’s
         continued assertion of the law’s constitutionality, despite the
         compromise. So the LULAC Consent Decree is not a
         judicial remedy necessary to enforce federal law. Rather, the
         basis for the decree hides in plain sight—consent alone. And
         the consent of a single state executive-branch official is no
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         basis to upset the balance of power among the branches of
         state government or the balance of power between the state
         and federal governments.
             Opponents of the proof-of-citizenship requirement frame
         this issue as one of federal supremacy and judicial finality—
         that a state legislature cannot reverse the binding effect of a
         federal court’s final judgment. True, consent decrees “are
         essentially contractual agreements that are given the status
         of a judicial decree.” Hook v. State of Ariz., Dep’t of Corr.,
         972 F.2d 1012, 1014 (9th Cir. 1992). But “finality” isn’t the
         end all and be all in the law. No doubt, “[h]aving achieved
         finality, . . . a judicial decision becomes the last word of the
         judicial department with regard to a particular case or
         controversy, and Congress may not declare by retroactive
         legislation that the law applicable to that very case was
         something other than what the courts said it was.” Plaut v.
         Spendthrift Farm, Inc., 514 U.S. 211, 227 (1995). But that
         principle does not “call[] into question” a legislature’s ability
         to pass legislation that “alter[s] the prospective effect of
         injunctions entered by Article III courts.” Id. at 232.
         Regardless of whether a prospective remedy is an injunction
         or a consent decree, “a court does not abdicate its power to
         revoke or modify its mandate, if satisfied that what it has
         been doing has been turned through changing circumstances
         into an instrument of wrong.” Sys. Fed. No. 91 v. Wright,
         364 U.S. 642, 650–51 (1961) (simplified). And so a consent
         decree—though blessed by a federal court—doesn’t forever
         foreclose legislative change.
             Indeed, it would detract—rather than augment—respect
         for federal law to claim that federal courts are powerless to
         stop a state executive official from teaming up with like-
         minded private litigants to tie the hands of future state
         legislatures. It’s this picture that turns federal supremacy on
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         its head at the expense of the separation of powers in the
         States. In no way are federal courts forced to “bind state and
         local officials to the policy preferences of their
         predecessors” and erode state legislative powers. See Horne,
         557 U.S. at 449 (simplified). After all, “[a] State, in the
         ordinary course, depends upon successor officials, both
         appointed and elected, to bring new insights and solutions”
         to its government. Frew ex rel. Frew v. Hawkins, 540 U.S.
         431, 442 (2004).
             Curiously, the majority argues that enjoining § 16-
         121.01(C) poses no threat to the Arizona “Legislature[’s]
         sovereign authority” because it does not bar the legislature
         from enacting the law—it only bars executive officials from
         enforcing the law. See Maj. Op. at 52. That is no solace for
         the Arizona Legislature. Instead, “the inability to enforce its
         duly enacted plans clearly inflicts irreparable harm on the
         State.” Abbott v. Perez, 585 U.S. 579, 602 n.17 (2018). Of
         course, “completely nullif[ying] any vote by the Legislature”
         flouts the separation of powers. Ariz. State Legislature v.
         Ariz. Indep. Redistricting Com’n, 576 U.S. 787, 804 (2015).
         After all, the heart of the legislative power is to transform
         the words of proposed legislation into enforceable statutes.
         We can’t turn a blind eye to neutering the Arizona
         Legislature by sophistry.
            Finally, it is claimed § 16-121.01(C) can’t be enforced
         because no party has moved to modify the consent decree
         under Federal Rule of Civil Procedure 60(b). But “the
         general rule” is that “only a party to the action” can move
         under Rule 60. Wright & Miller 21A Fed. Proc., L. Ed.
         § 51:170 (2024). And no one here was a party to the LULAC
         Consent Decree.         Courts have “emphasize[d] the
         fundamental nature of the general rule that a litigant is not
         bound by a judgment to which she was not a party.” Taylor
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         v. Sturgell, 553 U.S. 880, 898 (2008). Simply, the LULAC
         Consent Decree “does not conclude the rights of strangers”
         and “collateral attack” is proper when, as here, the decree
         “affects [a stranger’s] legal rights.” Martin v. Wilks, 490
         U.S. 755, 762–63 (1989) (simplified); see also Sys. Fed. No.
         91, 364 U.S. at 650–51. After all, “[a] court that invokes
         equity’s power to remedy a constitutional violation by an
         injunction mandating systemic changes to an institution has
         the continuing duty and responsibility to assess the efficacy
         and consequences of its order.” Brown v. Plata, 563 U.S.
         493, 542 (2011) (emphasis added). Given the profound
         effect of the LULAC Consent Decree on the structure of
         Arizona’s government, the fundamental instruction to
         federal courts to continually reassess prospective relief
         applies here too. So no procedural obstacle prevents
         enforcement of § 16-121.01(C).
                                      B.
           The NVRA Doesn’t Preempt the Proof-of-Citizenship
                            Requirement
             Nor does the NVRA preempt Arizona’s requirement for
         proof of citizenship. Opponents of the requirement make
         two arguments under the NVRA. First, they assert that the
         requirement     violates   § 20508(b)(1)’s    “necessary”
         information rule.        Second, they contend that
         § 20506(a)(6)(A)’s “public assistance agencies” provision
         bars enforcement of § 16-121.01(C). Both arguments are
         wrong.
                                      1.
                NVRA’s Necessary Information Provision
            Because the district court ruled based on the LULAC
         Consent Decree, it relegated its NVRA analysis to a mere
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         footnote. See Mi Familia Vota I, 691 F. Supp. 3d at 1096
         n.13. The district court tersely reasoned that the NVRA
         preempts § 16-121.01(C) because the statute “precludes
         states from requiring [documentary proof of citizenship] to
         register applicants for federal elections.” Id. As the
         following shows, that’s wrong.
             Once again, the NVRA creates two paths for citizens to
         register to vote. They may register using a federally created
         voter-registration form or they may register with a state-
         created voter-registration form.             See 52 U.S.C.
         § 20505(a)(1)–(2). The NVRA places different constraints
         on the design and use of both forms, though States have
         leeway to design their state form. The NVRA directs that a
         State may “develop and use” a state form so long as it “meets
         all of the criteria stated in section 20508(b) of this title for
         the registration of voters in elections for Federal office.” Id.
         § 20505(a)(2).
               The NVRA then establishes the substantive rules that the
         state form must follow. Id. § 20508(b). It provides that the
         state form “may require only such identifying information
         . . . and other information . . . as is necessary to enable the
         appropriate State election official to assess the eligibility of
         the applicant and to administer voter registration and other
         parts of the election process.” Id. § 20508(b)(1). It also
         mandates that the state form “include a statement that”:
         (A) “specifies each eligibility requirement (including
         citizenship);” (B) “contains an attestation that the applicant
         meets each such requirement; and” (C) “requires the
         signature of the applicant, under penalty of perjury.” Id.
         § 20508(b)(2)(A)–(C).
             Despite these set requirements, § 20508(b) is no
         straitjacket on the States. In the end, “state-developed forms
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         may require information the Federal Form does not.” ITCA,
         570 U.S. at 12. At all times, “States retain the flexibility to
         design and use their own registration forms[.]” Id. The key
         word here is “flexibility.” After all, why would Congress
         want to micromanage what information can be included on
         a state form when they already obligated States to “accept
         and use” the federal form? The NVRA thus confirms the
         States’ plenary authority to design state election forms—
         subject to a few mandatory requirements. So we should
         largely defer to the States to develop their own forms with
         the sole constraint that the State must only request
         information it finds “necessary.” Id. § 20508(b)(1).
             And there’s no reason to read “necessary” information as
         meaning only the bare minimum amount of information.
         While § 20508(b)(1) permits the States to ask for
         “necessary” information, elsewhere the NVRA limits States
         to asking for “only the minimum amount of information
         necessary to . . . enable State election officials to assess the
         eligibility of the applicant and to administer voter
         registration and other parts of the election process.” Id.
         § 20504(c)(2)(B) (providing the standard for “motor voter”
         forms). So Congress distinguished between “information”
         that was “necessary” in the eyes of state officials and
         “information” that was the “minimum amount . . .
         necessary” for state officials. See Fish v. Kobach, 840 F.3d
         710, 734 (10th Cir. 2016) (holding that § 20504(c)(2)(B)
         imposes a “stricter principle” than § 20508(b)(1)). And
         “when the legislature uses certain language in one part of the
         statute and different language in another, the court assumes
         different meanings were intended.” Cheneau v. Garland,
         997 F.3d 916, 920 (9th Cir. 2021) (en banc) (simplified).
         While it would be fair to strictly enforce necessity in
         § 20504(c)(2)(B), § 20508(b)(1) still gives States flexibility.
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         So “necessary” in § 20508(b)(1) doesn’t impose a least-
         restrictive-means test on state forms.
             Here, we have no basis to overrule Arizona’s
         determination that documentary proof of citizenship is
         “necessary to enable [its] election official[s] to assess the
         eligibility of the applicant.” 52 U.S.C. § 20508(b)(1). Such
         a requirement obviously would ensure the citizenship of the
         voter—a necessary qualification. And precedent already
         supports States’ authority to request proof of citizenship. As
         the Court said, “[s]ince the power to establish voting
         requirements is of little value without the power to enforce
         those requirements, . . . it would raise serious constitutional
         doubts if a federal statute precluded a State from obtaining
         the information necessary to enforce its voter
         qualifications.” ITCA, 570 U.S. at 17. The Court even used
         Arizona’s proof-of-citizenship requirement as the example
         of the type of information that “state-developed forms may
         require” that “the Federal Form does not.” Id. at 12. And
         our own court has remarked that the NVRA “plainly allow[s]
         states, at least to some extent, to require their citizens to
         present evidence of citizenship when registering to vote.”
         Gonzalez v. Arizona, 485 F.3d 1041, 1050–51 (9th Cir.
         2007) (observing that “[t]he language of the [NVRA] does
         not prohibit documentation requirements” and refusing to
         enjoin Arizona’s documentary proof-of-citizenship
         requirement).
             Given this overwhelming support for Arizona’s law,
         opponents of the law must climb a steep hill to support the
         injunction—a burden they do not meet. First, they primarily
         rely on an out-of-circuit interpretation of a different
         provision of the NVRA. Citing Fish, they argue that mere
         attestation of citizenship is all that States may request and
         documentary proof is too far. True, Fish held that attestation
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         “is the presumptive minimum amount of information
         necessary for state election officials to carry out their
         [duties].” 840 F.3d at 717. But Fish was applying
         § 20504(c)(2)(B)’s “motor voter” stricter standard, which
         only permits the “minimum amount of information
         necessary.” Id. It had nothing to do with § 20508(b)(1)—
         the issue here. Given their different standards, it’s more
         appropriate to use Fish to show why Arizona’s law meets
         § 20508(b)(1)’s more permissive standard.
             Their next out-of-circuit authority fares no better.
         Kobach v. U.S. Election Assistance Comm’n, 772 F.3d 1183
         (10th Cir. 2014), is an Administrative Procedure Act case
         deferentially reviewing the EAC’s determination of
         “necessity” for the federal voter-registration form. Kobach
         applied “very deferential” review to that question. Id. at
         1187–88, 1197. There’s no similar agency action here.
         More to the point, EAC’s determinations about what’s
         necessary for the federal form don’t govern what’s necessary
         for the state form. See ITCA, 570 U.S. at 12.
             Finally, they point to the district court’s factual finding
         that “non-citizens voting in Arizona is quite rare” and so they
         argue Arizona’s law is unnecessary. See Mi Familia Vota v.
         Fontes (“Mi Familia Vota II”), 719 F. Supp. 3d 929, 967 (D.
         Ariz. 2024). But this ignores that the district court found that
         non-citizen voting does occur—even if it isn’t widespread.
         Id. And Arizona’s elected officials—not federal judges—
         get to determine what level of voter fraud the State may
         tolerate. Indeed, even if no voter fraud were proven, state
         officials may still decide that the concern for voter fraud
         warrants legislative action. Cf. Brnovich v. Democratic
         Nat’l Comm., 594 U.S. 647, 686 (2021) (noting a State “may
         take action to prevent election fraud without waiting for it to
         occur and be detected within its own borders”).
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                                       2.
              NVRA’s Public Assistance Agencies Provision
             Opponents         of    Arizona’s     proof-of-citizenship
         requirement make a final argument under the NVRA.
         Relying on the district court’s holding that the NVRA
         preempts the state form because of its proof-of-residency
         requirement under the “public assistance agencies”
         provision, they contend that the proof-of-citizenship
         requirement is also preempted. See Mi Familia Vota II, 719
         F. Supp. 3d at 997. This provision establishes that States
         must designate “public assistance agencies” that will provide
         to all applicants for services either the federal voter-
         registration form or “the office’s own form if it is equivalent
         to the [federal] form.” 52 U.S. § 20506(a)(6)(A)(i)–(ii). In
         the district court’s view, because the proof-of-residency (and
         proof-of-citizenship) requirements make Arizona’s state
         form not “equivalent” to the federal form, those
         requirements must give way. Instead, the district court ruled
         that any state form provided by a public assistance agency
         must be “virtually identical to the Federal Form.” Mi
         Familia Vota II, 719 F. Supp. 3d at 997 (simplified).
             First, “equivalent” doesn’t always mean “identical.”
         Common definitions show that “equivalent” can fall short of
         meaning the “exact same”—especially when two different
         things have the same function or cause similar effects. See
         Equivalent, American Heritage Dictionary 291 (4th ed.
         2000) (“Similar or identical in function or effect”);
         Equivalent, Oxford English Dictionary 358 (2d ed. 1989)
         (Equal in value, power, efficacy, or import”; “That is
         virtually the same thing; identical in effect; tantamount”;
         “Having the same relative position or function;
         corresponding.”); Equivalent, Webster’s Third New Int’l
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         Dictionary 769 (1981) (“like in signification or import”;
         “corresponding or virtually identical esp. in effect or
         function”). So this provision doesn’t demand that state
         public assistance agencies use a form that is identical to the
         federal form. Rather, like the state form, an “equivalent”
         form need only have the same “effect” for purposes of
         registration. And demanding that the federal form and the
         state form be identical would render § 20505(a) void and
         contravene ITCA.
             Allowing some variation between the federal form and
         the public assistance agencies’ “own form” best accounts for
         the NVRA’s “context” and “overall statutory scheme.” King
         v. Burwell, 576 U.S. 473, 486 (2015) (simplified). As
         discussed above, the NVRA creates a two-track approach for
         voter registration: applicants may use either the federally
         created voter-registration form or a state-created form. See
         52 U.S.C. § 20505(a). States have some freedom in
         designing the state form if they follow the permissive
         requirements of § 20505(a)(2). The upshot of this statutory
         framework is that voters can pick a “simple means of
         registering to vote in federal elections” through the federal
         form or they can choose the state form, which can “require
         information the Federal Form does not.” ITCA, 570 U.S. at
         12. It is an elegant scheme that respects the balance of power
         between the federal government and the States. It would
         thus be odd if Congress gave States the flexibility to create
         their own form in § 20505(a) but then took away all that
         freedom through the “public assistance agencies” provision
         of § 20506(a)(6)(A). It’s doubtful that Congress expected a
         third form—a public agency’s “own form” that must be
         identical to the federal form. Thus, the best way to
         harmonize all these provisions is to consider a compliant
         state form—one “that meets all of the criteria stated in
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         section 20508(b)”—as “equivalent” to the federal form. See
         52 U.S.C. §§ 20505(a)(2), 20506(a)(6)(A).
             At the very least, even if the district court were right that
         the state form is not “equivalent” to the federal form, the
         remedy isn’t to redesign Arizona’s chosen form. The proper
         remedy would have been to have Arizona’s “public
         assistance agencies” distribute the federal form. Such a
         narrowly tailored remedy would respect the State’s
         sovereignty and fulfill the commands of the NVRA.
                                        C.
            Finally, opponents of the proof-of-citizenship
         requirement assert an equal protection challenge to the law.
         Even the majority agrees this argument was a stretch. See
         Maj. Op. at 74–78.
                                *       *       *
            For all these reasons, we should have reversed the district
         court order enjoining enforcement of § 16-121.01(C).
                                       IV.
             Requiring Proof of Residence to Register to Vote
             H.B. 2492 requires a person who registers to vote to
         provide “an identifying document that establishes proof of
         location of residence.” Ariz. Rev. Stat. § 16-123; see also
         id. § 16-121.01(A). A “valid and unexpired Arizona driver
         license” constitutes “satisfactory proof of location of
         residence.” Id. § 16-123. If a person fails to provide proof
         of residence, then the person will be registered to vote in
         only federal elections. The district court held that the
         NVRA’s “public assistance agencies” provision barred
         enforcement of this provision, see 52 U.S.C.
         § 20506(a)(6)(A)(i)–(ii), for the same reasons as the proof-
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         of-citizenship requirement. For the reasons discussed above,
         the district court’s analysis was wrong, and we should have
         reversed it.        Opponents of the proof-of-residence
         requirement also make an equal protection argument against
         it. The majority properly dismisses that contention. See
         Maj. Op. at 74–78.
             The district court also ruled that the proof-of-residency
         requirement violated the necessity provision of
         § 20508(b)(1). Recall that § 20508(b)(1) requires that state-
         created voter registration forms “may require only such
         identifying information . . . and other information . . ., as is
         necessary to enable the appropriate State election official to
         assess the eligibility of the applicant and to administer voter
         registration and other parts of the election process.” 52
         U.S.C. § 20508(b)(1). Once again, we have no basis to
         overrule what Arizona thought was “necessary” for state
         voter-registration forms. See id.
             The district court’s ruling that proof-of-residence isn’t
         “necessary” hinged on what it perceived to be an
         inconsistency in Arizona’s registration requirements. Under
         the law, new voter-registration applicants must provide
         proof-of-residence, Ariz. Rev. Stat. §§ 16-121.01(A), 16-
         123, but existing registered voters who obtain an out-of-state
         license or identification must only provide a signed
         statement under the penalty of perjury that they are still a
         resident of Arizona, id. § 16-165(F). “The Court cannot
         reconcile why [documentary proof of residence] would be
         necessary for new applicants when an attestation is sufficient
         to determine the eligibility of registered voters who
         subsequently obtain an out-of-state identification.” Mi
         Familia Vota II, 719 F. Supp. 3d at 996. Respectfully, the
         district court could have tried harder to reconcile the two
         provisions. There is a clear difference between an existing
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        156), 24-3188,
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         registered voter who has previously been verified as a
         legitimate voter and a new applicant who has not yet gone
         through the State’s vetting process. It makes sense to require
         heightened proof for the unverified applicant. That Arizona
         permits existing voters with a known track record to provide
         less proof of residence than unknown, new applicants
         doesn’t make proof of residence unnecessary. In other
         words, what may be “necessary” in some cases may not be
         “necessary” in all cases.
             Further, § 20508(b)(1) doesn’t impose a least-restrictive-
         means test on what sort of documentation a state form can
         require. The State has no duty to do just the bare minimum
         of vetting. If the State finds it “necessary,” it may request
         more thorough proof of eligibility. Otherwise, we impose a
         non-existent narrow-tailoring test onto § 20508(b)(1). And
         no one disputes that residency is a valid eligibility
         requirement to vote in Arizona. See Ariz. Const. art. VII,
         § 2(A); Ariz. Rev. Stat. § 16-101(A)(3).             Without
         convincing proof that information serves no function, we
         have no basis to second-guess Arizona’s determination of
         necessity.
            For these reasons, we should have reversed the district
         court order enjoining enforcement of §§ 16-121.01(A) and
         16-123.
                                      V.
          Removal of Noncitizens Within 90 Days of an Election
             H.B. 2243 directs state officials to conduct periodic,
         often monthly, inspections of Arizona’s voter roll to
         determine whether any person is ineligible to vote or not a
         U.S. citizen. See Ariz. Rev. Stat. § 16-165(G)–(K). If
         election officials “obtain[] information” from these
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        156), 24-3188,
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         inspections and “confirm” that a “person registered is not a
         United States citizen,” they “shall cancel the registration.”
         Id. § 16-165(A)(10). The district court held that the
         cancellation of an improperly registered foreign citizen’s
         registration violates the NVRA’s “90-Day Provision.” See
         52 U.S.C. § 20507(c)(2)(A). Under that provision, with
         some exceptions, “[a] State shall complete, not later than 90
         days prior to the date of a primary or general election for
         Federal office, any program the purpose of which is to
         systematically remove the names of ineligible voters from
         the official lists of eligible voters.” Id. § 20507(c)(2)(A). So
         the district court ruled that Arizona cannot execute H.B.
         2243’s provisions requiring the “systematic investigation
         and removal of registered voters” within 90 days of a federal
         election. But because the phrase “ineligible voters” in the
         90-Day Provision doesn’t include foreign citizens, the
         provision doesn’t apply to Arizona’s cancellation program.
         I would thus reverse the district court on this issue.
             To be sure, the 90-Day Provision uses broad language—
         applying to “any” program to remove undefined “ineligible
         voters.” Given these seemingly capacious terms, it’s easy—
         as the majority does—to just throw up our hands and give
         the provision its widest implications. See Maj. Op. at 45–
         46. But that’s not how we interpret statutes. We don’t read
         a term “in isolation” or give the statute “the broadest
         imaginable definitions of its component words.” See Sackett
         v. EPA, 598 U.S. 651, 674 (2023); Dubin v. United States,
         599 U.S. 110, 120 (2023). Instead, our job is to conduct “a
         careful examination of the ordinary meaning and structure of
         the law” and keep the “overall statutory scheme” in mind.
         Food Mktg. Inst. v. Argus Leader Media, 588 U.S. 427, 436
         (2019); FDA v. Brown & Williamson Tobacco Corp., 529
         U.S. 120, 133 (2000) (simplified). Once we do that, the best
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        156), 24-3188,
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         reading of the statute is that the NVRA’s 90-Day Provision
         doesn’t apply to the removal of aliens from state voter rolls.
             Start with the 90-Day Provision’s place within the
         NVRA’s statutory scheme. It is part of § 20507, also known
         as Section 8, which addresses “the administration of voter
         registration.” 52 U.S.C. § 20507. Section 20507 introduces
         a systematic series of regulations regarding voter rolls. In
         other words, think of § 20507 as walking the States through
         each step of the voter-registration process—a process that
         both enhances participation in elections and ensures the
         integrity of the vote. It starts with the pre-registration
         process, then goes to the post-registration process, and ends
         with voter-removal programs. As in any conversation, what
         Congress said earlier shapes how we understand what
         Congress says next. And consistent with the protection of
         voters’ rights, the NVRA becomes more stringent as we get
         closer to Election Day.
             First, the pre-registration process. The first subsection
         of § 20507 begins with discussion of the “valid voter
         registration form of the applicant.” Id. § 20507(a)(1)(A)–
         (D) (emphasis added). Among their responsibilities, States
         must accept valid voter registration forms from an
         “applicant” within certain timeframes and provide “notice to
         each applicant of the disposition of the application.” Id.
         § 20507(a)(1)–(2) (emphasis added). States must also
         “inform applicants” of “voter eligibility requirements” and
         the penalties for providing false voter information. Id.
         § 20507(a)(5).
            At this stage, “applicant” must refer to any person who
         submits a voter registration application, which may include
         both U.S. citizens and foreign citizens. But before
         proceeding, this subsection provides an important limitation.
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        156), 24-3188,
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         Congress instructs the States that they must “ensure that any
         eligible applicant is registered to vote in an election.” Id.
         § 20507(a)(1) (emphasis added). In this context, an “eligible
         applicant” is an “applicant” who is qualified to be registered
         to vote. See Eligible, Webster’s Third New Int’l Dictionary
         736 (1981) (“fitted or qualified to be chosen or used: entitled
         to something”); Eligible, Oxford English Dictionary 140 (2d
         ed. 1989) (“Fit or proper to be chosen (for an office or
         position).”); Eligible, American Heritage Dictionary 280
         (4th ed. 2000) (“Qualified to be chosen”). So Congress
         distinguishes between an “applicant” and an “eligible
         applicant,” which is a smaller subset of “applicant[s].”
         States must “ensure” that only “eligible applicant[s]” are
         “registered to vote.” Id. § 20507(a)(1). Thus, foreign
         citizens—as ineligible applicants—are weeded out of the
         statutory process at this stage and may never go further down
         the regulatory scheme.
             Second, the post-registration process. After successful
         “disposition of the application” and an “eligible applicant”
         is registered to vote, the next subsection calls the person a
         “registrant.” Id. § 20507(a)(3). As a “registrant,” the person
         may vote unless the person becomes ineligible because of a
         criminal conviction, disability, or move. Id. Respecting this,
         this subsection “provide[s] that . . . a registrant may not be
         removed from the official list of eligible voters except” by
         request of the registrant or for a criminal conviction, mental
         incapacity, death, or change of address. Id. § 20507(a)(3)–
         (4) (emphasis added). This protection applies only to a
         “registrant”—again meaning only an “eligible applicant”
         who was registered to vote. See id. § 20507(a)(3). This
         definition necessarily excludes foreign citizens, who are
         never “eligible applicant[s]” having the right to be registered
         to vote. Thus, § 20507(a)(3) in no way protects foreign
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         citizens improperly registered from removal from the voter
         rolls. See Bell v. Marinko, 367 F.3d 588, 591–92 (6th Cir.
         2004) (“In creating a list of justifications for removal,
         Congress did not intend to bar the removal of names from
         the official list of persons who were ineligible and
         improperly registered to vote in the first place.”).
               Third, removal programs. This phase directs States to
         conduct programs to purge “ineligible voters” from voter
         rolls. To begin, States must “conduct a general program that
         makes a reasonable effort to remove the names of ineligible
         voters from the official lists of eligible voters by reason of
         . . . death of the registrant . . . or change in the residence of
         the registrant.” Id. § 20507(a)(4) (emphasis added). For the
         first time in § 20507, Congress distinguishes between
         “eligible voters” and “ineligible voters.” Id.
             Based on the structure of the preceding subsections and
         placing the terms within the statutory scheme, these terms
         must refer to two subcategories of “registrant[s].” The
         subcategory of “eligible voters” are those “registrants”—
         “eligible applicants” registered to vote—who remain
         eligible to vote. The subcategory of “ineligible voters” are
         those “registrant[s]” who have lost eligibility to vote because
         of the “death of the registrant,” “change in the residence of
         the registrant,” or some other intervening event. Id.
         § 20507(a)(4); see Ineligible, Webster’s New Third Int’l
         Dictionary 1156 (1981) (“not eligible: not qualified to be
         chosen for an office : not worthy to be chosen or preferred”);
         Ineligible, Oxford English Dictionary 904 (2d ed. 1989)
         (“[i]ncapable of being elected; legally or officially
         disqualified for election to an office or position”); Ineligible,
         American Heritage Dictionary 436 (4 ed. 2000)
         (“[d]isqualified by law or rule”). Thus, Congress itself uses
         “registrants” to define “ineligible voters.”
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        156), 24-3188,
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             In other words, Congress uses these two new terms to
         subdivide the old group of “registrants” for a new stage of
         the registration process: post-registration removal programs.
         But one thing is clear. In all cases, foreign citizens can never
         be “ineligible voters” or “eligible voters” because they could
         never have been “registrant[s]”—that is, “eligible
         applicant[s]” registered to vote. Thus, any limitation
         Congress places on removal programs doesn’t apply to the
         removal of non-U.S. citizens.
              That leads us to the 90-Day Provision—the provision
         that the district court used to enjoin enforcement of § 16-165
         within 90-days of an election. Under that provision, “[a]
         State shall complete, not later than 90 days prior to the date
         of a primary or general election for Federal office, any
         program the purpose of which is to systematically remove
         the names of ineligible voters from the official lists of
         eligible voters.” Id. § 20507(c)(2)(A) (emphasis added).
         The subsection then clarifies that the 90-day quiet period
         “shall not be construed to preclude . . . the removal of names
         from official lists of voters on a basis” of (1) a “request of
         the registrant,” (2) “criminal conviction or mental capacity,”
         or (3) “the death of the registrant.” Id. § 20507(c)(2)(B).
         Taken as a whole, this subsection protects only “ineligible
         voters” from removal within 90 days of election, and
         “ineligible voters” are simply a subcategory of “registrants.”
         The 90-Day Provision then doesn’t protect those who were
         never “registrants”—meaning those who were never
         “eligible applicants” registered to vote, such as non-U.S.
         citizens.
             In    other words,        § 20507      progresses      from
         (1) “applicant[s]” to (2) “eligible applicant[s]” to
         (3) “registrant[s]” to (4) “eligible voters” and “ineligible
         voters.” Each term or set of terms is a subset of its preceding
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        156), 24-3188,
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         term. As explained above, a foreign citizen may be an
         “applicant” but may not be in the subset of “eligible
         applicant[s].” Because of this, foreign citizens are excluded
         from the terms “registrant[s],” “eligible voters” and
         “ineligible voters.” The following graphic explains this
         progression of terms:
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        156), 24-3188,
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              Once placed within the overall statutory scheme, foreign
         citizens aren’t included in the protection of “ineligible
         voters” in the 90-Day Provision. Simply, foreign citizens are
         excluded from the NVRA’s statutory protections during the
         removal process, and nothing in the NVRA prevents their
         removal at any point whatsoever.
              In contrast, reading the 90-Day Provision in a literalist
         way would lead to absurd results and raise serious
         constitutional concerns. If foreign citizens are included in
         the protection of “ineligible voters,” that would mean that
         States can continue to “systemically remove” those voters
         convicted of a crime, found mentally incapacitated, or who
         died—all voters susceptible of being incorrectly removed—
         within 90 days of the election, but they can’t stop foreign
         citizens from voting in our elections—a category easier to
         verify. 52 U.S.C. § 20507(c)(2)(B). And a congressional
         ban on removing foreign citizens for voting in American
         elections is absurd. It’s one thing to allow an American
         citizen who has moved to a new precinct to vote in the wrong
         district; it’s entirely different to force a State to allow a
         foreign citizen to vote in its elections. While used only
         “sparingly,” the absurdity canon means we should “not
         myopically focus[] on a single” term or phrase and instead
         we should “evaluate the statute in context.” United States v.
         Lucero, 989 F.3d 1088, 1098 (9th Cir. 2021). The majority’s
         acontextual interpretation of § 20507 creates an absurdity
         that Congress never established in the statutory text. And
         forcing States to accept foreign citizens in their voting
         booths would infringe on States’ rights to set voter
         qualifications and administer elections.         Rather than
         breaking the 90-Day Provision into component parts and
         reading words in isolation, we should have read the law as a
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         whole and understood that it offers no protection for foreign
         citizens.
             Lastly, the majority relies on the Eleventh Circuit’s
         purpose-based analysis in Arcia v. Florida Secretary of
         State, 772 F.3d 1335 (11th Cir. 2014). According to the
         Eleventh Circuit, the 90-Day Provision “strikes a careful
         balance” of the NVRA’s purposes—“[i]t permits systematic
         removal programs at any time except for the 90 days before
         an election because that is when the risk of disfranchising
         eligible voters is the greatest.” Id. at 1346. As explained
         above, it’s a mistake to overly rely on purpose in interpreting
         statutes. Even so, this supposed “balanc[ing]” test fails to
         explain why voters who are convicted of a crime, have a
         disability, or have died receive no protections at all but
         foreign citizens are immune from removal. As the Sixth
         Circuit considered, by finding foreign citizens protected by
         the NVRA’s removal program regulations, we “effectively
         grant, and then protect, the franchise of persons not eligible
         to vote.” Bell, 367 F.3d at 592. It’s hard to see how that’s
         consistent with the NVRA’s purposes.
             Because the 90-Day Provision doesn’t apply to foreign
         citizens, we should have reversed the district court’s
         injunction of § 16-165(A)(10).
                                      VI.
             Birthplace and Citizen Checkbox Requirements
            H.B. 2492 requires a state-form voter-registration
         applicant to provide a “place of birth,” along with the
         applicant’s name, address, birthdate, and signature “to be
         properly registered to vote.” Ariz. Rev. Stat. § 16-
         121.01(A). It also requires the applicant to place a
         “checkmark” in a box indicating that the applicant is a U.S.
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         citizen. Id. If any of this information is “incomplete or
         illegible,” “the registration cannot be completed” and the
         county recorder must give the applicant notice and
         opportunity to supply the information. Id. § 16-134(B). The
         district court held that the birthplace and citizen-checkbox
         requirements violate the Materiality Provision of the Civil
         Rights Act, 52 U.S.C. § 10101(a)(2)(B). It permanently
         enjoined Arizona election officials from enforcing these
         requirements and from rejecting applicants for the lack of
         birthplace or citizen-checkbox information if the applicant is
         otherwise eligible. I would reverse in part and affirm in part.
              When the Civil Rights Act was enacted, local election
         officials exploited “hypertechnical[] or entirely invented”
         errors to reject Black applicants. Justin Levitt, Resolving
         Election Error: The Dynamic Assessment of Materiality, 54
         Wm. & Mary L. Rev. 83, 148 (2012). For example, one
         applicant was rejected because, when required to provide her
         age in years, months, and days, she “missed the mark by one
         day because the day had not yet ended.” Id. Similarly,
         “[a]nother application was rejected because the applicant’s
         state was misspelled as ‘Louiseana.’” Id. In another
         anecdote, a Black schoolteacher in Alabama had her voter-
         registration form “rejected because she omitted a date in one
         question—even though she gave the same information
         elsewhere on the form.” Hearings on S. 1731 and S. 1750
         Before the S. Comm. on the Judiciary, 88th Cong. 101–02
         (1963) (Statement of Att’y Gen. Robert F. Kennedy). The
         list goes on. See Levitt, Materiality, at 148 (collecting
         examples). Congress thus sought to deny the use of
         irrelevant errors as pretext to hide election officials’
         discriminatory intent to deny voters their right to vote.
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             The Materiality Provision provides that—

                No person acting under color of law shall
                deny the right of any individual to vote in any
                election because of an error or omission on
                any record or paper relating to any
                application, registration, or other act requisite
                to voting, if such error or omission is not
                material in determining whether such
                individual is qualified under State law to vote
                in such election[.]

         52 U.S.C. § 10101(a)(2)(B).
             First, the term “material” is used often in the law. We’ve
         recently reiterated that something “is material if it could
         have affected or influenced the government’s decision.”
         United States v. Patnaik, 125 F.4th 1223, 2025 WL 85836,
         at *3 (9th Cir. 2025) (simplified); see also Material, Oxford
         English Dictionary Online (defining “material” in legal
         sense as “significant or influential, esp[ecially] in having
         affected a person’s decision-making” or “having a logical
         connection with the facts at issue”). Something need not be
         essential to be “material” in this context. Vote.Org v.
         Callanen, 89 F.4th 459, 478 (5th Cir. 2023) (“We reject
         ‘essential’ as a reasonable meaning” of “material.”) So an
         “error or omission” is “material” if it could have affected or
         influenced the decision “whether an individual is qualified
         under State law to vote.” 52 U.S.C. § 10101(a)(2)(B). The
         “error or omission” need not be “essential” to the decision to
         register the person.
             Second, the Materiality Provision only bars the improper
         use of an immaterial “error or omission” on voting forms.
         Id. It doesn’t prevent government officials from requesting
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         the underlying information. States may thus ask for any
         information they deem necessary in voter-registration forms.
         The law only applies once an applicant makes an error or
         omits some information.         In other words, whatever
         preemptive force the Materiality Provision has, it applies
         only from the use of an “error or omission”—not from the
         request for the underlying information.
             Finally, the Materiality Provision is violated only if a
         voter registration is “reject[ed]” “because of” the immaterial
         error or omission. 52 U.S.C. § 10101(a)(2)(B). In this
         context, “because of” means the “‘but-for’ cause.” Univ. of
         Texas Southwestern Medical Center v. Nassar, 570 U.S.
         338, 350 (2013) (simplified). So the law prohibits an
         immaterial “error or omission” from being the “but-for”
         cause of rejecting a voter-registration application. The law
         thus doesn’t prevent government officials from using an
         immaterial “error or omission” to investigate or further
         probe the application. Nor does it prevent election officials
         from requesting corrections. And if investigation uncovers
         other information revealing that the applicant is ineligible to
         register to vote under state law, then the “error or omission”
         certainly becomes material.
             Given these considerations, I would reverse the district
         court’s injunction as to the birthplace requirement but affirm
         the injunction of the citizenship-checkbox requirement.
                                       A.
                          Birthplace Requirement
             After a bench trial, the district court concluded that the
         birthplace requirement violates the Materiality Provision
         because it can’t be used to verify citizenship, residence, or
         identity—all state-law requisites for voting. Mi Familia
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         Vota II, 719 F. Supp. 3d at 995. But because some
         circumstances exist in which an omitted birthplace may
         affect or influence verification of a person’s registration
         application, I would reverse the district court’s injunction.
             As this is a pre-enforcement challenge, opponents of the
         birthplace requirement bring a facial challenge to the law—
         a claim that is “hard to win.” Moody v. NetChoice, LLC, 603
         U.S. 707, 723 (2024). “Claims of facial invalidity often rest
         on speculation about the law’s coverage and its future
         enforcement.” Id. (simplified). And “facial challenges
         threaten to short circuit the democratic process by preventing
         duly enacted laws from being implemented[.]”                  Id.
         (simplified). Thus, a facial challenge is “the most difficult
         challenge to mount successfully.” Anderson v. Edwards,
         514 U.S. 143, 155 (1995) (simplified). Plaintiffs must
         “establish[] that no set of circumstances exists under which
         the Act would be valid, i.e., that the law is [invalid] in all of
         its applications.” Wash. State Grange v. Wash. State
         Republican Party, 552 U.S. 442, 449 (2008) (simplified).
         Indeed, so onerous is the task, a defendant can “defeat [a]
         facial challenge by conjuring up a single valid application of
         the law.” City of Chicago v. Morales, 527 U.S. 41, 81 (1999)
         (Scalia, J., dissenting).
             To be qualified to vote, an applicant in Arizona must be
         a U.S. citizen, over 18 years old, and (in most cases) a
         resident of the State for 29 days before the election. Ariz.
         Const. art. VII, § 2; Ariz. Rev. Stat. § 16-101(A). And
         implicitly underlying these qualifications is identity—that
         the applicant is who he says he is. See Vote.Org, 89 F.4th at
         489 (noting that identity is “the most basic qualification to
         vote”). An omitted birthplace could be material in
         determining an applicant’s identity in at least two situations.
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             First, an omitted birthplace could be significant when a
         county recorder comes across what’s called a “soft match.”
         Once a voter-registration form is received, county recorders
         must search existing voter records to try to determine if the
         applicant matches someone already registered to vote. If
         there’s a match, the new form is treated as a request to update
         voter information. If there’s no match, the county recorder
         registers the applicant as a new voter. A “soft match” occurs
         when an old voting record does not provide enough
         information to conclusively match a new registration form.
         One county recorder stated that this situation “happens a
         lot.”
             The “birthplace” requirement helps resolve “soft
         matches.” Before H.B. 2492, applicants only needed to
         provide their name, address, date of birth, signature, and an
         affirmation of citizenship. If applicants had a social security
         or driver’s license number, they were asked to include it too.
         A “soft match” occurs, for example, when a recorder finds
         matches between the applications’ listed first name, last
         name, and birth date or listed first name, birth date, and the
         last four digits of a social security number. Adding a
         datapoint—like matching birthplaces—would eliminate
         some soft matches. Imagine a county recorder receives a
         voter registration application from “John Doe” born on
         “April 1, 2000.” There’s a match with an existing voter
         record—a “John Doe” also born on “April 1, 2000.” This
         presents a “soft match”—he might or might not be the same
         person. Now say that the new registration form indicates
         that “John Doe” was born in “Peoria.” But the registered
         John Doe was born in “Phoenix.” Now we know they are
         not the same person. This difference means that county
         recorders could eliminate the record as a “soft match.” On
         the other hand, a match between first name, last name,
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         birthdate, and birthplace would give further evidence of a
         “match” and might prompt the county recorder to follow up
         with the applicant—as one county recorder testified.
             Opponents of the requirement claim that a birthplace
         resolving a “soft match” would be rare—as the Civil Rights
         Division’s expert witness testified. The expert identified
         only 12 pairs of voter records where incompatible
         birthplaces would eliminate the “soft match”—out of 4.7
         million voter records. Opponents also point out that the
         databases used by Arizona county recorders do not currently
         use birthdate to find matches.
             This is not enough to succeed on a facial challenge. To
         begin, even a single valid circumstance showing the
         omission of a birthplace is enough to defeat a facial
         challenge. See Morales, 527 U.S. at 81 (Scalia, J.,
         dissenting). Further, Arizona hasn’t been allowed to
         implement H.B. 2492. If birthplace information became
         mandatory, Arizona could alter how it collects and analyzes
         that information—advancing its use in the verification
         process. Instead, the district court relied on the state of
         affairs in Arizona as it existed before the law changed. On a
         facial challenge, we are not so backwards looking. Cf. Wash.
         State Grange, 552 U.S. at 450 (“The State has had no
         opportunity to implement [the challenged law], and its courts
         have had no occasion to construe the law in the context of
         actual disputes arising from the electoral context, or to
         accord the law a limiting construction to avoid constitutional
         questions.”). We thus resist facial challenges relying on
         “premature interpretations of statutes.” Id. (simplified).
             Second, an omitted birthplace could be material when an
         applicant submits a birth certificate as proof of citizenship
         that includes a last name different from the applicant’s
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         current last name. In that case, Arizona’s 2023 Election
         Procedures Manual instructs county recorders to accept the
         birth certificate if the applicant’s first and middle names,
         birthplace, date of birth, and parents’ names match. Once
         again, omission of birthplace could be dispositive.
             In conclusion, an omitted birthplace can sometimes pose
         an obstacle to verifying an applicant’s identity. Opponents
         of the requirement thus fail to show that “no set of
         circumstances exists under which the [law] would be valid.”
         Moody, 603 U.S. at 723 (simplified). We should have lifted
         the injunction on this part of § 16-121.01(A).
                                       B.
                    Citizenship-Checkbox Requirement
            The district court’s injunction of the citizenship-
         checkbox requirement is a different matter.
              First, all parties agree that the citizenship checkbox can
         help determine an applicant’s citizenship in some cases. The
         district court acknowledged that the checkbox could be
         material when an applicant submits no documentary proof of
         citizenship. It thus permitted Arizona to reject voter-
         registration applications for failure to check the citizenship
         box when no documentary proof of citizenship exists.
             Second, the district court only enjoined the checkbox
         requirement when two conditions are met: (1) the applicant
         has provided satisfactory proof of citizenship and (2) county
         recorders have otherwise established eligibility, including
         citizenship. Thus, the injunction applies only when there is
         no doubt about the applicant’s citizenship or eligibility.
            Third, nothing prevents Arizona from still using the
         checkbox and investigating applicants who skip it. The
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         injunction doesn’t prevent Arizona election officials from
         contacting applicants who neglected to check the box or
         asking them to correct the omission. And if investigation
         leads to other information indicating that the applicant is not
         the rightful bearer of the citizenship documents or that the
         person is otherwise ineligible, Arizona may still reject that
         applicant on those grounds. Once there’s a determination of
         ineligibility then the injunction simply doesn’t apply by its
         own terms. So in all cases, election officials may reject
         ineligible applicants. The injunction would, however,
         prevent officials from rejecting applicants for failing to
         check the citizenship box when those officials have already
         verified the applicant’s citizenship.
              Proponents of the requirement argue that enjoining the
         checkbox amounts to an anti-repetition rule—that States
         can’t enforce requests for duplicative information. They are
         correct that a sweeping rule against seeking duplicative
         information would be troubling. Sometimes a belt-and-
         suspenders approach is appropriate. But focus on this case—
         it’s hard to see how the failure to check the citizenship box
         could affect or influence the determination of the applicant’s
         citizenship when the applicant’s citizenship has already been
         verified. Rejecting a voter application for omitting a
         citizenship checkbox at the same time the applicant provides
         hard proof of citizenship seems more like dinging a voter for
         misspelling “Louisiana,” which falls into the heart of the
         Civil Rights Act.
             We thus properly affirm the injunction of this provision.
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                                       VII
                        “Reason To Believe” Provision
             H.B. 2243 requires Arizona county recorders to
         periodically search a registrant’s citizenship within the
         USCIS SAVE database if the county recorder has “reason to
         believe” the registrant is not a U.S. citizen. Ariz. Rev. Stat.
         § 16-165(I). The district court enjoined this provision under
         the “Different Standards, Practices, and Procedures”
         Provision of the Civil Rights Act. I agree with affirming the
         injunction.
               Under that provision,

                  No person acting under color of law shall[,]
                  in determining whether any individual is
                  qualified under State law or laws to vote in
                  any election, apply any standard, practice, or
                  procedure different from the standards,
                  practices, or procedures applied under such
                  law or laws to other individuals within the
                  same county, parish, or similar political
                  subdivision who have been found by State
                  officials to be qualified to vote.

         52 U.S.C. § 10101(a)(2)(A). The provision has a relatively
         straightforward command—election officials can’t use a
         “different . . . practice[] or procedure” for determining voter
         eligibility for different groups of “individuals” within the
         same political unit. Id.
             While the duty to verify citizenship through the SAVE
         database is reasonable enough, there’s a problem with it in
         practice—the SAVE database is only searchable for
         individuals with an immigration or A-File number. See Mi
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         Familia Vota II, 719 F. Supp. 3d at 995. That means that it
         only contains information about naturalized citizens. Thus,
         county recorders can only use the SAVE database for
         naturalized citizens—and never for natural-born citizens. So
         while the state law may be facially neutral, in “practice” or
         “procedure” it can be applied only in unequal ways.
              Say the county recorder has “reason to believe” two
         registrants are not U.S. citizens. One is a native-born
         registrant, who the recorder thinks is no longer a U.S. citizen
         (maybe, the registrant renounced his citizenship). The other
         is a naturalized citizen born out of the country. Under § 16-
         165(I), only the latter can be subject to a SAVE check,
         meaning the naturalized citizen is subject to a “different . . .
         practice[] or procedure” than the natural-born citizen. Thus,
         I would affirm this portion of the district court’s injunction.
                                      VIII.
               Discriminatory-Purpose Challenge to Voter-
                           Verification Laws
             Opponents of the Voting Laws also challenge the voter-
         verification laws under the Equal Protection Clause of the
         Fourteenth Amendment. They claim that the laws were
         enacted with discriminatory intent. The district court ruled
         against this challenge. Reviewing what’s known as the
         Arlington Heights factors, the district court found that these
         opponents hadn’t overcome the “strong presumption of good
         faith” we must afford to state legislatures. See United States
         v. Carrillo-Lopez, 68 F.4th 1133, 1140 (9th Cir. 2023)
         (simplified). It determined that the laws’ legislative history
         shows no “motive to discriminate against voters based on
         race or national origin” and that the laws have no
         discriminatory impact based on “naturalization status, race,
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         or ethnicity.” See Mi Familia Vota II, 719 F. Supp. 3d at
         1016.
              Not enough—the majority reverses the district court and
         all but finds that Arizona legislators enacted H.R. 2243 for a
         discriminatory purpose. In reversing the district court’s
         finding, the majority commits two errors. First, it neglects
         Article III standing doctrine.          Only two non-profit
         organizations, Promise Arizona and Southwest Voter
         Registration Education Project, appeal the district court’s
         ruling. But neither organization has standing to bring this
         challenge. Second, the majority substitutes the district
         court’s factfinding for its own and lowers the evidentiary
         burden to the floor—flipping the strong presumption of good
         faith we give to legislative action and essentially requiring
         the State to disprove any discriminatory motive.
                                        A.
                              Article III Standing
             Before reaching the merits, we must first decide whether
         the non-profits have Article III standing. See Mendoza v.
         Strickler, 51 F.4th 346, 354 n.5 (9th Cir. 2022).
             Organizations, like Promise Arizona and Southwest
         Voter Registration Education Project, can claim two paths to
         standing. See Students for Fair Admissions, Inc. v. President
         & Fellows of Harvard Coll. (“SFFA”), 600 U.S. 181, 199
         (2023) (simplified).            The first path—known as
         “organizational standing”—is for the organization to show
         that it directly satisfies the Article III standing requirements.
         Id.     The second path—known as “associational” or
         “representational standing”—is for it to assert “standing
         solely as the representative of its members.” Id. (simplified).
         Promise Arizona and Southwest Voter Registration
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         Education Project claim both paths. Neither leads them to
         standing.
                                       1.
                          Organizational Standing
             The Ninth Circuit long viewed organizational standing
         as “an ever-expanding universe.” See E. Bay Sanctuary
         Covenant v. Biden, 993 F.3d 640, 693 (9th Cir. 2021)
         (Bumatay, J., dissenting for the denial of rehearing en banc).
         Ignoring the traditional need for an injury in fact, we have
         continuously     “loosen[ed]      organizational      standing
         requirements” to “increase our own authority to adjudicate
         policy disputes.” Id.
             Under our precedent, all an organization had to do was
         declare some voluntary “diversion of its resources” in
         response to a policy objection and it got a ticket into federal
         court. See, e.g., Fair Hous. Council of San Fernando Valley
         v. Roommate.com, LLC, 666 F.3d 1216, 1219 (9th Cir.
         2012); id. at 1224 (Ikuta, J., dissenting in part). But a self-
         inflicted injury cannot establish standing. See Clapper v.
         Amnesty Int’l USA, 568 U.S. 398, 416 (2013)
         (“[R]espondents cannot manufacture standing merely by
         inflicting harm on themselves[.]”); Nat’l Fam. Plan. and
         Reprod. Health Ass’n, Inc. v. Gonzales, 468 F.3d 826, 831
         (D.C. Cir. 2006) (“We have consistently held that self-
         inflicted harm doesn’t satisfy the basic requirements for
         standing.”); Pennsylvania v. New Jersey, 426 U.S. 660, 664
         (1976) (per curiam) (“The injuries to the plaintiffs’ fiscs
         were self-inflicted . . . . No state can be heard to complain
         about damage inflicted by its own hand.”).
            The Supreme Court has finally declared enough is
         enough. In FDA v. Alliance for Hippocratic Medicine, 602
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         U.S. 367 (2024), the Court reined in this expansive view of
         organizational standing. No longer will an organization’s
         “sincere legal, moral, ideological, and policy objections” to
         a law be sufficient to grant it Article III standing. See id. at
         386. Now, an organization “cannot spend its way into
         standing simply by expending money to gather information
         and advocate against the defendant’s action.” Id. at 394.
         Nor can it “manufacture its own standing in that way.” Id.
         Instead, an organization may only assert standing when a
         challenged policy “directly affect[s] and interfere[s] with [its
         existing] core business activities.” Id. at 395; see also Ariz.
         All. for Retired Americans v. Mayes, 117 F.4th 1165, 1177
         (9th Cir. 2024) (To confer organizational standing, “the
         organization must show that the new policy directly harms
         its already-existing core activities.”).
             Promise Arizona and Southwest Voter Registration
         Education Project assert that they are non-profit
         organizations seeking to empower Latino communities
         through their vote and increase their participation in the
         electoral process. To do this, they assist with voter
         registration, voter education, and turn-out-the-vote
         operations. In other words, their mission is to help Latinos
         navigate voting laws.
             To establish organizational standing, the organizations
         claim H.B. 2243 may cause them to reallocate resources to
         train staff and voters on the new voting laws, will require
         them to assist voters whose registration is erroneously
         cancelled, and might deter Latinos from registering to vote.
         In particular, they worry that H.B. 2243’s requirement for
         periodic verification of citizens might lead to inaccurate
         removal of eligible voters too close to an election to be
         corrected. They believe they may need to spend money to
         remedy this and to educate voters.
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             This is hardly an injury in fact to the organizations. It is
         nothing more than the diversion-of-resources theory of
         standing rejected in Alliance for Hippocratic Medicine.
         Simply, organizations can’t assert standing “based on their
         incurring costs to oppose” the voter-verifications laws. See
         All. for Hippocratic Med., 602 U.S. at 394 (holding that no
         organizational standing exists when organizations engage in
         “public advocacy” and “public education” on the effects of
         governmental action). At most, the new voter-verification
         laws may mean that the organizations will need to update
         their voter-registration operations—a completely voluntary
         move consistent with their mission. Such voluntary actions
         in no way interfere with their “core business activit[y]” of
         registering new voters. Id. at 395. Unlike “a retailer who
         sues a manufacturer for selling defective goods to the
         retailer,” these organizations are merely diverting resources
         to oppose a law they dislike. Id. “With or without” H.R.
         2243, the non-profits “can still register and educate voters—
         in other words, continue their core activities that they have
         always engaged in.” Ariz. All. for Retired Americans, 117
         F.4th at 1178. They can’t “attempt to spend their way into
         Article III standing by taking new actions in response to
         what they view as a disfavored policy.” Id.
             And they can’t manufacture standing based on their
         speculation that county recorders may erroneously reject
         voter applications. Standing isn’t based on a “highly
         attenuated chain of possibilities” premised on the
         presumption of erroneous actions by government officials.
         See Clapper, 568 U.S. at 410. Granting the organizations
         standing to challenge H.B. 2243 just because county
         recorders might make mistakes “would be an unprecedented
         and limitless approach and would allow [non-profits] to sue
         in federal court to challenge almost any policy affecting”
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         voter registration. See All. for Hippocratic Med., 602 U.S.
         at 391–92. After all, “that is not what the law requires or
         what any county recorder would reasonably be expected to
         do.” Ariz. All. for Retired Americans, 117 F.4th at 1179.
         And it is even more speculative to claim that H.B. 2243
         might injure the organizations’ “abstract social interest[]” in
         encouraging Latino-voter registration. See id. at 1177
         (simplified). Thus, all these arguments amount to “a
         diversion-of-resources theory by another name.” Id. at 1180.
                                       2.
                           Associational Standing
             Associational standing doesn’t help the non-profit
         organizations either. To pursue associational standing, an
         organization must show that “(a) its members would
         otherwise have standing to sue in their own right; (b) the
         interests it seeks to protect are germane to the organization’s
         purpose; and (c) neither the claim asserted nor the relief
         requested requires the participation of individual members
         in the lawsuit.” All. for Hippocratic Medicine, 602 U.S. at
         398 (Thomas, J., concurring) (simplified).
             We must be just as careful in granting organizations
         associational standing as well. Justice Thomas raises some
         valid concerns. First, “associational standing conflicts with
         Article III by permitting an association to assert its
         members’ injuries instead of its own.” Id. at 399. It does
         seem odd that we allow an association to “seek relief for its
         entire membership” when a single member suffers an
         injury—“even if the association has tens of millions of other,
         non-injured members.” Id. Likewise, “associational-
         standing doctrine does not appear to comport with the
         requirement that the plaintiff present an injury that the court
         can redress.” Id. at 400. If a single member has suffered an
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         injury, why then do we provide redress to the organization,
         which hasn’t sustained an injury itself? Anomalously, the
         actual injured party may not receive any relief himself.
         Thus, we mustn’t relax any standing requirements just
         because an organization presses a claim on behalf of an
         injured member.
             Here, Promise Arizona and Southwest Voter
         Registration Education Project fail to show that their
         “members would otherwise have standing to sue in their own
         right.” See SFFA, 600 U.S. at 199 (simplified). Promise
         Arizona claims 1,043 members, including an unspecified
         number of voters who are naturalized citizens. Promise
         Arizona hooks onto the H.B. 2243 provision that requires
         county recorders to conduct monthly SAVE checks on
         registered voters whom the county recorder has “reason to
         believe” are not U.S. citizens. Promise Arizona argues that
         its naturalized members will suffer an injury in fact if a
         SAVE check is run against them and if they are improperly
         removed from the voter rolls. The majority buys this
         argument—claiming that Promise Arizona’s members are in
         danger of losing the right to vote. This isn’t sufficient for
         associational standing.
             Promise Arizona has not plausibly alleged a “real and
         immediate threat of” future injury to its members. City of
         Los Angeles v. Lyons, 461 U.S. 95, 103 (1983). Rather, it
         only posits conjectural allegations of potential injuries that
         require a “long chain of hypothetical contingencies.” Lake
         v. Fontes, 83 F.4th 1199, 1204 (9th Cir. 2023) (per curiam)
         (simplified).
             First, Promise Arizona doesn’t specify how many
         naturalized members it has. All we know is that the number
         is between 2 and 1,043. So we are left to wonder what the
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         chances are that one of its members will be subject to a
         SAVE check.
             Second, we must guess the possibility that a county
         recorder will somehow have “reason to believe” one of
         Promise Arizona’s naturalized members is not a U.S. citizen.
              Third, we must calculate the unlikely probability that the
         SAVE database will erroneously show that the naturalized
         member is not a U.S. citizen. Keep in mind that the district
         court found that the SAVE database is not “unreliable” and
         it doesn’t “contain[] severely inaccurate or outdated
         citizenship information.” Mi Familia Vota II, 719 F. Supp.
         3d at 955. While the SAVE database can take one or two
         days to update, the district court found that Arizona has
         procedures to ensure that county recorders seek the latest
         information on citizenship. Id. 5
             Fourth, we must predict the chances that the county
         recorder will not catch the error in citizenship for that
         naturalized member.




         5
           Promise Arizona doesn’t seem to assert an injury from the simple fact
         of a member’s name being run through the SAVE database. In any case,
         it’s hard to imagine what the injury would be if the SAVE database then
         confirms the member’s U.S. citizenship and nothing happens to the
         member’s voting status. Further, Promise Arizona doesn’t say how its
         member would find out about any database check and so its implausible
         that the check itself would lead to injury. To the extent that the member
         could assert some sort of “stigmatic injury” based on the database check,
         Promise Arizona will have to show much more. See, e.g., Allen v.
         Wright, 468 U.S. 737, 757 n.22 (1984) (A “stigmatic injury” demands
         “identification of some concrete interest with respect to which
         respondents are personally subject to discriminatory treatment.”).
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             Fifth, because Arizona law lets registrants correct any
         error, we must then presume that the naturalized member
         will not persuade the county recorder to fix the problem.
             And finally, we must then assess the likelihood that the
         naturalized member will be denied the vote because of all
         these hypothetical screw-ups.
             This is the kind of speculation that stretches the concept
         of imminence of harm beyond recognition. We can’t
         manufacture injury based on “conjecture about the behavior
         of other parties”—here, county recorders. Ecological Rts.
         Found. v. Pac. Lumber Co., 230 F.3d 1141, 1152 (9th Cir.
         2000). Simply, Promise Arizona’s “conjectural allegations
         of potential injuries . . . are insufficient to plead a plausible
         real and immediate threat of” voter suppression. Lake, 83
         F.4th at 1204 (simplified). As we recently said, Promise
         Arizona fails to “support[] a plausible inference that [its
         members’] individual votes in future elections will be
         adversely affected by” H.B. 2243, “particularly given the
         robust safeguards in Arizona law.” Id. Thus, Promise
         Arizona and Southwest Voter Registration Education
         Project can’t establish standing to appeal the equal
         protection claim against H.B. 2243. We should have ended
         the appeal here.
                                        B.
                      Discriminatory Purpose Analysis
             While Promise Arizona and Southwest Voter
         Registration Education Project lack standing to raise this
         appeal, the majority disagrees and reaches the merits of the
         equal protection challenge. Unfortunately, they all but find
         discriminatory intent based on the weakest of evidence.
         Simply, the majority views any voter-verification
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         requirements as discriminatory voter suppression. Because
         the majority decides the merits, I am compelled to address
         the serious flaws in its analysis.
             In seeking to overturn a duly enacted law based on a
         legislature’s discriminatory purpose, the plaintiff bears the
         burden to prove that purpose “by an evidentiary
         preponderance.”       Carrillo-Lopez, 68 F.4that 1139
         (simplified). In line with our respect for the separation of
         powers and federalism, we must accord a “strong
         presumption of good faith” to state legislative enactments.
         Id. at 1140 (simplified). Several non-exhaustive factors
         guide the inquiry:

                (1) the impact of the official action and
                whether it bears more heavily on one race
                than another; (2) the historical background of
                the decision; (3) the specific sequence of
                events leading to the challenged action;
                (4) the defendant’s departures from normal
                procedures or substantive conclusions; and
                (5) the relevant legislative or administrative
                history.

         Arce v. Douglas, 793 F.3d 968, 977 (9th Cir. 2015) (citing
         Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429
         U.S. 252, 266–68 (1977)). The discriminatory-purpose
         analysis demands a “sensitive inquiry into . . . circumstantial
         and direct evidence” of intent. Reno v. Bossier Par. Sch. Bd.,
         520 U.S. 471, 488 (1997) (quoting Arlington Heights, 429
         U.S. at 266).
             We review the district court’s discriminatory-purpose
         finding for clear error. Brnovich, 594 U.S. at 687. If the
         district court’s finding was “plausible,” we “may not reverse
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         even if . . . [we] would have weighed the evidence
         differently in the first instance.” Id. “Where there are two
         permissible views of the evidence, the factfinder’s choice
         between them cannot be clearly erroneous.” Id. (simplified).
             The district court’s finding on discriminatory intent had
         ample support in the record. In the district court’s view,
         opponents of the law didn’t prove Arizona had a
         discriminatory purpose in enacting the voter-verification
         laws and H.B. 2243 based on several factual findings:

                •   While Arizona has a long-ago history of
                    discriminating against people of color,
                    opponents identified no “persuasive
                    nexus between Arizona’s history of
                    animosity      toward     marginalized
                    communities and the Legislature’s
                    enactment of the Voting Laws.”
                •   Analysis of the legislative hearings
                    “evince[s] [no] motive to discriminate
                    against voters based on race or national
                    origin.”
                •   Any concern for non-citizens voting in
                    elections doesn’t amount to “community
                    animus” to “impute a discriminatory
                    motive” to the Legislature.
                •   Although the Free Enterprise Club, a
                    major supporter of the voter-verification
                    laws, used the term “illegals” in lobbying
                    materials, no evidence showed that the
                    Legislature relied on “coded appeals” or
                    sought to “prevent anyone other than
                    non-citizens from voting.”
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                •   One legislator’s allegedly discriminatory
                    comments are not enough to impute
                    intent to the “Arizona Legislature as a
                    whole.”
                •   Opponents “have not shown that the
                    Voting Laws will have any significant
                    discriminatory      impact      based     on
                    naturalization status, race, or ethnicity.”
                •   At most, database checks will require
                    only 0.001% of voters to produce
                    documentary proof of citizenship.
                •   Although H.B. 2243 was passed
                    “abrupt[ly]” after the Arizona governor’s
                    veto, it wasn’t “so abrupt” to show
                    improper motive because related
                    legislation was passed “through the
                    ordinary legislative process.”
                •   Arizona has had proof-of-citizenship
                    requirements since 2005 and the
                    provisions of H.R. 2243 “supplement”
                    and “expand[]” on Arizona’s “existing
                    practice[s].”

         Mi Familia Vota II, 719 F. Supp. 3d at 1014–18 (simplified).
         Under the totality of the circumstances, the record is more
         than enough to support the district court’s finding of a lack
         of discriminatory purpose. Given our strong presumption of
         good faith, we have no basis to overturn the district court’s
         factual determination.
             Despite this thorough analysis, the majority grasps at
         straws to find some error. It settles on some odd notion that
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         the district court tried to “directly link” the evidence
         presented by the opponents of the law to “the motive of the
         Legislature.” Maj. Op. at 64. Although unclear, it seems the
         majority believes that the district court should have been
         more pliable to “circumstantial” evidence. See id. But the
         district court examined circumstantial evidence—it just
         found it unconvincing. While circumstantial evidence “may
         . . . be more certain, satisfying and persuasive than direct
         evidence” of discriminatory intent, Desert Palace, Inc. v.
         Costa, 539 U.S. 90, 100 (2003) (emphasis added)
         (simplified), circumstantial evidence must still convince us
         of animus—and it can fall short. See, e.g., Abbott, 585 U.S.
         at 610–11 (finding circumstantial evidence of quick passage
         of redistricting legislation unconvincing). And to be clear:
         at no point did the district court conclude that only direct
         evidence could suffice. It even stated explicitly that
         community animus, a form of circumstantial evidence, “can
         support a finding of discriminatory motives by government
         officials . . . .” Mi Familia Vota II, 719 F. Supp. 3d at 1016
         (emphasis added) (quoting Ave. 6E Invs., LLC v. City of
         Yuma, Ariz., 818 F.3d 493, 504 (9th Cir. 2016)). So the
         majority’s differences with the district court, in the end, are
         factual. While the majority clearly would have found
         discriminatory intent here, our job is not to substitute our
         will for the factfinder’s.
             Start with the majority’s critique of the district court’s
         treatment of the “historical background” prong. The district
         court acknowledged that “Arizona does have a long history
         of discriminating against people of color,” but decided that
         this history was of “little probative value” because it was
         long ago—mostly up to the 1970s. Id. at 1014 (simplified).
         The district court thus found no “persuasive nexus” between
         this history and the enactment of H.B. 2243. Id. The
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         majority attacks the district court for not considering how
         this history may be “circumstantial evidence” of
         discriminatory intent and calls the district court’s attempt to
         find any “nexus” an overly “onerous” inquiry. Maj. Op. 66.
         But the majority misunderstands the historical inquiry. By
         its nature, distant “history” is circumstantial evidence. After
         all, looking to past events—when current legislators weren’t
         alive, were infants, or not in office—must be circumstantial.
         Thus, distant incidents, dissimilar to current circumstances,
         offer only weak circumstantial evidence. As the Court has
         said, “unless historical evidence is reasonably
         contemporaneous with the challenged decision, it has little
         probative value.” McCleskey v. Kemp, 481 U.S. 279, 298
         n.20 (1987). We can’t simply “accept official actions taken
         long ago as evidence of current intent.” Id. And so the
         district court’s weighing of the weak historical evidence was
         no clear error.
              The majority opinion gets even more baffling when it
         comes to legislative history. Again, the majority faults the
         district court for not analyzing the totality of the evidence.
         Maj. Op. at 66. But it’s the majority that cherry-picks
         events. The majority focuses on the fact that the Legislature
         conducted an audit that found no voter fraud as evidence that
         the voter-verification laws must have been a product of
         discriminatory intent. Id. It also relies on the Free Enterprise
         Club’s use of the word “illegals” to conclude the passage of
         the laws was racially motived. Id. at 69. The district court
         fully accounted for both facts. But reviewing the totality of
         the evidence, including the legislative hearings, public
         comments made about non-citizen voting, the Free
         Enterprise Club lobbying materials, and statements made by
         legislators, the district court found insufficient evidence to
         attribute animus to the Arizona Legislature as a whole. Mi
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         Familia Vota II, 719 F. Supp. 3d at 1014–16. Rather than
         conclude that the Arizona Legislature attempted to suppress
         voters after the 2020 election (as the majority does), the
         district court considered how legislators have long required
         proof of citizenship and how legislators wanted to revive the
         requirement after the Supreme Court seemed to open the
         door to it in ITCA. Id. at 1015 (citing ITCA, 570 U.S. at 12,
         16). The district court also concluded that the other
         circumstantial evidence here—public concern over
         “illegals” voting, potentially “offensive” language in Free
         Enterprise Fund materials, and allegedly derogatory
         comments by a single state senator—failed to support an
         inference of discriminatory intent for the dozens of
         legislators in Arizona’s Legislature. Id. at 1015–16. Thus,
         the majority failed to look at the totality of the evidence
         when seeking to reverse the district court’s factual findings.
             Next, the majority relies on the accelerated passage of
         H.B. 2243 after the Governor’s veto to suggest improper
         motive. Maj. Op. at 71–72. But the majority discounted the
         fact that a related bill, H.B. 2617, had gone through the
         normal legislative process, because, in the majority’s view,
         the “amended bill contained many substantive changes.”
         Maj. Op. at 72. The district court explicitly considered the
         substance of H.B. 2243 and found it to be more of a
         “supplement” to valid existing laws than a stark departure
         indicative of discriminatory purpose. Mi Familia Vota II,
         719 F. Supp. 3d at 1018. And the majority ignores that speed
         alone is poor evidence of animus. See Abbott, 585 U.S. at
         610–11 (“[W]e do not see how the brevity of the legislative
         process can give rise to an inference of bad faith—and
         certainly not an inference that is strong enough to overcome
         the presumption of legislative good faith[.]”).
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              Finally, the majority’s criticism of the district court’s
         “impact on a minority group” analysis is even more off base.
         The majority attacks the district court’s analysis as
         “troubling” for suggesting that “[e]vidence of a law’s
         disparate impact is generally insufficient alone to evidence a
         legislature’s discriminatory motive.” Maj. Op. 73 (quoting
         Mi Familia Vota II, 719 F. Supp. 3d at 1016). But there’s a
         problem with that. The district court was essentially
         paraphrasing our precedent. “[W]hile [d]isproportionate
         impact is not irrelevant,” we have said that “it is generally
         not dispositive, and there must be other evidence of a
         discriminatory purpose.” Carrillo-Lopez, 68 F.4th at 1141
         (emphasis added) (simplified). And the majority ignores
         that the district court did consider impact of the laws on
         minorities. Perhaps because it doesn’t fit its narrative, the
         majority ignores that the district court found that “Plaintiffs
         have not shown that the Voting Laws will have any
         significant discriminatory impact.” Mi Familia Vota II, 719
         F. Supp. 3d at 1016 (emphasis added). The district court
         continued on to find the other evidence of intent similarly
         unconvincing. See id. at 1016–17. So although the majority
         claims the district court wrongly “view[ed] evidence of the
         Voting Laws’ disparate impact alone” or “dispositve[ly],”
         it’s not clear what more the district court could have done.
         Maj. Op. at 72.
              In sum, the district court properly considered all relevant
         evidence, piece by piece, but ultimately concluded that the
         record only presented a weak array of circumstantial
         evidence. Because these findings are plausible, the majority
         is left to accuse the district court of “viewing each piece of
         evidence in isolation” and failing to consider the “totality of
         the circumstances.” Id. at 73. But this criticism is just
         sleight of hand. The district court did view the evidence in
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         context—and concluded that it was unpersuasive. Simply,
         the majority wants to equate any legislative action to prevent
         foreign citizens from voting in Arizona’s elections with
         evidence of discriminatory intent. In doing so, the majority
         essentially flips the strong presumption of good faith we
         grant to legislative action and requires the State to disprove
         any discriminatory motive. This is inconsistent with the law
         and the facts.
                                       IX.
                       Waiver of Legislative Privilege
             The district court ordered Warren Petersen, President of
         the Arizona Senate, and Ben Toma, Speaker of the Arizona
         House of Representatives, to sit for depositions and produce
         privileged documents. On appeal, the Arizona legislators
         challenge these orders as violations of legislative privilege.
         See Lee v. City of Los Angeles, 908 F.3d 1175, 1187–88 (9th
         Cir. 2018) (explaining that “plaintiffs are generally barred
         from deposing local legislators, even in extraordinary
         circumstances”) (simplified). But their challenge is moot.
             Why? Because they have already complied with the
         discovery orders. So even if the district court were wrong to
         compel the legislators to provide evidence for trial, that trial
         already happened and a favorable ruling wouldn’t help the
         legislators. I understand that we denied the legislators the
         opportunity to appeal the order immediately and they faced
         sanctions if they didn’t comply with the district court’s
         order. But in law as in life, sometimes there are no “take
         backs.” It’s straightforward that “[c]ompliance with a
         discovery order renders moot an appeal of that order.”
         Richmark Corp. v. Timber Falling Consultants, 959 F.2d
         1468, 1479 (9th Cir. 1992); see also Fraunhofer-
         Gesellschaft zur Förderung der angewandten Forschung
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         E.V. v. Sirius XM Radio Inc., 59 F.4th 1319, 1322 (D.C. Cir.
         2023) (noting this rule is the consensus rule of the circuits).
         Because we cannot redress the legislators’ injury, Article III
         bars us from hearing their claim. See Friends of the Earth,
         Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180
         (2000).
                                         X.
                                    Conclusion
              I join the judgment on three issues. First, I agree with
         enjoining the “reason to believe” provision of Arizona
         Revised Statute § 16-165(I) under the Different Standards,
         Practices, and Procedures Provision of the Civil Rights Act,
         52 U.S.C. § 10101(a)(2)(A). Second, I agree that the
         citizenship-checkbox requirement under Arizona Revised
         Statute § 16-121.01(A) violates the Materiality Provision of
         the Civil Rights Act, 52 U.S.C. § 10101(a)(2)(B), when
         accompanied by satisfactory proof of citizenship. And third,
         I agree that the appeal of the district court’s discovery order
         on Arizona’s legislative leaders is moot.
            I strongly disagree with the judgment on all other issues.
         Except as noted above, we should have vacated this
         sweeping injunction.
               I respectfully dissent.
